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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
                                                          x
UNITED STATES OF AMERICA,


        – against –                                              No. 82 CR 312

MUTULU SHAKUR                                                    Judge Charles S. Haight Jr.
                      Defendant.
                                                           x




              EMERGENCY MOTION FOR REDUCTION IN SENTENCE
              EXPEDITED BRIEFING AND DISPOSITION REQUESTED

       Mutulu Shakur, by and through undersigned counsel, hereby files this Reduction in

Sentence pursuant to 18 U.S.C. 3582(c)(1)(A).
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       I.      INTRODUCTION

       Mutulu Shakur is 69 years old and has been diagnosed with an incurable cancer. Through

his 34 years of incarceration, he has exhibited remarkable conduct, with few disciplinary reports

and no incidents of violence. More than completing prison programs, he has led them, and has

had such a positive impact on younger prisoners that he has been commended by Bureau of

Prisons staff members who support his release. He now suffers from advanced stage multiple

myeloma that attacks his immune system and requires treatment by powerful drugs that deplete it

even more. In light of COVID-19, in which over 700 Federal Bureau of Prison (BOP) prisoners

and staff have already tested positive, and with infections in half of the BOP’s federal medical

centers and forty of its other prisons, Mr. Shakur faces extraordinary and compelling

circumstances that support his release. Mr. Shakur’s cancer, the mortal danger he will face when

he is exposed to the virus, and his rehabilitation all justify a reduction in sentence on the grounds

of compassionate release.

       II.     PROCEDURAL HISTORY

       As this Court stated in a recent order, Mr. Shakur “is serving a 60-year sentence of

imprisonment imposed by this Court in 1988 following Shakur’s conviction by a jury on several

criminal charges.” [Dkt. No. 190.] He was convicted of conspiracy to violate the Racketeer

Influenced and Corrupt Organizations Act ("RICO"), participation in a racketeering enterprise,

bank robbery, armed bank robbery, and bank robbery murder, in violation of 18 U.S.C. §§ 1961,

1962(d), 1962(c), 2113(a), 2113(d), 2113(e), and 2. United States v. Shakur, 888 F.2d 234 (2nd

Cir. 1989).

       On June 27, 2019, Mr. Shakur petitioned the Warden of USP Victorville for

compassionate release on the grounds that he had suffered a debilitating stroke combined with




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other serious health problems. Although BOP physicians suspected that he had cancer, he had

not been informed of this suspected diagnosis and he did not include this as a basis for his

request. It was not until October 2019 that a private Victorville oncologist said that he had

advanced stage cancer and had about two years to live. He was advised that the Victorville

prison staff had resubmitted his request for compassionate release on November 5, 2019, adding

the information that he had a terminal disease -- multiple myeloma. (Multiple myeloma is a

cancer of the plasma cells. It is considered incurable, although it can be treated. Copenhaver v.

Comm'r of Soc. Sec., 2015 U.S. Dist. LEXIS 12516 *5, fn.6). Supplemental information was

submitted by one of his counsel in November of 2019, explaining the gravity of his condition

and stressing that Mr. Shakur would be welcomed home to live with his son and daughter in-law

in Los Angeles, and that Harbor-UCLA Medical Center had promised to provide him with

comprehensive medical care.

       The petition was denied by BOP’s Assistant Director and General Counsel and Mr.

Shakur was notified of the denial on December 7, 2019. This constitutes a final administrative

decision thus authorizing Mr. Shakur to directly move this Court for a Reduction in Sentence to

be adjudicated pursuant to 18 U.S.C. §3582(c)(1)(A). United States v. Davis 2020 U.S. Dist.

LEXS 40652 at *5, (D. Md.)

       Mr. Shakur’s counsel in California, Mr. Kleiman, sought a legal meeting with Mr. Shakur

at Victorville to prepare the motion, but BOP refused to permit the meeting. In late December,

2019 Mr. Shakur was moved to the Federal Medical Center in Lexington Kentucky for

temporary incarceration while he receives cancer treatment. On February 7, 2020, Mr. Shakur

moved this Courtfor an order that BOP produce all his medical records so that a motion for

reduction in sentence could be prepared. [Dkt. No. 189]. On February 11, 2020 The Department




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of Justice was ordered to file and serve either its consent or opposition to this motion. [Dkt. No.

190]. On February 14, 2020 the Department of Justice stated that it did not oppose this motion.

[Dkt. No. 193]. Accordingly, on February 19, the Bureau of Prisons was ordered to produce all

of the records within ten days. [Dkt. No. 194]. After Mr. Shakur’s counsel contacted the United

States Attorney’s Office and the Bureau of Prisons to secure compliance with this Court’s order,

the records were produced piecemeal. Mr. Shakur and his counsel finally received a complete set

of current records on April 2, 2020, which have been reviewed by medical experts. Mr. Shakur

now moves this Court for a reduction of sentence, based on those expert findings, and in light of

the COVID-19 pandemic.

       III.    APPLICABLE LAW

       Defendant Mutulu Shakur respectfully requests that this Court grant him a reduction of

sentence, also referred to as “compassionate release,” pursuant to 18 USC § 3582(c)(1)(A). A

district court may reduce a defendant’s sentence, “if the defendant shows that (1) extraordinary

and compelling circumstances warrant a reduction and (2) a reduction would be consistent with

applicable Sentencing Commission policy.” United States v. Rivernider, 2019 U.S. Dist. LEXIS

137134, at *2-3 (D. Conn. Aug. 14, 2019.) Previously, “only the Director of the Bureau of

Prisons ("BOP") could move for a sentence modification under this provision. But the First Step

Act enables a defendant to file a motion for compassionate release directly with the sentencing

court provided he first exhausts administrative remedies.” Id.

       The court’s role in granting compassionate release is to assess whether “new mitigating

‘extraordinary and compelling’ circumstances exist to reduce that sentence; [it] is not an

opportunity to second guess or to reconsider whether the original sentence was just.” United

States v. Ebbers, 2020 U.S. Dist. LEXIS 3746 at *17 (S.D.N.Y. Jan. 8, 2020.) “In passing the



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statute, Congress empowered district courts, not the U.S. Parole Commission, as previously, to

decide in individual cases if ‘there is a justification for reducing a term of imprisonment.’”

United States v. Millan, 2020 U.S. Dist. LEXIS 59955, at *16 (S.D.N.Y. Apr. 6, 2020). The

court elaborated that “Lawmakers further noted that the foregoing approach would keep ‘the

sentencing power in the judiciary where it belongs,’ rather than with the U.S. Parole

Commission, and that 18 U.S.C. § 3582(c)(1)(A) would allow for the ‘later review of sentences

in particularly compelling situations.’ 1 Id.         2




         The First Step Act directs the courts to consider whether the proposed reduction is

consistent with the policy statements of the United States Sentencing Commission. (18 U.S.C.

§3582(c)((1)(A). The Commission’s Sentencing Guidelines explain that such circumstances exist

when “the defendant is suffering from a terminal illness (i.e., a serious and advanced illness with

an end of life trajectory). A specific prognosis of life expectancy (i.e., a probability of death

within a specific time period) is not required." U.S.S.G. § 1B1.13 app. note 1(A)(i).

         IV.       ARGUMENT

         Mr. Shakur’s advanced age and incurable cancer present “extraordinary and compelling”

reasons for release, reasons which are only exacerbated by the lethal threat he faces due to



1
 Mr. Shakur had a parole hearing scheduled for April 2020, which has been delayed at least 90 days due to COVID-
19. Mr. Shakur has, in separate litigation, filed a habeas petition challenging the Parole Commission’s procedures
and conduct, Shakur v. Milusnic, et. a., 5:19-cv-00727, C.D. Cal.

2
 BOP frequently argues that its own internal policies limit compassionate release to prisoners with a life expectancy
of eighteen months or less. However, an agency’s interpretive rules, such as those in BOP Program Statement
5050.49, lack the force of law and “do not warrant Chevron-style deference.” Christensen v. Harris Cnty., 529 U.S.
576, 587 (2000). Instead, interpretive rules are “‘entitled to respect’ . . . only to the extent that those interpretations
have the “power to persuade.’” Id. (citing Skidmore v. Swift & Co., 323 U.S. 134, 140 (1944)). The Supreme Court
has repeatedly confirmed that BOP program statements are internal agency guidelines that warrant little judicial
deference under the Skidmore framework. Reno v. Koray, 515 U.S. 50, 60-61 (1995) (affirming policy defining
“official detention”); Cunningham v. Scibana, 259 F.3d 303, 309 (4th Cir. 2001) (affirming policy defining “crime
of violence”); Hogge v. Wilson, 648 F. App’x 327, 332 (4th Cir. 2016) (rejecting good conduct time credit.)



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COVID-19. His release would pose no risk of danger to any person or the community at large

and would be consistent with the policy purposes of the Sentencing Guidelines. As Congressman

Bobby Rush has stated, “Mr. Shakur, a 69-year-old man who has been diagnosed with a terminal

illness, is an excellent candidate for compassionate release, especially during this public health

crisis resulting from the COVID-19 pandemic.” (Exhibit A.)

               a. Mr. Shakur Faces Extraordinary and Compelling Circumstances
                  Justifying Compassionate Release

                       i. Mr. Shakur’s medical condition, and his advanced age, and BOP’s
                          multi-year delay in diagnosing and treating his cancer establish an
                          “extraordinary and compelling” circumstance

       Mr. Shakur was first diagnosed with anemia in 2013, more than six years before BOP

finally ordered tests to diagnose him with the multiple myeloma which will kill him. (Malin

Decla., ¶7, Williams Decla., ¶ 5) On September 10, 2014, a BOP physician considered

myelophthisic disease (cancer of the blood cells) and recommended additional blood tests

followed with an ultrasound study, and that if the ultrasound was normal, Mr. Shakur “may need

hematology consultation, and a bone marrow biopsy.” (Exhibit B.) On December 12, 2014, the

repeat CBC showed that Mr. Shakur’s red blood count, hemoglobin, and hematrocrit were still

abnormally low. (Exhibit C). Although he was still anemic, the BOP never ordered the

ultrasound. Mr. Shakur waited nearly five years for the definitive bone marrow biopsy. (Exhibit

D).


       In early 2017 Mr. Shakur began complaining of severe pain in his hip and his ribs (Malin

Decla., ¶8, Williams Decla., ¶ 5) Mr. Shakur’s pain, his anemia, and the non-traumatic bone

fractures seen on x-rays were “highly suspicious for multiple myeloma and should have led to a

bone marrow biopsy and serum and urine electrophoresis to confirm the diagnosis and start




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treatment.” (Malin, id., Morissey Decla., ¶8) Yet BOP turned a blind eye to all of this and Mr.

Shakur suffered with intractable pain for nearly three years before he was diagnosed and

treatment was begun. In United States v. Almontes 2020 U.S. Dist. LEXIS 62524 (D-Ct. April 9,

2020), the court was troubled by the BOP’s similar year delay in starting treatment for the

defendant. The court cited this delay among the “combination of factors” which supported a

finding of “extraordinary and compelling” reasons to reduce Almontes’ sentence. Id. at 25.


       Mr. Shakur now faces bone marrow cancer that is much more advanced and requires

aggressive treatment. He has endured three years of pain when he could and should have been

getting treatment. Now, both his cancer and his cancer treatment place him in mortal jeopardy

for major, and even fatal complications should he contract Covid-19. (Malin Decla., ¶¶9-10,

Williams Decla., ¶¶ 6-9). Because this type of cancer attacks the very cells which form the

foundation of the human immune system, patients with multiple myeloma have badly

compromised immune systems by the very nature of their disease. Because multiple myeloma is

incurable, Mr. Shakur will require constant monitoring and ongoing treatment to address

potentially aggressive relapses. The medical experts agree that this problem is only compounded

by the immunosuppressive effects of the chemotherapy Mr. Shakur must take.


       The effects of this delay will last throughout whatever remains of Mr. Shakur’s lifetime.

The cancer spread to his skull six months ago, which was doubtless a factor in the local

oncologist’s warning that he had just two years to live. (Morrissey, ¶¶ 8, 11). He has multiple

lesions -- holes essentially where the bones in his pelvis and thoracic spine (among others) have

weakened. One doctor warns, “Given the lesions that have made for a fragile backbone, hips,

ribs, arms, and shoulders, the consequence of a fall could be extremely serious.” (Williams

Decla, ❡ 11.) And because his cancer cannot be cured, the drugs he must take to slow the


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cancer’s growth will suppress his immune system for the rest of his life. So long as he remains in

prison he will face all the dangers of being jostled in a crowd or exposed to illness in some

crowded common area. (Morrissey, ¶¶ 9-10)


                       ii. COVID-19 is an extraordinary circumstance, especially when
                           combined with the risk of death Mr. Shakur faces due to his age
                           and medical condition.

       The current COVID-19 pandemic is a national emergency. SeeUnited States v. Roman,

2020 U.S. Dist. LEXIS 53956, at *5 (S.D.N.Y. Mar. 27, 2020) (“COVID-19 presents an

unprecedented public health crisis.”); United States v. Rodriguez, 2020 U.S. Dist. LEXIS 58718,

at *1 (E.D. Pa. Apr. 1, 2020) (”We are in the midst of an unprecedented pandemic. COVID-

19 has paralyzed the entire world. The disease has spread exponentially, shutting down schools,

jobs, professional sports seasons, and life as we know it. It may kill 200,000 Americans and

infect millions more. At this point, there is no approved cure, treatment, or vaccine to prevent

it.”) This public health crisis, especially in the prisons, is an “extraordinary and compelling”

situation, with a profound impact on Mr. Shakur, warranting compassionate release.


                               1. Mr. Shakur’s continued incarceration places him at
                                  increased risk of contracting COVID-19.

       Incarcerated individuals are at a higher risk of infection of the highly contagious and

potentially dangerous coronavirus. (Howell Declaration, ¶ 4). See Basank v. Decker, 2020 U.S.

Dist. LEXIS 53191, at *10 (S.D.N.Y. Mar. 26, 2020) (“A number of courts in this district and

elsewhere have recognized the threat that COVID-19 poses to individuals held in jails and other

detention facilities.”); United States v. Rodriguez, 2020 U.S. Dist. LEXIS 58718, at *2-3 (E.D.

Pa. Apr. 1, 2020) (“Prisons are tinderboxes for infectious disease. The question whether the




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government can protect inmates from COVID-19 is being answered every day, as outbreaks

appear in new facilities.”)


           Correctional facilities are congregate living situations and they are poorly designed to

prevent the spread of the virus. (Howell declaration, ¶¶. 7, 8). Prevention of transmission is

achieved through physical distancing, frequent handwashing, continuous disinfection of shared

objects and spaces, and avoidance of congregate living situations. (Howell declaration, ¶¶ 6, 8).

These steps to prevent transmission are nearly impossible for incarcerated individuals.


           This crisis has already struck the Bureau of Prisons. See United States v Garlock, 2020

U.S. Dist. LEXIS 53747, at *1-2 (N.D. Cal. Mar. 25, 2020) (citing “chaos” inside federal prisons

in sua sponte extending time to self-surrender.); United States v. Karl Oreste, 14-20349-cr-Scola,

DE 200 (S.D. Fl. April 6, 2020) (“COVID-19 poses a greater threat to Federal Bureau of Prison

inmates than to the general population...”);The number of confirmed cases is rapidly increasing

daily and as of April 15, 2020, there were 451 BOP prisoners and 280 BOP staff members who

tested positive.3 These infections have occurred in half of the Federal Medical Centers and 43

BOP prisons in over 25 states. (Id.) Tragically, as of this filing, sixteen of those individuals have

died from COVID-19. (Id.) As the following chart shows, the numbers have been steadily rising.




3
    https://www.bop.gov/coronavirus/, last visited April 15, 2020



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                                                COVID-19 in the BOP
                       (reflecting positive test results; not all, inmates and staff are tested)

                                      ■ inmates                           ■ staff



                800



               600




                                                                                      ◄ 11 2/20    4/14120




       https://www.levittandkaizer.com/#, last visited April 15, 2020.


       These numbers will continue to rise daily, likely growing exponentially at alarming rates.

There has not yet been an identified case of COVID-19 at FMC Lexington, the spread of

infection in the Lexington, Kentucky area resembles the spread across the country. (Williams

Decla, ¶10). As Dr. Benjamin Howell states, “Given the attributes of COVID-19…it is

unavoidable that some people in correctional facilities located in jurisdictions with community

spread will eventually be infected.” (Howell Decla., ¶. 7). Given the spread in the Lexington

community and within the BOP system, it is nearly inevitable that the virus will be transmitted

inside the walls of FMC Lexington.




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           Mr. Shakur faces this increased risk of exposure due to his incarceration, even though he

is currently at a Federal Medical Center (FMC). Prisoners at FMC Butner, FMC Carswell, and

FMC Fort Worth have already tested positive, along with staff at FMC Butner, proving that BOP

is unable to prevent exposure within their medical facilities. 4 FMC Lexington is still a

congregate living facility, housing 1278 prisoners, 5 in which staff and medical professionals are

moving between the prison and the community. (Howell, ¶ 8). Mr. Shakur still faces multiple

threats of exposure within the facility. (Williams, ¶¶ 9-10, Morrissey, ¶ 10). When he leaves

FMC Lexington to receive medical treatment at University of Kentucky Medical Center, he is

transported by four or five prison guards. (Id.). This makes “social distancing,” as advised by the

CDC, impossible for Mr. Shakur, or for the guards who shackle him and remain in close contact

with him throughout the transportation. (Id.)


           At present, BOP admits that prisoners are infected at half of BOP’s six Federal Medical

Centers, which will inevitably increase due to insufficient screening measures. 6 “The BOP's

containment measures have already proven insufficient to prevent the spread of COVID-19.”

United States v. Rodriguez, at *23 (E.D. Pa. Apr. 1, 2020). Attorney General Barr has even

conceded that the BOP’s precautions “have not been perfectly successful at all institutions.”

(April 3, 2020 Barr Letter). The screening measures for BOP employees and contractors will not

detect coronavirus carriers who are still in the incubation period or are asymptomatic.

Contractors with a fever of less than 110.4℉ are admitted to the FMCs, per BOP’s published

screening tool. (Exhibit s E and F). Staff members with a fever of less than 110.4℉ and who


4
    https://www.bop.gov/coronavirus/, last accessed April 6, 2020
5
 https://www.bop.gov/locations/institutions/lex/, last accessed April 13, 2020. It should also be noted that there is a
Federal Prison Camp at the same facility, housing an additional 217 prisoners
6
    https://www.bop.gov/coronavirus/, last visited April 11, 2020.



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deny new coughs, new shortness of breath, or new nasal congestion are also admitted to work at

the FMCs per BOP’s published guidelines. (Exhibit G). Science magazine and the New England

Journal of Medicine both reported in February that coronavirus could be transmitted by

asymptomatic carriers. (Exhibits H and I). Dr. Anthony Fauci, Director of the National Institute

of Allergy and Infectious Diseases, has estimated that between 25 and 50% of persons with

coronavirus are asymptomatic. 7 BOP’s screening tools will fail at FMC Lexington, as they have

failed at FMC Butner, FMC Carswell, and FMC Fort Worth, and at dozens of other federal

prisons. Mr. Shakur’s continued incarceration places him at increased risk of contracting

COVID-19 and also increases the risk faced by other prisoners and BOP staff, creating an

“extraordinary and compelling” circumstance justifying his release. (Morrissey, ¶13)


                                    2. Mr. Shakur’s age and underlying health conditions place
                                       him at extraordinary risk, should he contract COVID-19

           Mr. Shakur’s age, advanced cancer, other diseases, and even his treatment all place him

in peril. Basank v. Decker, 2020 U.S. Dist. LEXIS 53191, at *9 (S.D.N.Y. Mar. 26, 2020) (“The

Court takes judicial notice that, for people of advanced age, with underlying health problems, or

both, COVID-19 causes severe medical conditions and has increased lethality.”) These dangers

combine to make the risk he faces an extraordinary one which renders him extremely vulnerable

should he contract the virus. (Williams, ¶7, Morrisey, ¶11) According to the CDC, adults over

the age of 65 are at higher risk, with higher rates of hospitalization, admission to intensive care

units, and death. 8 The CDC reports that among adults with confirmed COVID-19 reported in the

U.S., 80% of the deaths have been individuals 65-years-old and older. (Id.)



7
    https://www.nytimes.com/2020/04/06/world/coronavirus-news.html, last visited April 6, 2020.

8
    https://www.cdc.gov/coronavirus/2019-ncov/need-extra-precautions/older-adults.html



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         The threat Mr. Shakur faces due to his age is exacerbated by his current medical

condition, as infections of COVID-19 are more likely to lead to serious complications or death in

patients with underlying health conditions. (Howell declaration ¶. 11) Mr. Shakur’s cancer

diagnosis of advanced stage multiple myeloma creates an increased risk, as the evidence has

shown that individuals with cancer face increased rates of death from COVID-19. (Id.) To treat

the cancer, Mr. Shakur has been undergoing chemotherapy for six months and the CDC have

concluded that chemotherapy itself is a risk factor which renders patients highly vulnerable to

COVID-19. (Williams declaration, ¶ 7) Mr. Shakur also suffers from diabetes and hypertension,

which are additional risk factors. (Id.) Courts in this district and across the country have found

that COVID-19 is an “extraordinary and compelling” reason to grant compassionate release,

especially for older individuals with underlying health issues. 9




9
  United States v. Zukerman, 16-cr-194-AT, Dkt. 116 (S.D.N.Y. Apr. 3, 2020) (Granting immediate compassionate
release to a 75-year-old defendant with underlying health conditions, in light of COVID-19); United States v.
Campagna, WL 1489829 (S.D.N.Y. March 27, 2020) (“Defendant’s compromised immune system in concert with
the COVID-19 public health crisis constitutes an extraordinary and compelling reason to modify Defendant’s
sentence”); United States v. Hernandez, U.S. Dist. LEXIS 58739 (S.D.N.Y April 2, 2020) (“In light of the
heightened medical risk presented to Mr. Hernandez by the COVID-19 pandemic, there are extraordinary and
compelling reasons to reduce Mr. Hernandez’s sentence”); United States v. Perez, 17-cr-513, Dkt. No. 98 (S.D.N.Y
April 1, 2020) (Defendant’s “heightened risk of serious illness or death from COVID-19 due to his pre-existing
medical issues” constitutes an “extraordinary and compelling” reason for compassionate release); United States v.
Plunk, No. 3:94-cr-36-TMB (D Alaska Apr. 9, 2020) ("In this case, Defendant qualifies for compassionate release
due to his medical conditions and age, particularly in light of the ongoing coronavirus (COVID-19) pandemic, and
time spent in custody, as well as his remarkable history of rehabilitation while in custody and several prior
recommendations by his wardens, the U.S. Probation office, and Judge Sedwick to reduce or commute his
sentence."); United States v. Huneeus, 1:19-cr-10117, Order, dkt. 642 (D. Mass. March 17, 2020) (Finding
“extraordinary and compelling reasons” and granting motion for reduction of sentence “in light of the national state
of emergency due to the global COVID-19 pandemic and Hunneus’ unique health circumstances”); United States v.
Wishner, 2:14-cr-712, Order, Dkt. 155 (C.D. Cal. March 27, 2020) (Granting compassionate release under 18 U.S.C.
3582(c)(1) based on COVID-19 and underlying medical conditions); United States v. Copeland, No. 2:05-cr-135-
DCN, Dkt. 662 (D.S.C. Mar. 24, 2020) (granting compassionate release to defendant in part due to “Congress’s
desire for courts to release individuals the age defendant is, with the ailments that defendant has during this current
pandemic”); United States v. Powell, No. 1:94-cr-316-ESH (Mar. 28, 2020) (granting unopposed motion for
compassionate release in light of COVID-19); United States v. Rodriguez, 2020 U.S. Dist. LEXIS 58718 (E.D. Pa.
Apr. 1, 2020) (Defendant’s circumstances-particularly the outbreak of COIVD-19 and his underlying medical
conditions present “extraordinary and compelling reasons” to reduce sentence); United States v. Colvin, 2020 U.S.
Dist. LEXIS 57962 (D. Conn. Apr. 2, 2020) (Defendant demonstrated “extraordinary and compelling reasons
justifying her immediate release under Section 3582(c)(1)(A) and U.S.S.G. 1B1.13” because her diabetes



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        Attorney General William Barr has called on the BOP to release individuals to home

confinement, stating that “Given the speed with which this disease has spread through the

general public, it is clear that time is of the essence.” (Exhibit J, April 3, 2020 Barr Memo).

Members of the U.S. House Judiciary Committee have called for releasing “as many people as

possible who are currently behind bars and at risk of getting sick.” (Exhibit K, March 19, 2020

House Judiciary Letter). Fourteen U.S. Senators, with members of both parties, have expressed

their “serious concern for the health and wellbeing of federal prison staff and inmates in federal




substantially increases risk of illness should she contract COVID-19); United States v. Resnick, 2020 U.S. Dist.
LEXIS 59091 (Granting compassionate release where defendant is particularly vulnerable to COVID-19 because he
is 65 years old with diabetes and end-stage liver disease); United States v. Jepsen, 2020 U.S. Dist. LEXIS 57007
(“The court finds that the totality of the circumstances specific to Mr. Jepsen constitute ‘extraordinary and
compelling’ reasons to grant compassionate release,” including that he suffers chronic conditions considered to be
risk factors for COVID-19); United States v. Edwards 2020 U.S. Dist. LEXIS 60095 *8, (W.D. Va April 2, 2020)
(Granting compassionate release, in considerations of COVID-19 pandemic and defendant’s compromised immune
system.”); United States v. Karl Oreste, 14-20349-cr-Scola, Dkt. 200 (S.D. Fl. April 6, 2020) (Granting
compassionate release, concluding that there were extraordinary and compelling circumstances presented by
COVID-19 pandemic and defendant’s advanced age and poor health); United State v. Bartolo Hernandez, 16-20091-
CR-Williams, Dkt. 561 (S.D. Fl. April 3, 2020) (finding extraordinary and compelling reasons and granting
compassionate release motion, over the government’s opposition, where—because of the coronavirus pandemic—
the defendant was the only potential caregiver for his elderly mother); United States v. Foster, No. 1:14-cr-324-02,
Dkt. 191 (M.D. Pa. Apr. 3, 2020) (Granting compassionate release to a defendant who—due to an underlying lung
condition—was at greater risk of serious illness or death from COVID-19); United States v. Brannan, No. 4:15-CR-
80-01, Dkt. 286 (S.D. Tx. Apr. 2, 2020) (Granting compassionate release where defendant was 66-years-old with
diagnoses of high blood pressure and high cholesterol); United States v. Williams, No. 3:04-cr-95-MCR-CJK, DE 91
(N.D. Fla. Apr. 1, 2020) (Granting compassionate release in light of severe risk posed to defendant by COVID-19);
United States v. Marin, 15-cr-252, DE 1326 (E.D.N.Y Mar. 30, 2020) (Granting release due to age, deteriorating
health and elevated risk of dire health consequences due to COVID-19 outbreak); United States v. Bolston, 18-cr-
382-MLB, DE 20 (N.D. Ga. Mar. 30, 2020) (Releasing defendant in part because of danger inherent to continued
incarceration during COVID-19); United States v. McCarthy, 2020 WL 1698732 (D. Conn. Apr. 8, 2020) ("The
defendant’s age and medical condition, taken in concert taken in concert with the COVID-19 public health crisis,
constitute an extraordinary and compelling reason to reduce McCarthy’s sentence."); United States v. Hansen, No.
07-CR-00520 (KAM), 2020 WL 1703672 (EDNY Apr. 8, 2020) ("Mr. Hansen’s medical risk from the COVID-19
pandemic, taken alone, arguably constitutes ‘extraordinary and compelling' circumstances justifying his release.");
United States v. Trent, 2020 WL 1812242 (ND Cal. Apr. 9, 2020) ("Trent suffers from a number of serious physical
or medical conditions…which render Trent uniquely vulnerable to serious illness if he contracts COVID-19,
substantially diminish his ability “to provide self-care within the environment of a correctional facility.”);




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custody” and have demanded that “the most vulnerable inmates are released.” (Exhibit L, March

23, 2020 U.S. Senate Letter).


       These members of Congress have made it clear that the release of individuals like Mr.

Shakur is consistent with the legislative intent of the First Step Act. In urging the release of

federal prisoners who are vulnerable to COVID-19, members of the House Judiciary Committee

cited 18 U.S.C. 3582(c)(1)(A) as the legal basis for release. (Exhibit K, supra). The fourteen

Senators stated explicitly that “extraordinary and compelling” circumstances should “include

vulnerability to COVID-19.” (Exhibit L, supra). Similarly, Congressman Rush has specifically

identified Mr. Shakur as a candidate for compassionate release, stating that “given his age and

medical condition, he is particularly vulnerable to COVID-19 and his risk of infection increases

the longer he remains in prison.” (Exhibit A). Congressman Rush has respectfully addressed this

court in writing, “I hope that Mr. Shakur will be granted a reduction in sentence that will permit

him to peacefully live out his remaining days with his family who loves him.” (Id.)


                      iii. BOP shackled Mr. Shakur to a bed for nearly two months and cut
                           him off from contact with his family, friends and his lawyers.

       Despite BOP’s statutory requirement to “notify the defendant’s attorney, partner, and

family members of the defendant’s condition” within 72 hours of a diagnosis, BOP did almost

exactly the opposite, telling no one, isolating Mr. Shakur, keeping him from seeking help. BOP

was required to “provide the defendant’s partner and family members (including extended

family) with an opportunity to visit the defendant in person”. Instead, Mr. Shakur was swept out

of the prison and chained to a bed for two months in a location the prison kept secret from his

lawyers and family. Mr. Shakur was not permitted to make telephone calls or to receive calls

from his lawyers. 18 U.S.C. §3582(d)(2)(A)(1) and (A)(ii)




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       A legal visit was permitted only after one of Mr. Shakur’s lawyers complained to BOP’s

Office of Legal Counsel. His lawyer entered the nursing home’s room to find Mr. Shakur

shackled to the rails of his hospital bed, barely able to move his hand a few inches. Mr. Shakur

was shackled that way from late October 2019 until late December, when he was abruptly taken

from his room in chains and transferred to Lexington. During the first two months of his

chemotherapy, while he spent chained to his bed, Mr. Shakur, a 69-year-old man, could not even

use the bathroom without beseeching a guard to briefly release him.


               b. Mr. Shakur Should be Granted Compassionate Release Because He Poses
                  No Danger.
       Mr. Shakur, as a 69-year-old man with an incurable cancer, is not a danger to the

community and should therefore be granted compassionate release. When considering a

reduction of sentence under 18 U.S.C. 3582(c)(1)(A), a court must apply USSG 1B1.13(2) and

find that the defendant “is not a danger to the safety of any other person or to the community, as

provided in 18 USC 3142(g).” 18 USC 3142(g) contains three relevant factors for the court to

consider: “the nature of the offense, the characteristics of defendant; and the nature of the

danger.” United States v. Ebbers, 2020 U.S. Dist. LEXIS 3746, at *16 (S.D.N.Y. Jan. 8, 2020).

Looking at the totality of circumstances, it is clear that releasing Mr. Shakur would not pose a

threat to any other person or to the community at large.

                       i. Nature and Circumstances of the Offense

       This Court considered the 3142(g) factors in its 1987 decision to grant bail to Mr. Shakur.

United States v. Shakur, 656 F. Supp. 241 (S.D.N.Y. 1987). In analyzing the first factor, this

Court noted that the nature and circumstances of the underlying offense were very serious. Id., at




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243. As this is a static factor, the facts of the underlying offense have not changed and the crimes

Mr. Shakur was convicted of remain as serious today as they ever were.

                       ii. Mr. Shakur’s History and Characteristics

       Mr. Shakur’s history and characteristics demonstrate that he is not a danger. 18 U.S.C.

3142(g)(2) enumerates several aspects to consider in assessing an individual’s “history and

characteristics,” including character, physical and mental condition, family ties, employment,

financial resources, past conduct, criminal history and drug and alcohol abuse. In analyzing each

of these applicable aspects of Mr. Shakur’s history and characteristics, it is clear that his release

does not pose a danger to any individual person or the community at large.

                               1. Mr. Shakur’s Character

       Mr. Shakur has demonstrated his character so powerfully that he has earned the respect of

BOP staff who interact with him. Courts have found that support from BOP staff and the staff’s

“opinions that if released ... [the defendant] would be a productive member of society to be a

compelling factor in favor of release.” United States v. Millan, supra, at *47 (S.D.N.Y. Apr. 6,

2020). The Associate Warden at USP Victorville, stated, “My years of experience with the

Bureau has made me quite astute to the judgment of men and their character. I sincerely believe

if given the opportunity, Mr. Shakur will not re-offend and will abide by the law and be an asset

to the overall environment and community.” (Exhibit M, Keilman letter). In describing Mr.

Shakur’s character, he states that Mr. Shakur “has consistently dedicated himself to maintain

character that is consistent with our goals of the safe and orderly operation of our facility.” id.

       Carlyle Holder, the retired warden of FCI Coleman describes how Mr. Shakur “was well

respected by both staff and inmates alike because of the way he conducted himself.” (Exhibit N,

Holder Letter). He describes how Mr. Shakur facilitated prosocial programs and helped minimize



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violence at the prison. (Id.) These individuals have been in leadership positions within BOP and

have been tasked with supervising Mr. Shakur’s daily routine and prison conduct for over 34

years. Their professional experience in the field of corrections, and their direct contact with Mr.

Shakur, make them uniquely positioned to speak to Mr. Shakur’s character and to conclude that

he is not a danger to anyone.

                                    2. Mr. Shakur’s Physical and Mental Condition

         As described above, Mr. Shakur’s current physical condition, as a 69-year-old cancer

patient is evidence that he is not dangerous. See United States v. Karl Oreste, 14-20349-cr-Scola,

Dkt. 200 (S.D. Fl. April 6, 2020) (“Crucially, his severe medical conditions render him

extremely unlikely to commit violent crimes.”) Mr. Shakur is undergoing chemotherapy

treatment, as he has been for several months, and he anticipates receiving a stem cell transplant.

The cancer weakens Mr. Shakur’s physical condition, as does the treatment, which causes

serious side-effects and compromises his immune system. Additionally, Mr. Shakur suffers from

the lasting effects of a severe stroke, hypertension and diabetes, which combined with his cancer

diagnosis place him at extreme risk, should he contract COVID-19.

         Mr. Shakur turns 70 this year, an age group with an essentially non-existent risk of

recidivism. There is a well-established criminological consensus that the risk of re-offending

drops dramatically as people age. 10 The U.S. Sentencing Commission found “older offenders are

substantially less likely to recidivate following release compared to younger cohorts” and that

“as age increases recidivism by any measure declined.” 11 Similarly, the Center for Justice at


10
   See Vera Institute of Justice Report, “It’s About Time, Aging Prisoners, Increasing Costs, and Geriatric Release”
p. 5 https://www.vera.org/publications/its-about-time-aging-prisoners-increasing-costs-and-geriatric-release.
11
   United States Sentencing Commission, “The Effects of Aging on Recidivism Among Federal Offenders” p. 30
https://www.ussc.gov/sites/default/files/pdf/research-and-publications/research-
publications/2017/20171207_Recidivism-Age.pdf




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Columbia University reported that re-arrest rates for people over 65 are almost 0%.12 This is

especially true of individuals over the age of 70, as Mr. Shakur will be in just a few short

months. The Office of the Inspector General of the Department of Justice analyzed FBI data and

found the recidivism rate for former prisoners over 70 was 0%. 13

        In 2016, a forensic psychological expert assessed Mr. Shakur’s mental condition and

concluded that, “Mr. Shakur poses as a low risk of future general and violent criminality once

released to the community.” (Exhibit O, Fabian Report, p. 19). After administering numerous

tests and conducting a clinical interview of Mr. Shakur, Dr. Fabian determined that Mr. Shakur

had “no significant antisocial and psychopathic personality traits.” (id., pp. 14-15). In reviewing

BOP records, Dr. Fabian found that Mr. Shakur was “involved with individual therapy with

goals of assessing healthy mechanisms for dealing with the processing of aging,” and developing

positive communication skills.” (id. p. 8).

                                   3. Family Ties

        Mr. Shakur has very strong family ties. He maintains close relationships with his

children, including his son Maurice Shelton Harding Shakur, who Mr. Shakur will live with in

Los Angeles, should he be released. (Exhibit X, Maurice Shelton Harding Shakur Letter).

Maurice writes that he and his father have a “very close and loving relationship,” speaking on the

phone weekly andvisiting regularly. (Id.) In addition to his relationship with Maurice, Mr.

Shakur is also close to his other children Sekyiwa, who also lives in California, and Tyrone who

lives in Jamaica, New York, who are both eager to support him upon release. Dr. Fabian listed




12
   Aging in Prison: Reducing Elder Incarceration and Promoting Public Safety, p. IX
http://centerforjustice.columbia.edu/files/2015/10/AgingInPrison_FINAL_web.pdf
13
  DOJ’s Office of the Inspector General Report “The Impact of an Aging Inmate Population on the Federal Bureau
of Prisons” p. 38-40 https://oig.justice.gov/reports/2015/e1505.pdf



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“definite social and family supports” as one of twenty-two identified factors indicating lower

risk, stating in his report that “prior to his arrest and currently, he has good social support and a

lack of family problems.” (Id., at pp. 16, 18). Mr. Shakur’s strong family and personal

relationships will support him in adjusting to life after prison and show that he is unlikely to

reoffend.

                               4. Employment and Financial Resources

       In light of Mr. Shakur’s age, his medical condition, and his need to self-quarantine due to

COVID-19, he does not plan on working immediately upon his release. His son, Maurice, who

has a successful career in the music business and entertainment industry, is happy to financially

support his father. (Maurice Shelton Shakur Letter). Mr. Shakur will be able to live with his son

and daughter-in-law in their three-bedroom home in Los Angeles, where he will have his own

bedroom and bathroom. (Id.) In addition to offering Mr. Shakur rent-free housing, Maurice and

his wife are prepared to cover his other living expenses. Prior to his incarceration, Mr. Shakur

was a well-respected acupuncturist. Previously, he was offered part-time employment teaching

acupuncture upon release and should circumstances change that would allow him to work, those

opportunities remain available to him.

                               5. Past Conduct and Criminal History

       Mr. Shakur’s criminal history and past conduct strongly show that he would not be a

danger to any individual or the community. Mr. Shakur was 35 years old when he was arrested in

this matter and as this Court noted, he had “no prior criminal record” at the time. United States v.

Shakur, at 245 (S.D.N.Y. 1987). This case remains his sole criminal conviction, as he has not

faced any new charges during his incarceration.




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       Throughout his 34 years in prison, Mr. Shakur has maintained a strong institutional

adjustment, with remarkably few disciplinary violations. A person’s “success in prison is

commendable and…certainly counts heavily in his favor” in considering compassionate release.

Almontes, at 21-22. According to his most recent “Summary Reentry Plan” issued by the BOP,

Mr. Shakur has received disciplinary reports on only five occasions throughout his time in

custody and he has “maintained clear conduct” for over seven years. (Summary Reentry Plan).

These reports were largely for minor infractions and none involved any allegations of violence,

exemplifying Mr. Shakur’s peaceful conduct for 34 years and demonstrating that he would not

be dangerous upon release.

       Beyond Mr. Shakur’s lack of disciplinary incidents, his positive conduct in prison paints

the picture of a man who is committed to self-improvement, is not a danger to anyone, and has

actually improved the prison environment for others. Mr. Shakur has expressed empathy for all

the direct and indirect victims of his crimes and this empathy been one of the forces that have led

him to embody nonviolent solutions to conflict and teach those lessons to others. The Associate

Warden at USP Victorville describes how Mr. Shakur’s “lack of violence (or other disciplinary

issues) indicate a desire toward rehabilitation.” (Keilman letter) Carlyle Holder, the retired

warden of FCI Coleman describes how Mr. Shakur “took responsibility for his actions and was

remorseful with the mindset to demonstrate his commitment to change and be rehabilitated.”

(Holder letter)

       Warden Holder writes of Mr. Shakur’s willingness to be a “role model and mentor to

other men incarcerated at the facility.” (Holder letter) One of those young men, Deondre

Williams, has now been released from prison, is employed full time and is caring for his family.

He credits Mr. Shakur with contributing to his success and writes “I am proud to be a positive



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member of my community today. If it wasn’t for Mr. Shakur, I wouldn’t be the man I am for

myself or my family.” (Deondre Williams letter). In describing Mr. Shakur’s demeanor, he

writes that he “carried himself [] like an old man who wanted nothing more but just to go home

and live in peace.” (Id.)

       Mr. Shakur’s conduct throughout 34 years of his incarceration exhibit a man who has

taken great strides to improve himself and create a positive environment around him. He has

completed extensive educational courses and programming in history, arts, crafts, typing,

wellness, screenwriting, and the sciences. Prior to 2014, he had completed over 1,600 hours of

programming and has continued to take classes, most recently completing a health course earlier

this year and last year, completing courses on human rights, Mother’s Day history, creative

writing and world cultures. (2015 Inmate Skills Development Plan, 2020 Summary Reentry

Plan) Beyond participating in the courses, he has shared his knowledge and skills with other

prisoners, actually leading programs, including teaching courses, including classes on political

science and human rights and working as an adult continuing education tutor. (Shuldt letter)

       His efforts to assist other prisoners has included the life-saving work of participating in

an “Suicide Watch Inmate Companion” program where he received specialized training in

suicide prevention and worked closely with prison staff in monitoring at-risk prisoners. (Dr.

Peprah letter) One example of Mr. Shakur selflessly assisting another prisoner is described by

Edgar Mosquera Gamboa, who suffered a massive heart attack and Mr. Shakur ran through the

yard to his side, rendering assistance until medical staff arrived. (Gamboa letter). Mr. Gamboa

explains how impressed he was that a man who he had never met rushed to help him and writes,

“My respect and admiration is based on what I believe is the humane character of his gesture and

actions.” (Id.) These efforts at improving himself and others are just a few examples of the



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remarkable activities Mr. Shakur has engaged in throughout his time in prison, demonstrating his

rehabilitation and lack of dangerousness.

                                    6. Drug and Alcohol Abuse

         Mr. Shakur has no history of drug or alcohol abuse. Dr. Fabian’s clinical evaluation

found that “[t]here was no evidence of alcohol or drug problems.” (id., p. 16). In fact, Dr. Fabian

cited “no significant alcohol and drug issues” as one of twenty-two enumerated factors indicating

that Mr. Shakur is at a low risk. (id., at 19). 14

                  c. The Factors Identified in 18 U.S.C. § 3553(a) Support Release

         After finding "extraordinary and compelling reasons," a court must then "consider[] the

factors set forth in section 3553(a)." 18 U.S.C. § 3582(c)(1)(A). The applicable factors are:

                “(1) the nature and circumstances of the offense and the history and
         characteristics of the defendant;
                  (2) the need for the sentence imposed--
                         (A) to reflect the seriousness of the offense, to promote respect for the
                  law, and to provide just punishment for the offense;
                           (B) to afford adequate deterrence to criminal conduct;
                           (C) to protect the public from further crimes of the defendant; and
                          (D) to provide the defendant with needed educational or vocational
                  training, medical care, or other correctional treatment in the most effective
                  manner;
                  . . . [and]
                 (6) the need to avoid unwarranted sentence disparities among defendants with
         similar records who have been found guilty of similar conduct[.]”




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  Mr. Shakur has one disciplinary incident from 1991 where he tested positive for morphine. (Summary Reentry
Plan). Mr. Shakur believes that this test was in error and he denies ever taking morphine or any other illicit drug
while in BOP custody. Regardless, this single positive drug test from nearly thirty years ago does not constitute drug
or alcohol abuse, and does not indicate that he would be a danger to anyone upon release.



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        United States v. Rodriguez, 2020 U.S. Dist. LEXIS 58718, at *30-31 (E.D. Pa. Apr. 1,
2020)
        The first factor, “the nature and circumstances of the offense and the history and

characteristics of the defendant” is described more fully supra at pp. 16-22. As articulated above,

although the nature and circumstances of the offense were serious, the history and characteristics

of the defendant demonstrate that Mr. Shakur is not a risk and support his release.

        In addressing the second factor, it is important to recognize that Mr. Shakur has now

served 34 years in prison, which is nearly half of his life. Granting him compassionate release at

this point “will not prevent him from being adequately punished nor will it discount the

seriousness of his offense or diminish the message that his crimes were unacceptable.” United

States v. Ebbers, 2020 U.S. Dist. LEXIS 3746, at *25 (S.D.N.Y. Jan. 8, 2020). See United States

v. Wong Chi Fai, 2019 U.S. Dist. LEXIS 126774, at *13 (E.D.N.Y. July 30, 2019) (Court found

that the defendant having served 26 years of a life sentence “appropriately ‘reflect[s] the

seriousness of the offense,’” and that “to require Mr. Wong to serve out the rest of his life

sentence would be ‘greater than necessary to serve the purposes’18 U.S.C. § 3553(a)(2).”);

United States v. Owens, 2020 U.S. Dist. LEXIS 61460, at *11 (S.D. Cal. Mar. 20, 2020)

(Granting compassionate release to defendant, finding that 22 years in prison is “by any measure

is a substantial punishment.”) Mr. Shakur’s “continued confinement in prison for the last few

years of his life does not serve the purposes of punishment under § 3553(a)(2).” United States v.

Karl Oreste, 14-20349-cr-Scola, DE 200 (S.D. Fl. April 6, 2020). In United States v. Almontes,

at *27, the court found just such a reduction appropriate even where the defendant was a career

criminal with three prior felonies. Id., at *9. A similar reduction is even more appropriate here

where Mr. Shakur had no prior criminal history at all.




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        Granting compassionate release would be consistent with the third applicable factor,

3553(a)(6): “’[t]he need to avoid unwarranted sentence disparities’ among similarly situated

defendants.” United States v. Millan, 2020 U.S. Dist. LEXIS 59955, at *47 (S.D.N.Y. Apr. 6,

2020). Granting compassionate release would not create any unfair sentence disparity, Mr.

Shakur remains the last of his co-conspirators to remain in prison.


 Name                     Time Sentenced          Time Served 15
 Sylvia Baraldini             40 years            24 years

 Alan Berkman                   12 years           7 years

 Timothy Blunk                  58 years          16 years

 Marilyn Buck                   80 years          25 years (dying just ten days after her release)

 Linda Evans                    40 years          16 years

 Cecil Ferguson                12½ years          7½ years

 Jamal Joseph                  12½ years          5½ years

 Sekou Odinga                   40 years          33 years

 Susan Rosenberg                58 years          16 years, 2 months



15  Sylvia Baraldini: The Guardian, https://www.theguardian.com/world/2001/apr/23/rorycarroll;
http://www.agi.it/english/news.pl?doc=200609262053-1275-RT1-CRO-0-NF11&page=0&id=agionline-
eng.oggitalia
 Alan Berkman: United States v. Whitehorn, 710 F. Supp. 803, 842 (D.D.C. 1989); New York Times, Jan. 10, 1994
“Healing on Parole; Doctor and Ex-Prisoner, He Treats Others on Probation”
Timothy Blunk: United States v. Rosenberg 806 F.2d 1169, 1175 (3rd Cir. 1986);
Marilyn Buck: New York Times, August 5, 2010, “Marilyn Buck, Imprisoned for Brinks Holdup, Dies at 62”
Linda Evans: United States v. Evans 848 F.2d 1352, 1356 (5th Cir. 1988); Associated Press January 20, 2001
“President Clinton’s Commutations, January 2001” https://www.justice.gov/opa/president-clintons-commutations-
january-2001
Cecil Ferguson: United States v. Ferguson, 758 F.2d 843, 848 (2nd Cir. 1985); New York Times, March 27, 1982
“Two Brink’s Suspects Seized in Dawn Raids in Manhattan”; Federal Bureau of Prison Inmate Locator for Cecil
Ferguson, Reg. No. 04372-
Jamal Joseph: United States v. Ferguson, 758 F.2d 843, 848 (2nd Cir. 1985); Columbia News Feb. 22, 2012 “Jamal
Joseph’s Path From Black Panther to Professor.
Susan Rosenberg: United States v. Rosenberg 806 F.2d 1169, 1175 (3rd Cir. 1986); Department of Justice, “President
Clinton’s Commutations, January 2001” https://www.justice.gov/opa/president-clintons-commutations-january-2001




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       A reduction of Mr. Shakur’s sentence would avoid unwarranted sentencing disparities

among his co-conspirators and in the totality of circumstances, establishes that “extraordinary

and compelling” reasons exist to support compassionate release.

       V.      Conclusion

       After serving 34 years of his sentence, Mr. Shakur has a BOP release date in just another

4½ years. He is dying from a cancer which can be slowed but not cured, and the very treatment

that may prolong his life puts it in danger every day he remains exposed to the coronavirus. This

danger, the needless delay in his treatment, and the shocking conditions he endured in Victorville

all make him an ideal candidate for compassionate release. Nothing in his conduct in those 34

years suggests that he is a danger to anyone or that there is any need for his continued

confinement. He should be granted compassionate release.



Dated: April 16, 2020                                        Respectfully Submitted,
                                                             /s/ Mark Kleiman
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                                                             2020
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    DECLARATION OF
   BRIE WILLIAMS, M.D.




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       I, Brie Williams, hereby declare as follows:

       1. I am a physician licensed to practice medicine by the State of California and am a full

Professor of Medicine at the University of California San Francisco. If called upon to do so, I

could and would testify competently to the following:

       2. The University of California San Francisco School of Medicine is widely recognized

as among the top ten medical schools in the United States. I direct the Medical School’s

Criminal Justice and Health Program and teach and conduct research in the Division of

Geriatrics. My special areas of expertise include the health and mental health needs of the

geriatric prison population, palliative medicine. I have been and continue to be a Principal

Investigator in studies sponsored by the National Institute of Health in health outcomes of

geriatric prisoners in the prison population.

       3. I have worked as a consultant to the California Department of Corrections and

Rehabilitation, which currently has approximately 115,000 inmates, and have extensive direct

experience with the prison environment.

       4. I have been able to review the medical records for Mutulu Shakur from January 2013

through March 23, 2020. These records show that Mr. Shakur is at grave risk for suffering

serious and potentially fatal complications should he be exposed to the novel coronavirus. It is

by now conclusively established that certain diseases, drug treatments, and risk factors all

heighten the dangers of coronavirus for some patients. Mr. Shakur is absolutely at the extreme

end of those risks. He is a 69 year-old male who suffers from advanced stage multiple myeloma

with extensive lesions in his hip, his rib cage, and his thoracic spine. Recent imaging studies

show the cancer has spread to his upper arm, his shoulder, his clavicle, and his jaw. He has been

receiving chemotherapy since November and is scheduled to continue this therapy through April



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and most likely through May. In addition to this Mr. Shakur suffers from diabetes, high blood

pressure, and high cholesterol. He has also had a major stroke.

       5. The records strongly suggest that Mr. Shakur had been suffering from this cancer for

at least 18 – 20 months before it was diagnosed, and possibly was suffering from it for years.

Every blood study taken since 2013 has shown that Mr. Shakur has suffered from an unexplained

anemia. Anemia goes hand in hand with multiple myeloma, which is a form of cancer which

attacks the cells in a patient’s blood plasma. By late 2017 he was reporting to the prison medical

staff that he had great pain in his hip and his ribs, so much so that he could barely sleep. He

continued making these complaints and continued seeking medical help throughout 2018 and

early 2019. Yet despite consistent findings of unexplained anemia and unexplained osteopenia

(low bone mass density), it was not until April 2019 that that a prison doctor recommended a CT

scan. Despite the doctor’s recommendation, Mr. Shakur was not taken for a CT scan for four

more months. Even then, chemotherapy was delayed for another three months. Thus, although

it is reasonably probable that Mr. Shakur could have been diagnosed with multiple myeloma in

February or March of 2018, with therapy soon to follow, treatment for this advanced stage

cancer was not even begun until twenty months later.

       6. Every single one of these factors increases the danger Mr. Shakur will face if he is

exposed to novel coronavirus. Cumulatively they create a profoundly grave risk. To begin with,

Mr. Shakur is undergoing active cancer treatment which has by its nature compromised his

immune system. The next round of treatment is a stem cell transplant, which will require that

Mr. Shakur’s immune system be completely suppressed, rendering him completely defenseless

against the coronavirus.




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       7. The Centers for Disease Control and Prevention have concluded that

chemotherapy is a risk factor which renders patients highly vulnerable to Covid-19. The CDC

has also stated that diabetes, heart disease, and age are each significant risk factors. And each of

them endangers Mr. Shakur. Centers for Disease Control and Prevention. (2020 March)

Preliminary Estimates of the Prevalence of Selected Underlying Health Conditions Among

Patients with Coronavirus Disease 2019 – United States, February 12 – March 28, 2020. (Early

Release/ Vo. 69, Atlanta, Georgia, CC Covid-19 Response Team.

       8. I have direct experience observing and evaluating prison medical treatment units.

The most important point is that a prison medical center is not a hospital and does not maintain

the same level of sanitation or prophylactic isolation that is practiced in a hospital setting.

       9. My understanding is that although Mr. Shakur is in an isolated unit called the

“Chronic Care Unit”, he has multiple points of contact with an exposed population almost every

day. First, food for prisoners in the Chronic Care Unit is prepared and distributed the same way

it is throughout the prison. On March 20, 2020 a team of scientists from the CDC, the National

Institute of Allergy and Infectious Diseases, and UCLA reported in the New England Journal of

Medicine that coronavirus can remain viable on cardboard for 24 hours, plastic and stainless

steel for up to 72 hours, and will survive in the air for at least three hours. (Doremalen, N., et.

al., “Aerosol and Surface Stability of SARS-CoV-2 as Compared With SARS-CoV-1”. New

England J. Med., March 17, 2020.)

       10. The rapid spread of infection in Lexington is the same we observe elsewhere. The

first case of coronavirus infection was reported on March 9, 2020.

(https://www.lexingtonky.gov/news/03-09-2020/covid-19-update-mayor-linda-gorton) In three

weeks Lexington has gone from one case to 110.




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https://www.wkyt.com/content/news/Lexington-COVID-19-cases-up-to-110-another-death-

reported-569257141.html). This places Mr. Shakur in danger every day. Food for prisoners in

the Chronic Care Unit is brought by the same outside delivery vendors and prepared by the same

prisoners as the food given to the general prison population. Finally, the very conditions of Mr.

Shakur’s transport place him in danger. Between treatment, follow-up examinations, and

diagnostic testing, he is moved from the prison to the University of Kentucky Medical Center

two, and often three times a week. Each time he is moved, this 69 year-old man is shackled at

his waist, feet, and hands, and a high voltage stun belt is placed around his waist. He is then

surrounded by four or five correctional officers who take him to a vehicle, enter it with him, for a

15-20 minute drive, and surround him again while they take him into the hospital. Under such

conditions “social distance” is not an option. Given all of these conditions it is not so much a

question of whether Mr. Shakur contracts Covid-19, but when. And when he does, his weakened

condition and his compromised immune system render him singularly vulnerable to its

predations.

       11. Mr. Shakur is at a significant risk for falling. He had fall precautions issued on

December 17, 2019. He is sometimes so frail that he must be transported in a wheelchair and has

cramps in his feet and toes so severe that he has difficulty walking. He has had balance

problems and weakness on his left side since his 2013 stroke. Combined with his age, the pain

medication, and his joint difficulties the risk may well be greater than prison personnel

appreciate. Given the lesions that have made for a fragile backbone, hips, ribs, arm, and

shoulders, the consequence of a fall could be extremely serious.




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        12. This aging man faces painful, risky treatments in an already weakened state. A

physically present and loving support system is an essential factor in this treatment.

        13. It is my understanding that Mr. Shakur has a son and daughter-in law in Los Angeles,

California, who have a home with an extra bedroom and are eager to care for him. This family

was already screened and approved by Pre-release Services when the Bureau of Prisons was

considering Mr. Shakur’s petition that they support his bid for compassionate release. Finally,

Mr. Shakur will have the full medical support of Harbor-UCLA Medical Center, whose Chair of

the Department of Family Medicine has committed to ensuring that he receives thorough,

comprehensive treatment.

        14. Finally, although I have not interviewed Mr. Shakur, I have some general

observations. First, the rate of recidivism is absolutely the lowest amongst prisoner of his

advanced age. Geriatric prisoners have been described by criminologists as the safest group to

release, especially when they have a strong release plan as he does, with a loving adult son and

daughter-in law who are happy to make a home for him.

        I declare under penalty of perjury of the laws of the State of California that the foregoing

is true and correct.

        Executed this 3 day of April, 2020, at San Francisco, California.



                                                      ______________________________

                                                       Brie Williams, M.D.
                                                       Professor of Medicine
                                                       University of California San Francisco
                                                             School of Medicine




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  DECLARATION OF
JENNIFER MALIN, M.D.




                                                                    32
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       I, Jennifer Malin, hereby declare as follows:

       1. I am a physician licensed to practice medicine by the State of California.

If called upon to do so, I could and would testify competently to the following:

       2. I earned my Bachelor’s degree in Biology from Harvard University. My medical

education was completed entirely at the UCLA School of Medicine, which is regarded as one of

the top medical schools in the country. I completed a residency in Internal Medicine at UCLA,

as well as a Fellowship in Oncology and Hematology. In addition to being board certified in

Internal Medicine and Oncology, I hold a doctorate from the UCLA School of Public Health.

       3.   I am a Clinical Professor of Medicine at UCLA and an attending physician at the

Veterans’ Affairs Medical Center in Los Angeles, where I continue to see patients with cancer as

a volunteer physician. I served as the Medical Director of Clinical Oncology for Anthem Blue

Cross and then it’s Vice President for Clinical Strategy.

       4. Since 2016 I have been Senior Medical Director for Oncology and Genetics for

United Health Group, which insures or directly provides care to over forty-five million people.

In this position I am responsible for leading the clinical programs for all United Healthcare

members with cancer, including developing clinical pathways for cancer therapy.

       5.   In addition to my teaching and clinical activities, I remain deeply involved in cancer

research, and have been the senior author or co-author on over one hundred scientific papers

which have been published in Cancer, Journal of the American Medical Association, Archives of

Internal Medicine, the Journal of the National Cancer Institute, Annals of Internal Medicine,

Supportive Care in Cancer, the American Journal of Clinical Oncology, Journal of the American

College of Surgeons, Journal of Clinical Oncology, Health Services Research,

Breast Cancer Research and Treatment, and Medical Care, among others.



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       6. I have reviewed the medical records for Mutulu Shakur from 2013 through March

2020. From these records I was able to form an opinion as to both Mr. Shakur’s cancer

prognosis, as well as determine that he is at extremely high risk of contracting the novel

coronavirus (COVID19) and if infected, suffering serious and potentially fatal consequences

from the virus.

       7.         Mr. Shakur is a 69 year-old African-American man with advanced stage multiple

myeloma and painful lesions that have spread to his thoracic spine, pelvis, ribs, and mandible.

He has multiple comorbidities (diseases in addition to his primary diagnosis of cancer which can

complicate his treatment and put him at even greater risk) including Type II diabetes, history of

stroke, and hyperlipidemia (high cholesterol.). He is undergoing first line chemotherapy for

multiple myeloma and as a consequence of this treatment he is extremely immunocompromised.

His age, comorbidities, cancer diagnosis, chemotherapy and resultant immunosuppression all put

him at high risk for developing severe complications should he contract COVID-19.

       8.         In reviewing past records, Mr. Shakur’s anemia dates back to 2013. This anemia

was likely due to the multiple myeloma as the blood work up shows no iron deficiency (it would

have been considered “smoldering myeloma” at that time). Mr. Shakur also complained of

severe hip and rib pain in 2017. A chest x-ray obtained in March 2017 showed a non-displaced

fracture of the posterior right seventh rib and an old fracture of the left ninth rib. In the absence

of trauma, in the setting of an ongoing unexplained anemia, these findings are highly suspicious

for multiple myeloma and should have led to a bone marrow biopsy and serum and urine

electrophoresis to confirm the diagnosis and start treatment. Although the films ordered in April

2019 were interpreted as suggesting a possible myeloma, the recommended CT scan was delayed

more than four months. This delay in proper diagnosis, and therefore proper treatment, has




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caused Mr. Shakur to suffer and has resulting in a substantial delay in effective treatment for his

cancer.

          9. The most recent work up prior to his anticipated bone marrow transplant was done in

early March 2020. Results from this work up show that Mr. Shakur has responded to the initial

chemotherapy although he does have some minimal residual disease that will require ongoing

chemotherapy, harvesting of his blood stem cells and an autologous stem cell transplant,

followed by maintenance chemotherapy. With this ongoing treatment, Mr. Shakur is at high risk

for COVID19, as discussed above, due to the both the chemotherapy he has gone through so far

and the multiple myeloma causing him to be immunosuppressed.

          10.    In addition, the facility in which he is currently being held is a Federal Medical

Center (FMC). I have been informed that the FMC is not a hospital. I have been told that Mr.

Shakur is housed in something called the Chronic Care Unit. This is not like an acute care or

intensive care unit in a hospital, where the environment is strictly controlled. He is not isolated

from potential sources of infection in this unit. Mr. Shakur must use an elevator that is used by

other prisoners in order to see the nurse practitioners and physician assistants who are

responsible for his daily treatment. He is also potentially exposed to the novel coronavirus every

time he has to make his daily phone calls as he must travel through the section of the prison

where the rest of the prisoners are living in even tighter conditions which are ripe for the spread

of the virus. He is transported to and from the prison multiple times per week.to receive care

(including chemotherapy) at the affiliated hospital. Each time he travels back and forth, he is

potentially getting exposed to the novel coronavirus and also risks exposing/putting at risk the

rest of the inmates and staff in the medical center.

          11. Mr. Shakur can receive safe and effective treatment outside the prison system.




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Especially in light of the COVID19 pandemic, it is safer for both Mr. Shakur and the prison

population if he is granted compassionate release and allowed to seek treatment through the

UCLA system while living with his son and daughter-in-law, who are prepared to take over and

manage his care and provide him with the support he needs.


        I declare under penalty of perjury of the laws of the State of California that the foregoing

is true and correct.

        Executed this 6 th day of April , 2020, at Los Angeles, California.




                                                              rofessor of Medicine
                                                       UCLA School of Medicine




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  DECLARATION OF
 JOEL MORRISEY, M.D.




                                                                    37
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I Joel Morrissey declare as follows:
   1. I am a physician licensed to practice medicine by the State of Virginia. If called upon to

do so, I could and would testify competently to the following:

   2. I am board certified in both Emergency Medicine and Internal Medicine with privileges

in both departments at the Virginia Commonwealth University Health Sciences hospital

(VCUHS) and provide care in both the emergency room and inpatient settings.

   3. In addition to my clinical duties and teaching duties at the school of medicine, I have

served on the Quality Improvement committee since 2013, and at the University of Washington

before that.

   4. VCUHS is the provider of both emergency and inpatient health care for the Virginia

Department of Corrections as well as Richmond City Jail.

   5. Since 2005, I have testified as an expert medical witness in both Federal and local courts

in Louisiana as well as performed forensic medical records analysis for Federal and county

courts in New Orleans as well as local courts in Richmond, Virginia.

   6. In addition to my clinical duties involving caring for incarcerated individuals, I volunteer

as a health advocate and health educator within the Virginia Department of Corrections.

   7. I have been able to review the portion of Dr. Shakur’s medical records relevant to the

issues of chronic medical conditions and their impact on his risk for premature death while

incarcerated.




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   8. In this review I have found evidence that Dr. Shakur’s anemia was not investigated

according to the standard of care, resulting in a delayed diagnosis with consequences including

metastasis of disease. These metastases include lesions to the skeleton and skull as recently as

September 2019.

   9. Dr. Shakur’s medical records document multiple fractures of varying ages. Whether due

to falls, assault, or metastatic cancer, it is clear that he is at ongoing risk from trauma despite

the efforts of the Bureau of Prisons to mitigate.

   10. Dr. Shakur’s current clinical condition requires complex coordinated daily medical care,

disease-specific dietary restrictions as well as outpatient evaluations by multiple medical

specialties, which increases his risk to COVID exposure compared to non-incarcerated

individuals.

   11. Based on the evidence of inadequate care provided for Dr. Shakur’s multiple medical

conditions, all of which are known individually and synergistically to reduce life expectancy, it is

clear that continued incarceration would shorten his already markedly reduced life expectancy.

   12. As of 4/14, information provided by the Bureau of Prisons (BOP), almost 1/3 of BOP

facilities have a either staff or inmates test positive for COVID-19.

   13. Based on the Attorney General’s memos to the BOP dated March 26, 2020 and April 3,


2020, 4/3/2019, the CARES act, and the BOP reference of CDC guidelines for high risk

individuals, Dr. Shakur meets all the medical criteria for release.




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   14. Based on the Attorney General’s memos to the BOP dated March 26, 2020 and April 3,

2020, 4/3/2019, the CARES act, my analysis of publicly available records shows that Dr. Shakur

meets all the non-medical discretionary criteria for release.

       I declare under penalty of perjury of the laws of the State of Virginia that the foregoing

is true and correct.


       Executed this 15th day of April, 2020 at Richmond Virginia.




                                                          JlJJti                    ._
                                                       ~Morrlsse~
                                                       Assistant Professor of Medicine
                                                       VCU School of Medicine.




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   DECLARATION OF
BENJAMIN HOWELL, M.D.




                                                                    41
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                                                                                 National Clinician Scholars
Yale SCHOOL OF MEDICINE                                                          Program
                                                                                 PO Box 208088
                                                                                 New Haven, CT 06520-8088
                                                                                 T: 203-785-4148
                                                                                 F: 203-785-3461

                                                                                 Courier:
                                                                                 Sterling Hall of Medicine (SHM)
                                                                                 Room IE-61
                                                                                 333 Cedar Street
 April 5, 2020

 Judge Charles S. Haight
 United States District Court

 Dear Judge Haight:

 I, Benjamin A. Howell, MD, MPH, MHS, affirm as follows:
     1. I am a doctor licensed to practice medicine in the State of Connecticut.
     2. I am currently a post-doctoral fellow in the National Clinician Scholars Program at the Yale
 School of Medicine, a member of the Yale Health Justice Lab, and a primary care physician in the VA
 Connecticut Healthcare System. My clinical research focuses on the health impact of incarceration in
 particular focusing on health outcomes following release from prison or jail. Clinically, in my practice
 I provide primary care for veterans who are experiencing homelessness. This population frequently has
 exposure to the criminal justice system. I received my medical degree (MD) from the University of
 California, San Francisco (UCSF) School of Medicine, a Masters in Public Health (MPH) from the
 University of California, Berkeley School of Public Health, and a Masters in Health Sciences (MHS)
 from the Yale University School of Medicine. This letter reflects my opinions based on by clinical and
 professional expertise in my role as a private citizen. They do not reflect the position or opinions of
 either the Yale School of Medicine or the VA Connecticut Healthcare System.
     3. I have not personally examined Mr. Shakur nor reviewed his medical records. These comments
 reflect my general opinions around the risk posed by the current COVID-19 pandemic to prison
 populations and how it could endanger the lives of older adults currently incarcerated.
     4. It is my opinion, informed by my clinical and professional expertise, that people currently
 incarcerated in correctional facilities are at higher risk of getting infected with COVID-19 and at
 higher risk of developing serious complications or dying from that infection. It is also my opinion that
 older adults and those with serious medical comorbidities, such as multiple myeloma, are at much
 higher risk of developing serious complications or dying from COVID-19.


 Risk of infection with COVID-19
     5. COVID-19, a respiratory illness caused by a novel coronavirus, is a viral pandemic with
 documented infections in all states of the United States. It is highly contagious and it has the potential
 to cause severe illness and death. Deaths from COVID-19 have occurred in people in all age groups
 and among people with no previous medical conditions. In addition, not all people who are infected
 present with symptoms. People who are infected, and therefore have the potential to infect other
 people, can range from asymptomatic (no symptoms) to mild symptoms (fever and cough) to severe


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symptoms (requiring hospitalization and ICU-level care). In addition, even people who eventually
develop symptoms, will have several days when they are infectious prior to symptom onset. 1
    6. The virus that causes COVID-19 is spread through person-to-person transmission of viral
particles in respiratory droplets. 2 Respiratory droplets are produced during coughing and sneezing, but
also during normal breathing and talking. Under normal conditions, these respiratory droplets remain
airborne within a radius of less than 6 feet. Respiratory droplets can also remain on skin and surfaces
for an extended period of time. Prevention of transmission is achieved via physical distancing (not
getting within 6 feet), frequent hand washing, and cleaning of shared objects and spaces. 3 Following
from this is the avoidance of non-congregate living situations is also recommended.4


Risk of COVID-19 in correctional facilities
    7. Correctional facilities are not immune from contagious spread of infectious diseases like
COVID-19. Although people currently incarcerated are removed from the community, they are not
isolated from the community. Correctional staff, medical professionals, and visitors move between the
community and correctional facilities, allowing infectious diseases from the community to enter
correctional facilities. Given the attributes of COVID-19, as described above, it is unavoidable that
some people within correctional facilities located in jurisdictions with community spread of the
infection will eventually be infected. 5
    8. Correctional facilities are poorly designed to prevent the spread of COVID-19. Reliance on
congregate living settings (shared cells, dorms), shared facilities (bathrooms, dining halls), controlled
access to personal cleaning materials, and frequent contact with other people (including between
inmates and correctional staff) make spread implementation of measures meant to prevent the spread
of infection difficult to impossible. There are also constraints on the ability to isolate and quarantine
infected or at-risk people in custody. In addition, limited medical services (including limited access to
ICU level care) and delays in care, make those infections that do occur potentially more dangerous.
    9. At this moment, there are documented COVID-19 infections in correctional facilities in over 24
states6 including nearly 200 infections in Federal Bureau of Prisons (BOP) facilities. 7 There have also




1
  Kimball A. Asymptomatic and Presymptomatic SARS-CoV-2 Infections in Residents of a Long-Term Care Skilled Nursing
Facility—King County, Washington, March 2020. MMWR. http://dx.doi.org/10.15585/mmwr.mm6913e1; Wei WE et al.
Presymptomatic Transmission of SARS-CoV-2 — Singapore, January 23–March 16, 2020. MMWR.
http://dx.doi.org/10.15585/mmwr.mm6914e1
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  How COVID-19 Spreads. CDC. https://www.cdc.gov/coronavirus/2019-ncov/prevent-getting-sick/how-covid-
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  How to Protect Yourself & Others. CDC. https://www.cdc.gov/coronavirus/2019-ncov/prevent-getting-
sick/prevention.html
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  Coronavirus (COVID-19) Pandemic: Non-Congregate Sheltering. CDC. https://www.fema.gov/news-
release/2020/03/31/coronavirus-covid-19-pandemic-non-congregate-sheltering
5
  Keegan Hamilton, Sick Staff, Inmate Transfers, and No Tests: How the U.S. Is Failing Federal Inmates as
Coronavirus Hits, Vice (Mar. 24, 2020), https://www.vice.com/en_ca/article/jge4vg/sick-staff-inmate-transfers-andno-
tests-how-the-us-is-failing-federal-inmates-as-coronavirus-hits. ; Sadie, Gurman, Bureau of Prisons Imposes 14-Day
Quarantine to Contain Coronavirus, WSJ (Mar. 24, 2020), https://www.wsj.com/articles/bureau-of-prisonsimposes-
14-day-quarantine-to-contain-coronavirus-11585093075
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  Study of COVID-19 in Correctional Facilities, National Commission on Correctional Health Care.
https://www.ncchc.org/filebin/COVID/NCCHC-HU_SurveillanceTracker_20200402_No5_April_1.pdf
7
  https://www.bop.gov/coronavirus/
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been several inmate deaths due to COVID-19 in BOP facilities. 8 Fayetteville County, Kentucky, where
FMC Lexington is located, as the third highest rate of infection in the state. Given rates of infections
in the community, we can expect these numbers to only increase.

Increased risk of COVID-19 in older and chronically ill adults
    10. Infections with COVID-19 are more likely to lead to serious complications or death in older
adults. In particular older adults are much more likely to die if infected. Reported case fatality rates for
adults >85 range from 10%-27% and for adults 65-84 fatality rates are from 3%-11%. 9
    11. Infections with COVID-1 are also more likely to lead serious complications or death in patients
with underlying health conditions. 10 In particular, patients with diabetes mellitus, chronic lung disease,
and cardiovascular disease are more likely to have serious complications or death. Early reports from
China also noted an increased risk of serious complications or death among patients with cancer, such
as multiple myeloma. 11 People in an immunosuppressed state, that is a decreased ability for the body to
fight infections, are at higher risk of serious infections which likely holds true for COVID-19 as well.


    12. For these reasons, to avoid serious and life-threatening outbreaks of COVID-19, decreasing
prison populations is of the outmost importance. In particular, it is important to focus on the release of
inmates at risk of serious complications and death. Ultimately, reducing the overall correctional
population will also help medical professionals provide sufficient clinical care for the remaining
population. In my opinion, the current viral pandemic offers extraordinary and compelling
circumstances to expedite the release to the community of medically frail individuals in our Federal
Bureau of Prisons who do not pose a public safety risk.

Sincerely,




Benjamin A. Howell, MD, MPH, MHS
Yale School of Medicine




8
  Westwood R, Third Federal Inmate Dies From COVID-19. WWNO (April 1, 2020)
https://www.npr.org/sections/coronavirus-live-updates/2020/04/01/825448006/second-federal-inmate-dies-from-covid-
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  Severe Outcomes Among Patients with Coronavirus Disease 2019 (COVID-19) — United States, February 12–March 16,
2020. MMWR. http://dx.doi.org/10.15585/mmwr.mm6912e2
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Disease 2019 — United States, February 12–March 28, 2020. MMWR. http://dx.doi.org/10.15585/mmwr.mm6913e2
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   Liang W et al. Cancer patients in SARS-CoV-2 infection: a nationwide analysis in China. The Lancet Oncology. 2020 Mar
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2|Page

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     DECLARATION OF
    MAURICE SHELTON
    HARDING SHAKUR




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 1     DECL ARAT ION OF MAU RICE SHEL TON HARDING SHAK UR
 2
 3          I, Mauri ce Shelto n Hardi ng Shaku r, depos e and say:
 4          1.    I am the eldest son of Dr. Mutul u Shakur (BOP Reg. No. 83205-
 5    012) and provid e this declar ation in suppo rt of his applic ation for
 6    compa ssiona te releas e.

 7           2.      I reside with my wife, Talia del Carme n Rodriguez, at 3448 La
 8    Clede Avenu e, Los Angel es, CA 90039 .

 9           3.  My wife and I have been marri ed for over fifteen years. My wife
      knows my father well and has always had a positive relationship with him
 10
      despite his incarceration and the limited ability this has on their communicat
 11                                                                                  ion.
            4.      I am a veteran of the United States Army, with honorable discharge.
 12
             5.   I am fifty-t wo years old and work as an entert ainer with over 30
 13
      years of exper ience in the music indust ry.
14
             6.      My wife and I would welco me having my father live with us upon
15
      his release.
16
             7.      My wife and I are very aware of the COVI D-19 pande mic and have
17    been following the guidelines being issued by the CDC and the California and
18    local governments to avoid being infected by the virus.
19          8.    Steps we have taken include frequent washi ng of our hands with
20    soap and water, cleani ng and disinfecting frequently touche d surfaces
21    throughout the day, avoiding touching our eyes, nose or mouth with unwashed
22    hands, covering our mouth s and noses when we cough or sneeze with a tissue
                                                                                  or
23    elbow, worki ng from home, remaining in our home as much as possible withou
                                                                                   t
24    visitors and wearin g a mask and gloves on the rare instances where we leave
                                                                                   the
25    home for essential tasks.

26
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  1
  2              9. Neithe r my wife nor I are at high risk of getting sick from the virus
  3    due to age, or compr omise d immune systems, or serious chronic medical
  4    conditions like heart disease, diabetes, or lung disease.

 5               10.Neithe r my wife nor I have shown any symptoms of being infected

  6    with the virus.

 7
                 11.In the event my father is granted compassionate release, we will
       travel to Kentucky where he is now detained and transport him back to Los
 8
      Angeles. We will engag e in social distancing and wear protective gear, masks
 9
      and gloves, throug hout our travel back home to minim ize our exposure to the
 10
      VlrUS.
 11
                 12.
                   At our house we will fully orient my father to the measures we are
 12
      taking to avoid exposure to the virus discussed above in Paragraph 8.
 13
                 13.
                 We have a three-bedroom home so my father would have his own
 14
      bedroom and bathroom. My wife and I will assist in all tasks necessary to keep
 15
      our home and his bedro om sanitized and clean. We will not have guests visit
                                                                                   the
 16   home as long as the virus continues to infect people. To the maxim um extent
 17   possible we will order food on-line for delivery and will provide my father with
18    all of the basic necessities of life including food, clothing, toiletries, medicines,
19    et C.

20              14.
                  Shoul d my father need to see a doctor, we will drive him to and
21    from his appointments and ensure that at all times when he leaves the home
                                                                                  for
22    medical appointments we are wearing masks and gloves.
23           15. My father I and have a very close and loving relationship. We speak
24    on the phone almos t every week and I have often visited him. He has also

25    established a close relationship with my wife Talia, and they get along very
                                                                                   well.
2Jj   My wife fully supports my father and would welco me him into our home to
                                                                                   live
      with us.
Tl
28


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                                                 ')
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1
2            16.   While my father has at least two offers of employm ent in Los
3     Angeles, he obviously will not work during the COVID-1 9 crisis. My wife and I

4     are fully able to support him both during the COVID-19 crisis and beyond that if

5     he chooses not to be employed when the COVID-19 pandemic has ended and

6     instead to spend time with his family.
             17.   Once the COVID-1 9 pandemic is over, my wife and I would be
7
      happy to assist my father with transportation, visits to medical appointments, and
8
      creating a new life in Los Angeles. If my father decides to accept one of the two
9
      job offers he has in Los Angeles, we are willing to transport him to and from
10
      work or to pay for transportation. We are very willing to assist my father in any
11
      way he needs our help in the process of acclimation and re-entry.
12
            18.     Going back at least twenty years, my father has encouraged me and
13
      his other children, and indeed the many people around the country who follow
14
      his statements, unequivocally and consistently, to reject criminality and violence
15
      in all their forms, and to lead our lives with kindness, modesty, and high moral
16    standards. My father instilled these same values in my step-brother Tupac
17    Shakur, with the result that the message of peace, social justice, and
18    reconciliation in our music reached millions of young people at a time when
19    other famous rappers were glorifying gang violence.
20          19.    My father has never glorified the crimes he engaged in over 30
21    years ago. He has consistently expressed remorse for those crimes. As the person
22    on earth who is perhaps closest to him, I am absolutely, one hundred percent,
23    certain he will never reoffend if released from custody. He has served his time in
24    prison with dignity, and has consistently and repeatedly denounce d gang and

25    political violence in any form whatsoever. He is fully rehabilitated, now of old

215   age, and very sick with cancer. I hope and pray every day that he may be
Tl    released to spend his last years with me, my brothers and sisters, our spouses, his
      grandchildren, his elderly, blind mother, his own siblings and our whole family,
28


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1
2    who all love and miss him very much, and will care for him dearly for his
3    remammg years.

4          I declare under penalty of perjury that the foregoing facts are true and

5    correct. Executed this 15 th day of April, 2020, in the City and County of Los

6    Angeles, State of California.

7
8                                    Maurice Shelton Harding Shakur
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 DECLARATION OF
MARK ALLEN KLEIMAN




                                                                    50
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                      DECLARATION OF MARK ALLEN KLEIMAN


       I, Mark Kleiman, hereby declare as follows:

       1. I am an attorney licensed to practice law before all courts in the State of California,

and am cocounsel for Mutulu Shakur. I applied for admission to this Court pro hac vice on

February 14, 2020, and my application remains pending. If called upon to do so, I could and

would testify competently to the following based upon firsthand knowledge:

       2. Attached hereto as Exhibit “A” is a true and correct copy of a letter from

Congressman Bobby Rush.

       3. Attached hereto as Exhibit “B” is a true and correct copy of a “Clinical Encounter

Note” of September 10, 2014, furnished us by the Bureau of Prisons pursuant to this Court’s

order, suggesting further tests including a bone marrow biopsy should Mr. Shakur’s next

laboratory test continue to show that he has anemia.

       4. Attached hereto as Exhibit “C” is a true and correct copy of a clinical laboratory

blood test of December 12, 2014, furnished us by the Bureau of Prisons pursuant to this Court’s

order. It shows that Mr. Shakur continued to have anemia.

       5. Attached hereto as Exhibit “D” is a true and correct copy of the report of Mr.

Shakur’s first bone marrow biopsy, performed on October 8, 2019 and read and reported on

October 21, 2019, furnished us by the Bureau of Prisons pursuant to this Court’s order.

       6. Attached hereto as Exhibit “E” is a true and correct copy of the BOP’s policy for

screening contractors before they are allowed to enter prisons. It was obtained from

https://www.bop.gov/coronavirus/docs/covid19_screening_tool.pdf, last visited April 15, 2020.

The screening policy flags only people who report that they have symptoms of novel

coronavirus.



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       7. Attached hereto as Exhibit “F” is a true and correct copy of what had been BOP’s

policy for screening staff before they are allowed to enter prisons. The screening policy flags

only people who report that they have symptoms of novel coronavirus. It was obtained from

BOP’s website on April 8, 2020 but has since been taken down without explanation and has not

been replaced.

       8. Attached hereto as Exhibit “G” is a true and correct copy of BOP’s Coronavirus

Action Plan. I obtained the main page from

https://www.bop.gov/resources/news/20200331_covid19_action_plan_5.jsp, last visited on April

15, 2020. From the naming convention in the web page (20200331) I believe the plan was first

posted on or about March 31, 2020. The second page, entitled “Updates to COVID-19 Action

Plan” bear the date of March 19, 2020, and were obtained from

https://www.bop.gov/resources/news/20200319_covid19_update.jsp. This page was last visited on

April 15, 2020.

       9. Attached hereto as Exhibit “H” is a true and correct copy is a report published in the

Journal of the American Medical Association on February 21, 2020, reporting that novel

coronavirus can be transmitted by people who are asymptomatic.

       10. Attached hereto as Exhibit “I” is a true and correct copy is a report published in the

New England Journal of Medicine on March 5, 2020, reporting that novel coronavirus can be

transmitted by people who are asymptomatic.

       11. Attached hereto as Exhibit “J” is a true and correct copy of Attorney General Barr’s

April 3, 2020 memorandum to the Director of the Bureau of Prisons directing increased home

confinement of prisoners.




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       12. Attached hereto as Exhibit “K” is a true and correct copy of a March 19, 2020 letter

from the Chairman of the House Judiciary Committee (Jerold Nadler) and the Chairwoman of

the House Subcommittee on Crime, Terrorism, and Homeland Security (Karen Bass). These

criminal justice leaders exhort DOJ and BOP, saying they “must do all they can to release as

many people as possible who are vulnerable.”

       13. Attached hereto as Exhibit “L” is a true and correct copy of a March 23, 2020 letter

from a bipartisan group of fourteen United States Senators, including three former state attorneys

general (Harris, Blumenthal, and Whitehouse) and two former United States Attorneys

(Blumenthal and Whitehouse) urging that the “most vulnerable inmates [be] released or

transferred to home confinement, if possible.

       14. Attached hereto as Exhibit “M” is a true and correct copy of an April 9, 2018 letter

from the Assistant Warden of U.S.P. Victorville attesting to Mr. Shakur’s nonviolent behavior

and his commitment to “maintaining a degree of respect across the various prisoner groups and

my staff”, and that he has directly intervened to quell racial conflicts.

       15. Attached hereto as Exhibit “N” is a true and correct copy of a letter from Carlyle

Holder, who was the Warden of the Federal Correctional Complex in Coleman, Florida from

2000 to 2008, when Mr. Shakur was incarcerated there, attesting to Mr. Shakur’s remorsefulness,

his commitment to change himself, and his work to make Coleman “one of if not the safest

penitentiary in the system at the time.”

       16. Attached hereto as Exhibit “O” is a true and correct copy of Dr. John Fabian’s

forensic neuropsychologic examination of Mr. Shakur, concluding that Mr. Shakur poses a low

risk of violence and criminality.




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       17. Attached hereto as Exhibit “P” is a true and correct of an April 12, 2020 letter

written by Deondre Williams, a former fellow inmate of Mr. Shakur’s who attests how Mr.

Shakur’s mentoring “changed my entire way of thinking” after Mr. Williams has spent most of a

decade fully immersed in criminal activities.

       18. Attached hereto as Exhibit “Q” is a true and correct of the November 16, 2019

Summary Reentry Report on Mr. Shakur, page two of which shows that there were only four

incidents giving rise to discipline reports over the thirty-four years of his incarceration.

       19. Attached hereto as Exhibit “R” is a true and correct of Mr. Shakur’s Inmate Skills

Development record showing that he had completed fifty-four instructional courses by 2014.

       20. Attached hereto as Exhibit “S” is a true and correct of a March 20, 2018 letter

written by the Assistant Supervisor of Education at U.S.P. Victorville indicating that Mr. Shakur

teaches a class, tutors students, and motivates his fellow inmates to participate in the education

programs.

       21. Attached hereto as Exhibit “T” is a true and correct of a December 28, 2017 letter

attesting that Mr. Shakur had completed training to do the life-saving work of a “Suicide Watch

Inmate Companion” to work closely with prison staff to monitor at-risk behavior of other

inmates.

       22. Attached hereto as Exhibit “U” is a true and correct of aJanuary 12, 2012 letter from

fellow inmate Edgar Gamboa, relating how, when Gamboa had a heart attack, Mr. Shakur raced

across the entire yard, indifferent to the danger of personal harm as he crossed through areas

reserved by various gangs, races, or ethnic groups. Mr. Shakur did this to apply acupressure

techniques to try to calm Gamboa and save his life.




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       I declare under penalty of perjury under the laws of the State of California that the

foregoing is true and correct. Executed this 16th day of April, in Los Angeles, California.



                                                     __________________________
                                                       Mark Kleiman




                                                                                               55
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                  EXHIBIT A




                                                                    56
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        BOBBY L. RUSH                                                                                                      WASHINGTON :

          1 ST D ISTRICT, )LU NOIS                                                                            2 1 88 RAYBURN House O FFICE BU IL DI NG
                                                                                                                WASHI NGTON , DC 20515- 1 30 1


COMMITTEE ON ENERGY AND COMMERCE                                                                                             CHICAGO :

             SUBCOMMITTEES :                                                                                      11750 SOUTH W ESTERN A VENU E

           C HAIRMAN : E NERGY                                                                                       CHICAGO, IL 60643- 4732

   CONSUMER P ROTECTION AN D C OMMERCE    CONGRESS OF THE U IN ITED STATES
                   H EALTH                                                                                                RUSH.HOUSE.GOV
                                                    H OUSE O F REPRE S EN TATIV ES
                                                      WAS HI N G T ON ,   D .C . 20515

                                                              March 26, 2020


               The Honorable Charles S. Haight
               United States District Judge
               Southern District of New York
               40 Foley Square
               New York, NY 10007-1502

               Re: United States v. Shakur; Cause No. 82 CR 312-CSH

               Dear Judge Haight:

               I am writing to express my support for Mr. Mutulu Shakur’s motion for a reduction in sentence
               based upon the compassionate release provisions of the First Step Act (PL 115-391). As you know,
               the First Step Act was passed in 2018 by bipartisan majorities in both houses of Congress and
               formally supported by the Administration.

               Mr. Shakur is 69 years old and has recently been diagnosed with bone marrow cancer caused by
               multiple myeloma. Given his age and medical condition, he is particularly vulnerable to COVID-
               19 and his risk of infection increases the longer he remains in prison. Considering these factors,
               the fact that he has served the majority of his sentence, and the fact that he does not pose a risk to
               the community, Mr. Shakur should receive a reduction of sentence under the First Step Act.

               The First Step Act reformed the process for granting compassionate release, allowing for
               individuals facing “extraordinary and compelling” circumstances to be released. The current state
               of emergency caused by COVID-19 is certainly an “extraordinary and compelling” situation,
               particularly for those in prison. The close quarters present in our nation’s jails and prisons present
               a clear and ongoing risk of infection.1 This, coupled with the fact that prisoners across the
               country — including in my home state of Illinois2 and in the Bureau of Prisons’ custody3 — have



               1
                 Lopez. “A Coronavirus Outbreak in Jails or Prisons Could Turn into a Nightmare.” Vox. Vox, March 17, 2020.
                 https://www.vox.com/policy-and-politics/2020/3/17/21181515/coronavirus-covid-19-jails-prisons-
                 massincarceration
               2
                 Ballesteros, Carlos, and Jake Wittich. “2 Illinois Prisons under Lockdown after Confirmed Cases of the
                 Coronavirus.” Chicago Sun-Times, March 26, 2020.
                 https://chicago.suntimes.com/coronavirus/2020/3/26/21194633/illinois-prisons-lockdown-coronavirus-inmate-
                 release.
               3
                 Barr, Luke. “Despite Coronavirus Warnings, Federal Bureau of Prisons Still Transporting Inmates: Sources.” ABC
                 News. ABC News Network, March 23, 2020. https://abcnews.go.com/Health/warnings-bureau-prisons-
                 transporting-inmates-sources/story?id=69747416.




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tested positive for this virus, underscores the need for action; particularly since the number of
infected cases in prisons will likely increase exponentially, as has happened across the U.S.

The elderly population, at large, is especially vulnerable to this disease and this is even more true
when faced with the close confines of a prison environment. Releasing Mr. Shakur would not only
protect him, it would also protect hundreds of thousands of other people in Bureau of Prisons
custody, along with the employees of the Bureau who come in contact with those prisoners. His
continued incarceration places him, and others, at increased risk.

While I recognize that Mr. Shakur was convicted of serious crimes, those actions occurred within
a unique historical context many decades ago. Given this history, combined with Mr. Shakur’s
age and medical condition, I believe it is highly unlikely that he would reoffend, should he be
released. Additionally, I understand that in Mr. Shakur’s 34 years in prison, he has had very few
disciplinary infractions, none of which involved violence. I also understand that he has gained the
respect and confidence of prison officials, including the wardens of facilities where he was housed.
He has also served as a mentor and teacher for many young prisoners, counseling them against
violence and gang activity, while promoting positive and rehabilitative programs. Based on this
information, I do not believe he will be a danger to the safety of the community upon release.

In summary, Mr. Shakur, a 69-year-old man who has been diagnosed with a terminal illness, is an
excellent candidate for compassionate release, especially during this public health crisis resulting
from the COVID-19 pandemic. I hope that Mr. Shakur will be granted a reduction in sentence that
will permit him to peacefully live out his remaining days with his family who loves him.

                                             Sincerely,



                                             Bobby L. Rush
                                             Member of Congress




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                  EXHIBIT B




                                                                    59
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                                              Bureau of Prisons
                                               Health Services
                                   Clinical Encounter - Administrative Note
Inmate Name:        SHAKUR,MUTULU                                                            Reg#:       83205,012
Date of Birth:      08/08/1950                          Sex:      M    Race: BLACK           Facility:   VIP
Note Date:          09/10/2014 18:43                    Provider: Quinn, Ross MD ·           Unit:       C32


Review Note encounter performed        at Health Services.
Administrative Notes:
      ADMINISTRATIVE NOTE 1                        Provider: Quinn; Ross      MD
             Reviewed inmate's labs. He remains anemic, wth H&H 10.8/35.5, normopytic, bµtwith high RDW of 18,3.
             Platelets are normal at250,000, as are WBCs, 3,800 with normal differential percentage. Iron studies are
             normal, as are B-12 and Folate levels. ANA and Ra were both negative, andsed rate was only 10,
             Hemoccults X 3 were negative, and recent colonoscopy found only asingle4 mm hyperplastic:polyp, with
             diverticulosis and internal hemorrhoids, but no sign of bleeding clnywhere. Unfortunately, a reticulocyte count
             was not done. All this is essentially unchanged since May,2014.

             At this point we still have an unexplained anemia, most likely from c\n unidentifieq so.ume of bleeding, which
             has not yetexhausted the iro.n stores, vs a hemoglobinopathy trait. Anemia of chronic disease seems 11;:lSS
             likely, as does a myelophystic disease or an autoimmune disorder. I now recornmend simply a repeat CBC
             with a reticulocyte count, and a hemoglobin electrophoresis. An Ultrasound ofthe abdomen to exclude
             splenomegaly would also be helpful. If all this turns out normal, he may need hematology consultation, and a
             bone marrow biopsy. This needs to be squared away before any orthopedic surgery,


Copay Required: No                             Cosign Required: Yes
TelephoneNerbal Order: No


Completed by Quinn, Ross MD on 09/10/2014 19:12
Requested to be cosigned by Gulani, Sa:roj MD.
Cosign documentation will be displayeci on the following page.
Requested to be reviewed by Wolverton, Brigitte PA-C.
Review documentation will be displayed on the following page.




Generated 09/10/2014 19:12 by Quinn, Ross MD             Bureau of Prisons • VIP                               Page 1 of 1



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                  EXHIBIT C




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                                                                                     13777 Nr Expressway Blv
                    ~~~t)t~t.;J~C-f~f~~                 1-888-726-9105               VICTORVILLE.CA 92.394
Patient Name                                     Physician: GULAN I, SAROJ           Collect Date:     12/11/14
  SHA KUR, MUTULU                                Physician Code:                     Collect Time: 07:20
  10: 83205-012                                  Account#:A113496                    Received Date: 12/12/14
  DOB: 08/08150 Gender: M                        Requisition#: 8290Z4W               Reported Date: 12/12/14
  lab ID: 8001 ~283


                                                                RESULTS                    REFERENCE RANGE
                                                 OUT OF RANGE            IN RANGE

ttomatgfogy
White Blood Cell Count1                                                      5.67          4.80~10.80             1000/mcL
Red Blood Cell Count                              3.97      L                               4.70-6.10             mi 11/mci..
Hemoglobin                                       10.9       L                               14.0-18.0                  g/dL
Hematocrit                                       35.4       L                               42.0-52.0                      %
MCV                                                                           89              8()..100                    fl
MCH                                                                          27.5           27.0-31.0                     pg
MCHC                                                                         30.8           30.0-36.0                  g/dL
RDW                                              16.5       H                               11.5-14.5                      %
Nautrophils                                                                  50.1           40.0-75.0                      %
Lymphocytes                                                                  34.6           19.048.D                       %
Monocytas                                                                     9.4             3.0-10.0                     %
Eosinophils                                                                  1.5              0.0~7.0                      %
Basophils                                                                    1.1               0.0-1.5                     %
LUC                                                                          3.3               0.0-4.0                     %
Platelet Count                                                               247             130-400              1000/mcL
Raticulocytes                                                                1.62           0.80-2.10                      %


1 fASTING

~berorstrv;
BUW                                                                          15                  6-19                 mg/dL
Creatinine                                                                   1.2              0.6-1.3                 mg/dt
Sodium                                                                       141             1~145                    mEq/L
Potassium                                         3.3       L                                 3.5-5.1                 mEq/L
Chloride                                                                     100              96-108                  mEQ/L
Bicarbonate                                       32        H                                   22-29                 mEq/L
Calcium                                                                      10.0            8.4-10.2                mg/dL
Alkaline Phosphatase                                                         94               40-129                   U/L
AST (SGOT)                                                                   37                 13-39                  U/L
ALT(SGP1)                                                                    39                      7-52              U/L
Bilirubin, Total                                                             0.4               0.1-1.2               mg/dL
Protein, Total                                                               6.9               6.0-6.5                 g/dL
Albumin (BCG)                                                                4.6               3.5-5.2                 g/dL
Glucose                                          114        H                                  70-100                mg/dL
Ferritin                                                                     82                22-322                ng/mL
lron                                                                         91                45--160              mcg/dL
UIBC                                                                         245              155-355               mcg/dL
TIBC (Cale)                                                                  336              185-515               mcg/dL
Transferrin Sat (Cale)                                                        27                2~55                     %

2FASTING



                                                                                                                       Final Report
L/ LOW, H: HIGH, EL: EXCEPTION LOW, EH: EXCEPTION HIGH, AL: ALERT LOW, AH: ALERT HIGH, ! : ABNORMAL
Print oate Time:12 12 14 12:30 PST                                   Medical oirector: c:. surdic                                MD
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                  EXHIBIT D




                                                                    63
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                       Jesert Vailey OB Dep                              ?. J06
                                        '
                                    DESERT VALLEY MEDICAL GROUP
                            16850 Bear Valley Road, v rctorville, CA - 92395
                                        Ph: (760) 241 - 8000

Patient Name: SHAKUR,MUTULU                            DOB: 08/08/1950 / Sex: M
Account# : V000017 04821                               MR #: M000061371
Admission Dt:                                          Discharge Dt:
Room: / Bed:                                           Attending Phy: NANDA,VrR K MD

               -----------------------------------------------------------~-----------•·------
BONE MARROW ASPIRATION AND BIOPSY

PROCEDURE TIME:      1: 00 p. m.        '
REASm; FOR BONE MARROW BI OPSY!          Multiple :riyelo:na.

POS?PROCEDUR£ D::AGNOS I S:        Multiple myeloma.

DESCR:PTION OF PROCEDURE: The p.atien:: was placed on his l eft side. Right
p cste rio~ superior i li ac s pine .I-as preparec in ste=il e fas hion and ~~filtrated
w~tr- ~% lidocaine. S~in, s u bcuta~eous tissues and p e riosteum were adequately
locally anestheti zed . Bone marrow aspi rate core samples were obtai r·ed . Slides
were pre p ared.     A s amp le was s ent for c ytoge~etic and flow c ytometr~.   3lood
loss was :nin i r!lum, less :;han ·3 mL.   Th e area was c:.eaned and s terile dressirn; was
done.    The pat~ent was inscructed to put pressure on his back or li ~ down fo~
tt:e -:ext 4 hours . We wil l r e view the =esu.lts ir: 2-3 weeks . Procect.re was
u.neven=ful,    Informed consent was ob=ai ne~ prior to t~e proce dure.        Risks ar:d
benefits were expla~nep.               '



Soe ~aunglay M.D .
DD: 10/0B/2019 13 : 26
DT· 10/09/2019 0 2 : 18
JOB# 1430~6   3585789




----------------------------------~-~-------------------------------------------------
                                       OPERATIVE PROCEJORE REPORT
Patient Name: SHAI<:UR,MUTULO                                                          DOB: CB/CB/1950
:G.:r: :1000061371                                                               Accc~ntt: V00001704821




                                                                                                         64
                                                                                      MS 00363   2018 - 2019
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                                    Desert Valley OB Dep
                                                                                             Patrology #:   BM19-000018
    DESERT VALLEY HOSPITAL                                                                 Patient Name:    Sha.ktu, Mutulu
    Yvonne Noronha, M.D.                                                                    Date ofBirth:   8/ 81195:)
    Laboratory Medical Director                                                                     Sex:    Male
    16850 Bear Valley Road
                                                                                      Medical Record#:      M000061371
    Victorville, CA 92392
    (760} 241-8000
                                                                           Referring Physician(s):          1vfaungla•, Soe MD.
                                                                          :,   .
    {760) 843-S059 Fax
                                                        Bone
                                                        •
                                                             Marrow
                                                                1
                                                                    Report
                                                            •        .. £:.t.,'-.,.




    The following TargetGene FISH analysis was performed on this patient's specimen:

          Probe                    Detection Parameters                                      Result                        ISCN
       Centromere 7           Detects a gain of chromosome 7                                Detected               nuc ishD7Z1x3)[14/1 00J
       Centromere 9           Detects a gain of chromosome 9                                Detected               nuc Jsh(D9Z4x3)[12/100)
I     Centromere 15          Detects a g ain of chromosome 15                               Detected              nuc sh(D15Z4x3)[15/100]
      13q14(OLEU1)       Detects a monosomy for chromosome 13                               Detected           nuc lsh(DLEU1, TFDP1 )x1(16/100}
         TP53/17p              Detects a deletion   otTP53 gene                           Not Detected               m c lsh{TP53x2)[100]
                                                                                      I
       CKS1B/1q21                   Detects a gain of 1 q21                                    See              nuc isr SRD,CKS1B)x3[20/100J
                                                                                          Interpretation
      CCND1/IGH-             Detects a CCND1/IGH translocation                                 S ee            nuc ish(CCND1x3,IGYx2)(25/100]
         t{11,14)
      FGFR3/IGH -            Detects a FGFR3/IGH translocation
                                                                                          Interpretation
                                                                                                See            nuc lsh(•- GFR3x3,fGHx2)[14/100]
                                                                                                                                                    I
          t(4; 14)                                                                        I nterpretatlon
    IGHIMAF - t(14;16)        Detects an IGH/MAF uanslocatlon                             Not Detected             nuc ish(IGH,MAF)x2[100]
i




                                                                     1t~
                                                                     Yvonne Noronha, M.D. 10/21/2019




                                                                                                                      if]) le rID ff ll \YJ [e fm
                                                                                                                      Ut]     OCT 2 l 2019 ~ .
                                                                                                                       13y

                                                    l
                                                        PATHOLOGY REPORT
Maunglay, Soe MD.                                               Page 4 of 4                   PATIENT NAME:       Sh.ak1:r, Mutulu
DVMC - MOB                                                                                    PATHOLOGY NO:       B..¼E-000018
16850 Bear Valley Road, Suite 202                       Collected: 10/08/2019                 MED REC NO:         M00061371
Victorville, CA 92395                                   Received; 10/0812019                  PAll-iOLOGIST:      Yvor.:i.e Noronha, MD.




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                                                                                                                      MS 00364       2018 - 2019
               Case 1:82-cr-00312-CSH Document 195 Filed 04/16/20 Page 70 of 143
                                                                               :. JO?
                                                                             Pathology#:      BM19-0J0018
 DESERT VALLEY HOSPITAL                                                     Patient Name:     Sha.kw-, Mutnlu
 Yvonne Noronha, M.D.                                                        Date of Birth:   8/ 8/1950
 Laboratory Medical Director
                                                                                      sex:    Male
 16850 Bear Valley Road
                                                                        Medical Record #:     M000061371
 Victorville, CA 92392
 (760 241 -8000                                                     Referring Physician(s):   :M'aungk.y, Soe MD.
 (760) 843-5059 (Fax)                                          2'      .
                                                   Bone   Marrow Report
                                                              •,1'.
                                               t
 CYTOGENETIC STUDIES (performed ar,d interpreted at Integrated Oncology}; report dated 10/18/2019 states as follows ·

 RESULTS:         46,XY(20J
                  Male Karyotype

INTERPRETATION:
Normal male chromosome complement obserbed in all cells examined. There was no evrdenct, of a chromosome
abnormality within the limits of the techno fogy utilized.


FLUORESCENCE IN SITU HYBRIDIZATION {FISH) MULTIPLE MYELOMA PANEL (perforrr.ed and interpre:ed at
Integrated Oncology}; report dated 10/19/201 9 states a s fo 'ows:

RESULT:           Assay specific abnonnaliti~ detected by Multiple Myeloma FISH panel:
                  Gain of chromosomes 7, 9, and 15, and a monosomy for chromosome 13

                  Note: Other abnormalities were also detected. See interpr:etation.

INTERPRETATION:
Fluorescence in situ hybridization (FISH) analysis was performed on this patient's specimen uE>ing DNA probes for
multiple myeloma panel. One hundred interphase nuclei were examined for each probe and thE1 signal patterns revealed
the following:                                "

Pos1t1ve for 3 copies of both 1q21 and 1p36 (20.0% of nuclei), m ost likely indicating a gain {triso!lly) of chromosome 1.
Pos tive for trisomy of chromosome 7 (14.0% of nucfei).
Positive for trisomy of chrom osome 9 (12.0% of nuclei).
Positive for trisomy of chrom osome 15 (15.0% of nuclei).
Positive for monosomy of chromosome 13 (loss of both 13q 1 4/ DLEU1 and 13q34fTFDP1) (16 ..l% of.nuclei}.
                                               L
Neganve for a FGFR3/IGH translocation. However, an extra copy of FGFR3 was observed in 1 i .0% of nuc1e1 indicating
the presence of a chromosome 4 abnormality.

Negative for a CCND1/IGH translocation. However, an extra copy of C CND1 was observed in :; 5.0% of nuclei indicating
the presence of a chromosome 11 abnormality, most likely tr;somy 11.

The sigr,al pattern obtained with the remaining probes did not differ slgnificantly from the nonn~" controls

Aneuploidy is the most common genetic alteration in plasma cell myeloma (multiple myeloma }, as it is detected by FIS H
analysis in -60 to 90% of patients. T risomies of chromosomes 7, 9, 11, and 15 are among the rnost commonly observed
numerical changes. A neuploidy, and particularly trisomy can also be found in monoclonal gam riopathy of unknown
significance (MGUS), smoldering myeloma and a myloidosis. Hyperdiploidy in plasma cell myeloma {multiple myeloma)
without IGH gene rearrangements and other poor prognostic markers is associated with a mo rE favorable outcome.

Genetic changes other than those assayed in h,is study cannot be ruled out on the. basis of this testing. Correlation with
cytogenetic, clinical and pathological findings is suggested for a complete interpretation of the r :isults. Follow-up FISH
analysis may be considered as a means to monitor the clinical course of the disease. ,


                                                   PATliOLOGY REPORT
MaUnglay. See MD.                                      Page Jo: 4              PATIENT NAME;     .Shakur, Mururu
DVMC - M0.8                                                                    PATHOLOGY NO:      BM:9-000018
16850 Bear Valley Road, Suite 202                  Collected: 10/08/2019       MED REC NO:        MOCJ061371
Vl.CCONille, CA.92395                              Received: 10/08/2019        PATHOlOGIS1:       Yvonne Noronha, MD.




                                                                                                                           66
                                                                                                     MS 00365      2018 - 2019
                 Case 1:82-cr-00312-CSH Document 195 Filed 04/16/20 Page 71 of 143

                                                                                    Patriology #:       BM19-Q<)0018
 D ES ERT VALLEY HOSPITAL                                                         ~tient Name:          Shakw:, Yutulu
 Y\fonoe Noronha, M.D.                                                             Date of Birth:       8/8/19SJ
 Laboratory Medical Director                                                                Sex:        :Ma.le
 16850 Bear Valley Road                                                       Medical Record#;          M00006.~371
 Victorville, CA 92392
 (760) 241-8000
                                                                          ~eferring_fhysician(s):       Maurtghv, Soe M.D
  760 843-5059 Fax



MARROW CLOT/BIOPSY                                 .
Material evaluated includes d ot and core biopsy sections. The clot section shows blood and scattered hematopoietic
cells. The core biopsy Is adequate for evaluation and shows an overall normocellular marrow for age with increased
plasma cells with interstitial pattern of distribution as well as focal·small nodules. Foci of triline age hematopoiesis are
seen. Megakaryocytes are relatively normal in number with some hypolobate forms.

The iron stained core biopsy section shows absent marrow iron stores.
The reticulin stained core biopsy section does ,not show any increase in reticulin fibrosis
                                                        •
To further evaluate the different cell populations, immunoh1stochem,cal and ISH stains are perf xmed on the core biopsy
section with the following results:

CD138              -40% plasma cells positive
Kappa ISH          majority of p lasma cells positive
Lambda ISH         rare plasma cells positive
CD38               plasma cells positive
CD56               plasma cells positive
CD1'7              plasma cells positive
CD34               - 1% blasts positive
CD3                ~2-3% T -<;ells positive
CD5                ~2% T-cells positive
CD20               ~ 1-2% B-cells positive

Interpretation: The presence of increased numbers of monoclonal {kappa-restricted) plasma cells is consistent with a
plasma cell neoplasm.

The irnmunohislochemical and ISH stains reported abqva were developed and their performance ctraracteristiC$ detrnnlned by LabCorp Laboratotle!.
They have not been dGar9d or approved by the U.S. Food and Drug Administration. although fhe FDA .ha!\ d etarmlnerl such approval 1s not requ red ror
analyte-spec1fic reagents of this type. Appropriate positive and negative controlS ara included for eac:11 lmmunoliistoclmrn1cal1 ISH stain.



SPECIAL STUDIES
FLOW CYTOMETRY (performed and interpreted at Integrated Oncology); report dated 10/09/2)19 states as follows:
Interpretation
Bone Marrow Aspirate:
Abnonnal monotypic (kappa) plasma cell population (8.0% of sample), consistent with a plasma cell neoplastic
process

Com"'lents
The plasma cells detected in this analysis comprise 8.0% or the total leukocytes. The p lasma c; lls are CD45 negative.
express CD38, CD138, CD56 and CD1 17. Analysis for cytoplasm ic &.cell light chains demonst, ates a Kappa light chain
restriction (cK/cl= 262:1 ). Plasma cells are typicaay underrepresented by flow c ytometry. Corre atlon with all available
clinical, laboratory, and morphologic data is recommended.




                                                            PATHOLOGY REPORT
11.aungl.ay, Soc MD.                                            Page2 cf4              PATIENT NAME:         Shak.l!', Mmulu
DVMC- MOB                                                                              PATHOLOGY NO:         BMJ :1-000018
16850 B~ Valley Road, Suire 202                             Collected: 10'08/2010      MED. REC NO:          M00:,061371
V1etorville, CA 92395                                       Received: 10/08/2019       PATHOLOGIST:          Yvo:l!lC Noronha, MD.




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                                                                                                                  MS 00366        2018 - 2019
                Case 1:82-cr-00312-CSH Document 195 Filed 04/16/20 Page 72 of 143
                              Desert Va 1 ley OB Dep ?AX Na.                    ?. 002
                                                                                  Pathology#:      BM19-0f)0018
DESERT VALLEY HOSPITAL                                                           Patient Name:     .Shaku.t. Mutulu
Yvonng No ronha, M.D.                                                             Date of Birth:   8/8/195 )
Laboratory Medical Director                                                               Sex:     Male
16850 Bear Valley Road
                                                                              Medical Record#: MD0006 ; 371
Victorville, CA 92392
                                                                      Referring Physician(s):      ::M'aoo.gla· •, Soe MD.
(760) 241-8000
 760 843-5059 Fax                               •                 ,,fl
                                                    Bone Marrow Report
                                                              •   b   '....




BONE MARROW, RIGHT POSTERIOR SUPijRIOR ILIAC SPINE, ASPIRATION AND CORE BIOPSY:
      - PLASMA CELL NEOPLASM (SEE tOMMENT)                        .
     · OVERALL NORMOCELLULAR MARROW FOR AGE WITH ~4-0% KAPPA-RESTRIGTED PLASMA CELLS

COMMENT:
The aspi rate smears are s uboptimal f o r evaluatio n and therefore, a differential count could not be performed
However, the core biopsy sho ws ~40% CD138 positive, kappa-restricted p lasma cells. Flow cytometrlc analysh;.
revealed 8% kappa-restricted plasma c ell~. (Plasma cells are typlcalfy underrepresented by flow cytometry. •
Urine protein electrophoresis revealed         an
                                               M-spike. Serum free kappa lrght chains were Increased with a
kappa/lambda ratio of 167.63.

The findings are consistent w ith a plasma cell neoplasm and the histopathologic differe1,tiaf Includes plasma eel
mye!oma versus smoldering (asymptomatic) plasma cell myelom a. Co rrelation with clinical and radiologic
findings ls recommended.

The myeloma FISH panel revealed m ultip(e abnormalities including gain of chromosomes 7, 9, and 15, and a
monosomy for chromosome 13 (see details below). Karyotyping d id not rev eal any abno,malities.




Material Identification
Right posterior superior iliac spine, aspiration ~nd biopsy

Operati\,e Procedure
  Bone r,arrow aspiration and b 1opsy

Clinical riistory
Clinical myeloma, active disease

PERIPHERAL BLOOD
HEMOGRAM (Dated 10/08/19):
             3                  6
WBC 5.2 x10 /µL; RBC 3.45 x10 /µL; HGB 9.4 g/dL; HCT 29.1%; MCV 84.3 fl; MCH 27.1 pg; f,1CHC 32.2 g/dL; ROW
21.1%; platelets 229 x103/µL; neutrophils 56.0%, lymphocytes 28.9%. monocytes 13.4%, eoslnophils 1.6%, basophils
0.1%.
The peripheral smear has been reViewed and the findings are consistent with the CBC data. T he red blood cells are
'l'lildly decreased in number, overall normochromic and normocytic. The white blood cells-are normal In number with
overall normal morphology. Platelets are nornial in number .•,ith overall normal morphology

MARROW SMEAR
The bone marrow aspirate smears are markedly limited for evaluation ·di.le to hemodilution and paucity of spicules. A
differentia: count is therefore not possible. Scattered neutrophils, lymphocytes and ·a rare erythroid precursor are noted.
Megakar1ocytes are not seen.

                                               L PATHOL OGY REPORT
Maung!ay, Soc M'.D.                                      Page 1 o( 4                PATIENT NAME:       Shak.J.!', Murulu
DVlvlC- MOB                                                                         PATHOLOGY NO:       BMB-000018
16850 Bear V:alley Road, Suite 202                  Collected: 10/08/2019           MED REC NO:         MOO:X:)61371
Vicrorville, CA 92395                               Received: 10/08/2019            PATHOLOGIST:        Yvor..ne Noronha, MD.




                                                                                                                                    68
                                                                                                            MS 00367        2018 - 2019
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                  EXHIBIT E




                                                                    69
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         VISITOR/VOLUNTEER/CONTRACTOR COVID-19 SCREENING TOOL

1. Have you…….
              a. Traveled from or through, any of the following locations identified by the
  Yes No         CDC as increasing epidemiologic risk for COVID-19 within the last 14
                 days?
                 China, Iran, South Korea, Italy, Japan
  Yes No      b. Had close contact with anyone diagnosed with the COVID-19 illness
                 within the last 14 days?


2. Do you currently have a …………
  Yes No       a. Fever or Chills
  Yes     No           b. Cough
  Yes     No           c. Shortness of Breath
3. Perform a temperature check ______◦F Method: oral / forehead (temporal) / tympanic
*Staff see instruction sheet for screening form.

Purpose of Visit (Circle one):
Attorney-legal / Contractor / Volunteer
Social (visiting an inmate) – Inmate name/reg. number ______________________________
Other - ______________________________________________________________________


Visitor Name (Last, First): _____________________________________________________

Date: ______________________________________________________________________

Institution: _________________________________________________________________




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                                                                                     70
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        VISITOR/VOLUNTEER/CONTRACTOR COVID-19 SCREENING TOOL

Instructions for staff:
The BOP staff member will provide the COVID-19 Screening Tool to all persons entering the
lobby (visitors, volunteers, contractors, legal visits, etc.), ask each person to complete
questions 1. a-b and 2. a-c. A qualified health care staff member will complete the
temperature check.
If answers to all the questions are No, and there are no obvious signs of respiratory infection,
e.g. frequent coughing, and temperature is < 100.4○F, follow usual procedures.
Social visitors: If answers to any of the questions are YES, or if the person has a temperature ≥
100.4○F (oral), or if the person has obvious signs of a respiratory illness, ask social visitors to
wait in a separate area (6 feet from others or outside), and contact the Operations Lieutenant
and/or Institution Duty Officer (IDO), for further direction to the visitor(s). The IDO or
Operations Lieutenant should deny visitation and not allow entry into the institution.
Attorney/Contractor/Volunteer: If answers to any of the questions are YES, or if the person
has a temperature ≥ 100.4◦F (oral), or if the person has obvious signs of a respiratory illness,
they should not be allowed entry to the institution.
In the case of an attorney / legal visitor who answers yes to any of the questions, decisions
may be made on a case-by-case basis with approval at the local level and confidential legal
calls will be allowed.




3/13/20, Version 1.0
                                                                                           71
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                  EXHIBIT F




                                                                    72
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     CORONAVIRUS DISEASE 2019 (COVID-19) STAFF SCREENING TOOL
                                  DATE:_____________________
1. Temperature:             ______ ◦F           Method: Mouth                 Ear            Forehead

□ If Temperature (Mouth) ≥ 100.4○F, or Temperature (Ear) ≥101○F,             or Temperature (Forehead) ≥ 100○F

      Then Deny Access , Place on Leave (Not Safety & Weather Leave) for 3 days + STOP HERE & Proceed to Section 3

2. Signs (Employee Complete)
     Yes    No     New On-Set Cough           # of Days__________________
     Yes    No     New Onset Trouble Speaking because of Needing to take a Breath
     Yes    No     Stuffy/Runny Nose

      Contact the Medical Officer on Call for the Institution to provide Disposition

        Disposition by Medical Officer Assessment:
                                    Leave
                                    Work




3. Notification of Local Human Resources Department

□ If Individual is placed on leave for Section 1 or 2, Then share document with HR Office for T&A purpose

 HR

□ Please have HSD place this document in the Employee’s Medical Folder (Blue Folder) if leave is indicated



 Staff Name (Last, First): _________________________________ Year of Birth (Year): ____________

 Institution: _______________________________________                      State: ______________________




 March 2020, Version 2.8
                                                                                                            73
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                  EXHIBIT G




                                                                    74
4/1/2020                                    BOP - COVID-19
                    Case 1:82-cr-00312-CSH Document   195Action Plan:04/16/20
                                                             Filed   Phase Five Page 79 of 143

COVID-19 Action Plan: Phase Five
Additional Agency-wide Actions Effective April 1




Updated 6:30 PM ET, March 31, 2020

(BOP) - Today, the Director of the Bureau of Prisons (BOP) ordered the implementation of Phase 5 of its COVID-19 Action Plan, effective
tomorrow, April 1, 2020. In response to a growing number of quarantine and isolation cases in our facilities, the BOP will take the following
actions immediately to further mitigate the exposure and spread of COVID-19.

    • For a 14-day period, inmates in every institution will be secured in their assigned cells/quarters to decrease the spread of the virus. This
       modification to our action plan is based on health concerns, not disruptive inmate behavior.
    • During this time, to the extent practicable, inmates should still have access to programs and services that are offered under normal
       operating procedures, such as mental health treatment and education.
    • In addition, the Bureau is coordinating with the United States Marshals Service (USMS) to significantly decrease incoming movement
       during this time.
    • After 14 days, this decision will be reevaluated and a decision made as to whether or not to return to modified operations.
    • Limited group gathering will be afforded to the extent practical to facilitate commissary, laundry, showers, telephone, and Trust Fund
       Limited Inmate Computer System (TRULINCS) access.

Starting in January 2020, the BOP implemented its Pandemic Influenza contingency plan, modified as an Action Plan for COVID-19. The BOP
continues to revise and update its action plan in response to the fluid nature of the COVID-19 pandemic, and in response to the latest guidance
from experts at the World Health Organization (WHO), the Centers for Disease Control and Prevention (CDC) and the Office of Personnel
Management (OPM).

Background on Phases 1 - 4:

Phase 4: On March 26, 2020, the BOP implemented revised preventative measures for all institutions. The agency updated its quarantine and
isolation procedures to require all newly admitted inmates to BOP, whether in a sustained community transition area or not, be assessed using a
screening tool and temperature check. This includes all new intakes, detainees, commitments, writ returns from judicial proceedings, and parole
violators, regardless of their method of arrival. Asymptomatic inmates are placed in quarantine for a minimum of 14 days or until cleared by
medical staff. Symptomatic inmates are placed in isolation until they test negative for COVID-19 or are cleared by medical staff as meeting CDC
criteria for release from isolation.

These are the latest measures that follow the first three phases of the Bureau's action plan, which may be found here:
www.bop.gov/resources/news/pdfs/20200324_bop_press_release_covid19_update.pdf

The Bureau will continue to provide daily updates and information on actions related to COVID-19 at www.bop.gov/coronavirus/

                                                                                                                                       75
https://www.bop.gov/resources/news/20200331_covid19_action_plan_5.jsp                                                                                1/2
4/15/2020                                     Updates to 195
                     Case 1:82-cr-00312-CSH Document     BOP COVID-19
                                                               Filed Action Plan
                                                                      04/16/20   Page 80 of 143

Updates to BOP COVID-19 Action Plan
Inmate Movement




Updated 5:00 PM ET, March 19, 2020

(BOP) - As a result of continued admission of new inmates to federal custody and to assure the safe ongoing management of the inmate
population in the entire federal prison system, the BOP is updating its action plans as follows:

INMATE MOVEMENT: As we previously described generally, inmate internal movement is suspended with limited
exceptions. This suspension, however, does not mean the BOP has ceased all inmate movements because the federal judicial system as well as
state courts continue to process criminal cases.

These movement exceptions may include, but are not limited to, transfers related to forensic studies, writs, Interstate Agreements on Detainers
(IAD), medical or mental health reasons (including local medical trips), and RRC placements. To be clear, the BOP may need to move inmates
to better manage the detention bedspace as well as assure that administrative facilities do not become overcrowded beyond available
resources.

All inmates are being authorized for movements from all facilities under the following conditions:

    • Inmates must have been in BOP custody for greater than 14 days;
    • Perform an exit screening for COVID-19 symptoms (fever, cough, shortness of breath and temperature).
            If the inmate has no symptoms and a temperature less than 100.4 degrees F, the inmate will be transferred;
            0

            If the inmate has COVID-19 symptoms, or temperature greater than 100.4 degrees F, they will not be transferred and will instead be
            0

            immediately placed in isolation.
    • Regional Directors will notify the BOP Emergency Operations Center prior to movement in order to track and monitor movement.
The BOP emphasizes that all inmates regardless of where they are being housed are screened for COVID-19 prior to movement. Both the
BOP and USMS are using screening protocols for both inmates and staff.

An additional update to the BOP's COVID-19 Action Plan is as follows: To assist inmates who are releasing from custody and facing difficulty
obtaining medications, the BOP is providing such inmates with a sixty-day supply of medication.

The Federal Bureau of Prisons (Bureau) is our nation's largest correctional agency, housing over 175,000 inmates across the United States. Our
mission serves our country nationwide - maintaining safety and security of our institutions is our highest priority.

Our over 36,000 staff nationwide play a critical role in the federal criminal justice system; arresting authorities, prosecutors, judges, and our
communities count on us to keep our communities safe and our institutions secure. The work of our staff goes largely unseen and often
unrecognized by the general public. Yet this inherently dangerous work helps keep communities safe every day.
                                                                                                                                         76
https://www.bop.gov/resources/news/20200319_covid19_update.jsp                                                                                      1/2
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                  EXHIBIT H




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                Letters

                RESEARCH LETTER                                                                             All patients underwent chest CT imaging. Real-time re-
                                                                                                       verse transcriptase polymerase chain reaction (RT-PCR) tests
                Presumed Asymptomatic Carrier Transmission                                             for COVID-19 nucleic acid were performed using nasopharyn-
                of COVID-19                                                                            geal swabs (Novel Coronavirus PCR Fluorescence Diagnostic
                A novel coronavirus has resulted in an ongoing outbreak of vi-                         Kit, BioGerm Medical Biotechnology).
                ral pneumonia in China.1-3 Person-to-person transmission has
                been demonstrated,1 but, to our knowledge, transmission of                             Results | Patient 1 (presumed asymptomatic carrier), a
                the novel coronavirus that causes coronavirus disease 2019                             20-year-old woman, lives in Wuhan and traveled to Anyang
                (COVID-19) from an asymptomatic carrier with normal chest                              on January 10, 2020. She initially met with patients 2 and 3
                computed tomography (CT) findings has not been reported.                               on January 10. On January 13, she accompanied 5 relatives
                                                                                                       (patients 2 through 6) to visit another hospitalized relative in
                Methods | In January 2020, we enrolled a familial cluster of 5                         Anyang District Hospital (Figure). There was no report of
                patients with fever and respiratory symptoms who were ad-                              COVID-19 at this hospital. After development of disease in her
                mitted to the Fifth People’s Hospital of Anyang, Anyang, China,                        relatives, patient 1 was isolated and observed. As of February
                and 1 asymptomatic family member. This study was ap-                                   11, she had no elevated temperature measured or self-
                proved by the local institutional review board, and written in-                        reported fever and no gastrointestinal or respiratory symp-
                formed consent was obtained from all patients. A detailed                              toms, including cough and sore throat, reported or observed
                analysis of patient records was performed.                                             by the physicians. Chest CT images on January 27 and 31



                Figure. Timeline of Exposure to the Asymptomatic Carrier of the Novel Coronavirus That Causes COVID-19 in a Familial Cluster
                       Patient 1 traveled
                       from Wuhan to Anyang

                      Patient 1

                      Patient 2

                      Patient 3

                      Patient 4                        :
                      Patient 5

                      Patient 6                        :
                              Jan 10                                                Jan 17                                   Jan 24                                   Jan 31

                                   Timeline events
                                             Contact with patient 1
                                             Asymptomatic period
                                                                      ••   Onset of symptoms
                                                                           Negative PCR result
                                             Symptomatic period
                                                                       •   Positive PCR result


                PCR indicates polymerase chain reaction test for the coronavirus disease 2019 (COVID-19) nucleic acid.



                Table. Summary of Laboratory Examination Results of the Familial Cluster Infected With the Novel Coronavirus That Causes Coronavirus Disease 2019
                                                                 Reference
                                                                 range                Patient 1a   Patient 2     Patient 3            Patient 4   Patient 5   Patient 6
                    C-reactive protein, mg/L                     0.0-4.0              0.69         217.17        10.14                66.07       14.9        202.03
                    Eosinophils, ×109/L                          0.02-0.52            0.02         0             0.01                 0           0           0
                      Eosinophil ratios, %                       0.4-8                0.40         0             0.30                 0           0.10        0
                    Lymphocytes, ×109/L                          1.1-3.2              1.55         0.53          1.65                 0.91        0.46        0.69
                      Lymphocyte ratios, %                       20-50                27.50        6.70          35.90                27.70       13.30       7.40
                    Neutrophils, ×109/L                          1.8-6.3              3.62         6.89          2.64                 2.10        2.89        8.21
                      Neutrophil ratios, %                       40-75                63.90        86.40         57.40                64.00       84.10       87.00
                    White blood cell count, ×109/L               3.9-9.9              5.65         7.97          4.59                 3.29        3.44        9.43
                a
                    Asymptomatic.



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                Letters



                showed no significant abnormalities. Her C-reactive protein         Yan Bai, MD
                level and lymphocyte count were normal (Table). Results             Lingsheng Yao, MD
                of RT-PCR testing were negative on January 26, positive on          Tao Wei, MD
                January 28, and negative on February 5 and 8.                       Fei Tian, MD
                    Patients 2 through 6 developed COVID-19. Four were              Dong-Yan Jin, PhD
                women, and ages ranged from 42 to 57 years. None of the pa-         Lijuan Chen, PhD
                tients had visited Wuhan or been in contact with any other          Meiyun Wang, MD, PhD
                people who had traveled to Wuhan (except patient 1).
                    Patients 2 through 5 developed fever and respiratory            Author Affiliations: Department of Medical Imaging, Henan Provincial People’s
                                                                                    Hospital, Zhengzhou, Henan, China (Bai, Chen, Wang); Department of
                symptoms between January 23 and January 26 and were
                                                                                    Radiology, Anyang Hospital of Traditional Chinese Medicine, Anyang, Henan,
                admitted to the hospital on the same day. All patients had          China (Yao); Department of Radiology and Interventional, the Fifth People's
                RT-PCR test results positive for COVID-19 within 1 day.             Hospital of Anyang, Anyang, Henan, China (Wei); Tianjin Medical University
                Patient 6 developed fever and sore throat on January 17 and         Cancer Institute and Hospital, Tianjin, China (Tian); Li Ka Shing Faculty of
                                                                                    Medicine, the University of Hong Kong, Pokfulam, Hong Kong, China (Jin).
                went to the local clinic for treatment. There was no report of
                                                                                    Corresponding Author: Meiyun Wang, MD, PhD, Department of Medical
                COVID-19 at the clinic. Her symptoms improved over the
                                                                                    Imaging, Henan Provincial People’s Hospital and the People’s Hospital of
                next few days but worsened on January 24, when she was              Zhengzhou University, No. 7, WeiWu Road, Zhengzhou 450003, Henan, China
                admitted to the hospital and confirmed to have COVID-19 on          (mywang@ha.edu.cn).
                January 26. Two patients developed severe pneumonia; the            Published Online: February 21, 2020. doi:10.1001/jama.2020.2565
                other infections were moderate.                                     Author Contributions: Drs Yao and Wang had full access to all of the data in the
                    All symptomatic patients had multifocal ground-glass            study and take responsibility for the integrity of the data and the accuracy of
                opacities on chest CT, and 1 also had subsegmental areas of         the data analysis. Drs Bai, Yao, and Wei contributed equally to the work.
                                                                                    Concept and design: Bai, Yao, Tian, Jin, Wang.
                consolidation and fibrosis. All the symptomatic patients had        Acquisition, analysis, or interpretation of data: Bai, Yao, Wei, Tian, Chen, Wang.
                increased C-reactive protein levels and reduced lymphocyte          Drafting of the manuscript: Bai, Yao, Wei, Tian, Wang.
                counts (Table).                                                     Critical revision of the manuscript for important intellectual content: Bai, Tian,
                                                                                    Jin, Chen, Wang.
                                                                                    Statistical analysis: Bai, Chen, Wang.
                Discussion | A familial cluster of 5 patients with COVID-19         Administrative, technical, or material support: Bai, Yao, Wei, Tian, Wang.
                pneumonia in Anyang, China, had contact before their symp-          Supervision: Tian, Wang.
                tom onset with an asymptomatic family member who had                Conflict of Interest Disclosures: None reported.
                traveled from the epidemic center of Wuhan. The sequence            Additional Contributions: We thank Taiyuan Liu, MD, Rushi Chen, MD,
                of events suggests that the coronavirus may have been trans-        and Wei Wei, MD (Henan Provincial People’s Hospital and the People’s Hospital
                mitted by the asymptomatic carrier. The incubation period           of Zhengzhou University), for data analysis and literature research. None of
                                                                                    these persons received any compensation for their contributions.
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                The mechanism by which asymptomatic carriers could ac-
                                                                                    with the 2019 novel coronavirus indicating person-to-person transmission:
                quire and transmit the coronavirus that causes COVID-19             a study of a family cluster. Lancet. 2020;395(10223):514-523. doi:10.1016/
                requires further study.                                             S0140-6736(20)30154-9




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                   EXHIBIT I




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                                       The   n e w e ng l a n d j o u r na l     of   m e dic i n e




                                              C or r e sp ondence




                             Transmission of 2019-nCoV Infection
                          from an Asymptomatic Contact in Germany
         To the Editor: The novel coronavirus (2019-                  tive for 2019-nCoV on January 26 (index patient
         nCoV) from Wuhan is currently causing concern                in Fig. 1) (see Supplementary Appendix, available
         in the medical community as the virus is spread-             at NEJM.org, for details on the timeline of symp-
         ing around the world.1 Since identification of the           tom development leading to hospitalization).
         virus in late December 2019, the number of cases                On January 27, she informed the company
         from China that have been imported into other                about her illness. Contact tracing was started,
         countries is on the rise, and the epidemiologic              and the above-mentioned colleague was sent to
         picture is changing on a daily basis. We are re-             the Division of Infectious Diseases and Tropical
         porting a case of 2019-nCoV infection acquired               Medicine in Munich for further assessment. At
         outside Asia in which transmission appears to                presentation, he was afebrile and well. He re-
         have occurred during the incubation period in                ported no previous or chronic illnesses and had
         the index patient.                                           no history of foreign travel within 14 days before
            A 33-year-old otherwise healthy German busi-              the onset of symptoms. Two nasopharyngeal
         nessman (Patient 1) became ill with a sore throat,           swabs and one sputum sample were obtained
         chills, and myalgias on January 24, 2020. The                and were found to be positive for 2019-nCoV on
         following day, a fever of 39.1°C (102.4°F) devel-            quantitative reverse-transcriptase–polymerase-
         oped, along with a productive cough. By the                  chain-reaction (qRT-PCR) assay.2 Follow-up qRT-
         evening of the next day, he started feeling better           PCR assay revealed a high viral load of 108 copies
         and went back to work on January 27.                         per milliliter in his sputum during the following
            Before the onset of symptoms, he had attended             days, with the last available result on January 29.
         meetings with a Chinese business partner at his                 On January 28, three additional employees at
         company near Munich on January 20 and 21.                    the company tested positive for 2019-nCoV (Pa-
         The business partner, a Shanghai resident, had               tients 2 through 4 in Fig. 1). Of these patients,
         visited Germany between January 19 and 22.                   only Patient 2 had contact with the index patient;
         During her stay, she had been well with no signs             the other two patients had contact only with
         or symptoms of infection but had become ill on               Patient 1. In accordance with the health au-
         her flight back to China, where she tested posi-             thorities, all the patients with confirmed 2019-
                                                                      nCoV infection were admitted to a Munich infec-
                 this week's letters                                  tious diseases unit for clinical monitoring and
970    Transmission of 2019-nCoV Infection from an                    isolation. So far, none of the four confirmed
       Asymptomatic Contact in Germany                                patients show signs of severe clinical illness.
                                                                         This case of 2019-nCoV infection was diag-
972    Dapagliflozin in Patients with Heart Failure and               nosed in Germany and transmitted outside Asia.
       Reduced Ejection Fraction                                      However, it is notable that the infection appears
                                                                      to have been transmitted during the incubation
974    A Smartwatch to Identify Atrial Fibrillation
                                                                      period of the index patient, in whom the illness
976    Focused Cardiac Ultrasonography for Left                       was brief and nonspecific.3
       Ventricular Systolic Function                                     The fact that asymptomatic persons are po-
                                                                      tential sources of 2019-nCoV infection may war-

                                              n engl j med 382;10   nejm.org   March 5, 2020


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                                                            Correspondence




                                                    Flight to
                                                     China
                                                                                                              •
                                                                                                              C Contact with Patient 1




 Index Patient
                        Visit to Germany                l Symptoms
                            Attended business                                                      t
                                                                                           Positive PCR
                                meetings
                                                                                                      Positive PCR
                                Attended business                                        Symptoms
     Patient 1
                                    meetings
                                                                                                                     Positive PCR

     Patient 2
                                        Attended business
                                            meetings
                                                                                             Symptoms


                                                                                                       Symptoms
                                                                                                                                -
                                                                                                                     Positive PCR

     Patient 3   ""'""""'====;,=1•C         .C ,====::::;:::==::::;:::=== - - - - -
                                                                                                                    Positive PCR




                            ---------
                                                                                                              Symptoms l
     Patient 4                              C           C        C           C


                    Jan.        Jan.       Jan.       Jan.      Jan.        Jan.      Jan.     Jan.        Jan.       Jan.      Jan.
                     19          20         21         22        23          24        25       26          27         28        29
                                                                           Date

 Figure 1. Timeline of Exposure to Index Patient with Asymptomatic 2019-CoV Infection in Germany.



rant a reassessment of transmission dynamics of                          Wolfgang Guggemos, M.D.
the current outbreak. In this context, the detec-                        Michael Seilmaier, M.D.
tion of 2019-nCoV and a high sputum viral load                           Klinikum München-Schwabing
in a convalescent patient (Patient 1) arouse con-                        Munich, Germany

cern about prolonged shedding of 2019-nCoV                               Christian Drosten, M.D.
after recovery. Yet, the viability of 2019-nCoV                          Charité Universitätsmedizin Berlin
detected on qRT-PCR in this patient remains to                           Berlin, Germany

be proved by means of viral culture.                                     Patrick Vollmar, M.D.
   Despite these concerns, all four patients who                         Katrin Zwirglmaier, Ph.D.
were seen in Munich have had mild cases and                              Sabine Zange, M.D.
were hospitalized primarily for public health                            Roman Wölfel, M.D.
purposes. Since hospital capacities are limited                          Bundeswehr Institute of Microbiology
— in particular, given the concurrent peak of                            Munich, Germany

the influenza season in the northern hemi-                               Michael Hoelscher, M.D., Ph.D.
sphere — research is needed to determine                                 University Hospital LMU Munich
whether such patients can be treated with ap-                            Munich, Germany

propriate guidance and oversight outside the                               Disclosure forms provided by the authors are available with
                                                                         the full text of this letter at NEJM.org.
hospital.
Camilla Rothe, M.D.                                                      This letter was published on January 30, 2020, and updated on
                                                                         February 6, 2020, at NEJM.org.
Mirjam Schunk, M.D.
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Gisela Bretzel, M.D.                                                     patients with pneumonia in China, 2019. N Engl J Med 2020;382:
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Claudia Wallrauch, M.D.                                                  tion of Wuhan coronavirus 2019 by real-time RT-PCR. Geneva:
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Verena Thiel, M.D.                                                       .who.int/docs/default-source/coronaviruse/wuhan-virus-assay
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Christian Janke, M.D.                                                    3. Callaway E, Cyranoski D. China coronavirus: six questions
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Munich, Germany
rothe@lrz.uni-muenchen.de                                                DOI: 10.1056/NEJMc2001468


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                  EXHIBIT J




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                                                April 3, 2020




      MEMORANDUM FOR DIRECTOR OF BUREAU OF PRISONS


     FROM:             THEATTORNEYGENERAW~
     SUBJECT:          Increasing Use of Home Confinement at Institutions Most Affected by
                       COVID-19


        The mission of BOP is to administer the lawful punishments that our justice system
imposes. Executing that mission imposes on us a profound obligation to protect the health and
safety of all inmates.

        Last week, I directed the Bureau of Prisons to prioritize the use of home confinement as a
tool for combatting the dangers that COVID-19 poses to our vulnerable inmates, while ensuring
we successfully discharge our duty to protect the public. I applaud the substantial steps you have
already taken on that front with respect to the vulnerable inmates who qualified for home
confinement under the pre-CARES Act standards.

        As you know, we are experiencing significant levels of infection at several of our facilities,
including FCI Oakdale, FCI Danbury, and FCI Elkton. We have to move with dispatch in using
home confinement, where appropriate, to move vulnerable inmates out of these institutions. I
would like you to give priority to these institutions, and others similarly affected, as you continue
to process the remaining inmates who are eligible for home confinement under pre-CARES Act
standards. In addition, the CARES Act now authorizes me to expand the cohort of inmates who
can be considered for home release upon my finding that emergency conditions are materially
affecting the functioning of the Bureau of Prisons. I hereby make that finding and direct that, as
detailed below, you give priority in implementing these new standards to the most vulnerable
inmates at the most affected facilities, consistent.with the guidance below.
I.     IMMEDIATELY MAXIMIZE APPROPRIATE TRANSFERS TO HOME
       CONFINEMENT OF ALL APPROPRIATE INMATES HELD AT FCI OAKDALE,
       FCI DANBURY, FCI ELKTON, AND AT OTHER SIMILARLY SITUATED BOP
       FACILITIES WHERE COVID-19 IS MATERIALLY AFFECTING OPERATIONS




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Memorandum from the Attorney General                                                Page 2
Subject: Increasing Use of Home Confinement at Institutions Most Affected by COVID-19


         While BOP has taken extensive precautions to prevent COVID-19 from entering its
facilities and infecting our inmates, those precautions, like any precautions, have not been perfectly
successful at all institutions. I am therefore directing you to immediately review all inmates who
have COVID-19 risk factors, as established by the CDC, starting with the inmates incarcerated at
FCI Oakdale, FCI Danbury, FCI Elkton, and similarly situated facilities where you determine that
COVID-19 is materially affecting operations. You should begin implementing this directive
immediately at the facilities I have specifically identified and any other facilities facing similarly
serious problems. And now that I have exercised my authority under the CARES Act, your review
should include all at-risk inmates-not only those who were previously eligible for transfer.

        For all inmates whom you deem suitable candidates for home confinement, you are
directed to immediately process them for transfer and then immediately transfer them following a
14-day quarantine at an appropriate BOP facility, or, in appropriate cases subject to your case-by-
case discretion, in the residence to which the inmate is being transferred. It is vital that we not
inadvertently contribute to the spread of COVID-19 by transferring inmates from our facilities.
Your assessment of these inmates should thus be guided by the factors in my March 26
Memorandum, understanding, though, that inmates with a suitable confinement plan will generally
be appropriate candidates for home confinement rather than continued detention at institutions in
which COVID-19 is materially affecting their operations.

        I also recognize that BOP has limited resources to monitor inmates on home confinement
and that the U.S. Probation Office is unable to monitor large numbers of inmates in the community.
I therefore authorize BOP to transfer inmates to home confinement even if electronic monitoring
is not available, so long as BOP determines in every such instance that doing so is appropriate and
consistent with our obligation to protect public safety.

        Given the speed with which this disease has spread through the general public, it is clear
that time is of the essence. Please implement this Memorandum as quickly as possible and keep
me closely apprised of your progress.

II.    PROTECTING THE PUBLIC

        While we have a solemn obligation to protect the people in BOP custody, we also have an
obligation to protect the public. That means we cannot simply release prison populations en masse
onto the streets. Doing so would pose profound risks to the public from released prisoners
engaging in additional criminal activity, potentially including violence or heinous sex offenses.

         That risk is particularly acute as we combat the current pandemic. Police forces are facing
the same daunting challenges in protecting the p1;1blic that we face in protecting our inmates. It is
impossible to engage in social distancing, hand washing, and other recommend steps in the middle
of arresting a violent criminal. It is thus no surprise that many of our police officers have fallen
ill with COVID-19, with some even dying in the line of duty from the disease. This pandemic has
dramatically increased the already substantial risks facing the men and women who keep us safe,
at the same time that it has winnowed their ranks while officers recover from getting sick, or self-
quarantine to avoid possibly spreading the disease.




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Memorandum from the Attorney General                                                Page 3
Subject: Increasing Use of Home Confinement at Institutions Most Affected by COVID-19


        The last thing our massively over-burdened police forces need right now is the
indiscriminate release of thousands of prisoners onto the streets without any verification that those
prisoners will follow the laws when they are released, that they have a safe place to go where they
will not be mingling with their old criminal associates, and that they will not return to their old
ways as soon as they walk through the prison gates. Thus, while I am directing you to maximize
the use of home confinement at affected institutions, it is essential that you continue making the
careful, individualized determinations BOP makes in the typical case. Each inmate is unique and
each requires the same individualized determinations we have always made in this context.

        I believe strongly that we should do everything we can to protect the inmates in our care,
but that we must do so in a careful and individualized way that remains faithful to our duty to
protect the public and the law enforcement officers who protect us all.




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                  EXHIBIT K




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JERROLD NADLER, New York                                                                                   JIM JORDAN, Ohio
  CHAIRMAN                                                                                                  RANKING MINORITY MEMBER




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                                                         March 19, 2020

                The Honorable William P. Barr
                Attorney General
                U.S. Department of Justice
                950 Pennsylvania Avenue, N.W.
                Washington, D.C. 20530

                Dear Attorney General Barr:

                        We are writing to follow up on Chairman Nadler’s letter of March 12, 2020 asking a
                series of questions about any measures taken by the Bureau of Prisons (BOP) and the U.S.
                Marshals Service (USMS) to respond to the COVID-19 pandemic. We write to reiterate the need
                to receive answers to these questions, as it is critical that we learn how BOP and the USMS are
                handling the COVID-19 crisis, both in protecting the employees of these agencies and the
                individuals held in their custody. We expect to hear from you on these matters, in short order.
                         We write now to underscore several points also made in that letter, as it has become even
                more evident, given the President’s national emergency declaration, that these issues need to be
                addressed immediately. The BOP currently imprisons 175,000 people in about 100 facilities
                throughout the country. Data from 2019 indicates that the USMS is responsible for about an
                additional 75,000 people who are incarcerated pretrial, many in local jail or private contract
                facilities. Given these numbers, it is incontrovertible that, if the Department of Justice (DOJ)
                does not act aggressively to address the COVID-19 threat, federal jails and prisons could quickly
                become epicenters of the COVID-19 pandemic.
                        With large numbers of people living in close proximity to one another, many of them
                elderly or living with chronic diseases, DOJ must act now to save lives. Accordingly, we urge
                you to put in place measures to ensure that both the flow of prisoners into federal facilities is
                slowed significantly and that prisoners who can and should be released are released forthwith.
                We cannot wait any longer to take action.
                         We have learned that, in spite of the recent national emergency declaration and the fact
                that state and local prosecutorial agencies and courts across the country have made adjustments
                to their charging policies and are releasing prisoners who are at high risk of getting sick, it
                appears that it is “business as usual” in many U.S. Attorney’s offices. If true, this is deeply
                distressing. We welcome any information showing that the Department of Justice is issuing
                guidance to U.S. Attorney’s offices and to the BOP and USMS indicating that the Department




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takes seriously the threat posed by COVID-19 to the health and welfare of inmates in the U.S.
government’s care, as well as to the health and welfare of federal correctional employees.
         In this regard, we expect that BOP and the USMS are already implementing some
baseline public health measures, such as carrying out comprehensive sanitation and cleaning of
facilities (including visitation areas), and putting in place other safety measures, such as
designating separate bathrooms for individuals with symptoms of COVID-19. We also expect
that BOP and the USMS will enact comprehensive testing procedures as soon as tests are made
available. We trust that BOP and the USMS are already making available to inmates and
corrections officers Centers for Disease Control and Prevention (CDC)-recommended hand
sanitizer, adequate soap, and personal protective equipment. We expect that BOP and the USMS
are following CDC guidelines for workplaces, including that staff and visitors stay home if they
are sick, follow proper coughing, sneezing, and handwashing recommendations, and execute
routine environmental cleaning. We also expect that the BOP and facilities under contract with
the USMS will follow proper isolation policies and not use extended solitary confinement as a
substitute for providing proper medical care. Indeed, BOP and the USMS should work to release
all incarcerated people who test positive for COVID-19 to an external healthcare facility to
receive care.
        During this national emergency, DOJ should be doing all it can to increase social
distancing and decrease movement to prevent further proliferation of COVID-19. This means
that the Department must limit the number of inmates being brought into the system. Law
enforcement agents and line attorneys should be given guidance to desist from making arrests,
except where an arrest is the only way to stop a specific and substantial risk that the person will
cause bodily injury or use violent force against the person of another. The Department should
issue guidance to U.S. Attorney’s offices to refrain from pursuing probation, supervised release,
and pretrial release revocations as much as possible, and only focus on those which are
immediately essential to address. Pending warrants should be recalled, in all but exceptional
cases, in favor of summons; arrests on technical supervision violations should be barred. Line
lawyers should not be reflexively seeking detention in court, but should give serious
consideration to whether the person they seek to detain poses a risk of serious injury to a
reasonably identifiable person. They should also take into consideration whether the person is
pregnant, whether they are 50 years old or older, and whether they suffer from chronic illnesses
such as asthma, cancer, heart disease, lung disease, diabetes, HIV, or other diseases that make
them vulnerable to COVID-19 infection.
           DOJ and BOP must also do all they can to release as many people as possible who are
currently behind bars and at risk of getting sick. Pursuant to 18 U.S.C. 3582(c)(1)(A), the
Director of the Bureau of Prisons may move the court to reduce an inmate’s term of
imprisonment for “extraordinary and compelling reasons.” We urge you to use this existing
authority and consider moving courts to release federal inmates who are vulnerable to COVID-
19 (for instance, persons who are pregnant, who are 50 years old and older, and who suffer from
chronic illnesses like asthma, cancer, heart disease, lung disease, diabetes, HIV, or other diseases
that make them vulnerable to COVID-19 infection). In addition, the BOP should immediately


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reassess, under 18 U.S.C. 3621(b), every person with 36 months or less remaining on their
sentence to determine if they can serve the last year of their sentence in community corrections
and home confinement, rather than in a correctional institution. DOJ should use all available
powers and authorities, including executive clemency, commutation, furlough, compassionate
release, and parole, to reduce the number of federal prisoners in jails, prisons, and other
community-release-based programs housing large numbers of people. Where possible, DOJ
should create new emergency mechanisms to reduce imprisoned and incarcerated populations.
         Finally, DOJ must make every effort to provide for transparency and communication.
We urge you to release information about the number of COVID-19 cases that exist in BOP and
USMS contract facilities, that you provide prompt and accurate information about any fatalities
from COVID-19, and that BOP and the USMS provide regular, timely, and up-to-date
information to attorneys and families of those in custody who are ill with COVID-19. Moreover,
DOJ must ensure that inmates are able to communicate with their loved ones and with their
attorneys during these difficult times. One way to ensure this, in addition to maintaining family
visitation wherever possible, would be to provide free telephone, video, and e-mail
communication, as well as full access to postal services, particularly in places where in-person
visits are curtailed or restricted because of COVID-19. At all times, DOJ must also guarantee
that the attorney-client privilege is preserved and respected and that attorneys are able to
maintain in-person visits with their clients wherever possible, as well as confidential telephone
calls and video teleconferencing where available.
        Please confirm that each of the measures discussed above is being implemented and, if
not, why not. In addition, if there are other measures to address COVID-19 that the Department
is considering and undertaking, besides those we have outlined here, please communicate them
to us. We look forward to working together to help alleviate this crisis.
                                             Sincerely,

               
                    Jerrold Nadler                               Karen Bass
                      Chairman                         Chair, Subcommittee on Crime,
                                                      Terrorism, and Homeland Security

cc:    Jim Jordan, Ranking Member
       John Ratcliffe, Ranking Member
       Subcommittee on Crime, Terrorism,
       and Homeland Security




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                  EXHIBIT L




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                                     WASHINGTON , DC 20510




                                        March 23 2020


The Honorable William P. Barr
Attorney General
U. . Department of Justice
950 Pennsylvania Avenue
Washington, DC 20530

Director Michael arvajal
Federal Bureau of Prisons
  . . Department of Justice
 20 First treet
Washin!!ton, D. . 20534

Dear Attorney General Barr ar1d Director Carvajal:

        On Mar·ch 13 2020 President Trump declared a state of emergency concerning the no el
coronavirus disease OVID-19 outbreak. We write to express our serious concern for the
health and wellbeing of federal prison staff and inmates in Federal custody especially tho se who
ar·e most vulnerable to infection and to urge you to take necessary st ps to protect them,
pa1ticularly by using existing authorities under the First tep Act (F A .

        We have reviewed the Federal Bureau of Prisons (BOP OVID-19 Action Plan which
covers health screening, limits on outside visits, staff travei and inmate transfers but notably
does not include any measures to protect the most vulnerable staff and inmates. The enters for
Disease ontrol and Prevention CD bas issued guidance indicating that adults o er 60 years
old and individuals with chronic medical conditions such as lung disease heart disease and
diabetes, ar·e at a higher risk of contracting COVID-19 and suffering more severe illness and
death. The DC has ad ised thes individuals to avoid crowds and stay at home as much as
possible. Conditions of confinement do not afford individuals the oppo1tunity to take proactive
steps to protect themselves, and prisons often create the ideal nvironment for the trar1smission
of contagious disease. For these reasons it is important that consistent with the law and taking
into account public safety and health concerns that the most vulnerable inmates ar·e released or
transferred to home confinement if possible.

          OVID-19 is an unprecedented crisis for our nation, including our inmate population.
However ongress has equipped BOP and the Department of Justice (DOJ with tools to use to
maximize their efforts to overcome these daunting times. For example the F A reauthorized and
expanded the Elderly Home Detention Pilot Pmgram to place eligible elderly and terminally ill
inmates in home confinement. Tb.is pilot program permits the Bureau of Prisons (BOP to
transfer nonviolent offenders to horn detention if they are sixty year-s or older ar1d ha es rved
  3 of their term of imprisonment ar11ong other requirements. We call on BOP ar1d DOJ to




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review and expedite the current cases where the Elderly Home Detention Pilot Program would
allow for an early transfer – where appropriate – of terminally ill and eligible elderly inmates to
home confinement. Since elderly offenders are the most vulnerable to infection and the least
likely to reoffend, we urge BOP’s speedy review and processing of these cases for early release.

        In addition, the FSA reformed the compassionate release program for people facing
“extraordinary and compelling” circumstances. However, since enactment, BOP has opposed
the vast majority of petitions. According to a report recently filed by BOP, in 2019, 1,735
requests for release were initiated by or on behalf of inmates, of which 1,501 were denied by
wardens and 226 were forwarded to the BOP Director. Of these 226, BOP approved only 55
requests and denied 171 requests. We urge you to immediately issue guidance requiring that
“extraordinary and compelling” circumstances be interpreted more broadly and clarify that such
circumstances include vulnerability to COVID-19.

        Finally, Section 602 of the FSA directed BOP, to the extent practicable, to transfer lower-
risk inmates to home confinement for the maximum amount of time permitted under the law,
which is the shorter of 10 percent of the term of imprisonment or six months. Given the current
state of emergency, we urge you to consider the use of this authority to quickly transfer non-
violent offenders who are at high risk for suffering complications from COVID-19 to home
confinement.

       Thank you for your time and consideration. We look forward to your prompt response.

                                             Sincerely,




 ________________________                           _______________________
 RICHARD
 U HARD J.  J. DURBIN
               DURB                                 CHARLES E. GRASSLEY
 United States Senator                              United States Senator




 ________________________                           ________________________
 PATRICK LEAHY                                      MIKE LEE
 United States Senator                              United States Senator




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AMY KLOBUCHAR                         MIKE CRAPO
United States Senator                 United States Senator




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SHELDON WHITEHOUSE
                                      ________________________
                                      THOM TIT
                                      THOM   TILLIS
                                                 .T .T.
United States Senator                 United States Senator




________________________              ________________________
RICHARD BLUMENTHAL                    KEVIN CRAMER
United States Senator                 United States Senator




________________________              ________________________
ELIZABETH WARREN                      MAZIE K. HIRONO
United States Senator                 United States Senator




________________________              _______________________
CORY A. BOOKER                        KAMALA D. HARRIS
United States Senator                 United States Senator




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                 EXHIBIT M




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                 U.S. Department of Justice
                 Federal Bureau of Prisons
                 United States Penitentiary



                                                       USP VICTORVILLE, CALIFORNIA 92394

                                                        April 9, 2018
United States Parole Commission
Washington D.C.
Re: Inmate Shakur, Mutulu
Reg. No. 83205-012

Dear Commissioners,

This letter is in reference to Mr. Shakur a Federal inmate who is
currently housed at the United States Penitentiary (USP) Victorville,
California.  I became familiar with Mr. Shakur while assigned as the
Associate Warden who oversees Correctional Services as well as the
daily operations at the United States Penitentiary (USP) Victorville.
My efforts regarding my occupation encompass an objective hands-on
approach to both the interaction with and management of the inmate
population.

From my observation and that of my colleagues, it is widely held that
excluding the nature of Shakur's convictions he has consistently
dedicated himself to maintain character that is consistent with our
goals of the safe and orderly operation of our facility, program
involvement and he's demonstrated a personal initiative to enhance the
overall environment' to which he is engaged by maintaining a degree of
respect across the various prisoner groups and my staff.    Further, I
have been told this pattern has been consistent throughout  the
duration of his placement here; as evidenced by his direct involvement
in intervention of racial conflicts as it has been specifically
reported to me.

In review of Shakur's institutional record it is apparent that his age
and lack of violence (or other disciplinary issues) indicate a desire
towards his rehabilitation.    I am aware of the controversy related to
a previous incident used as a basis for his 2016 parole denial and it
is my professional opinion conduct related to his 2013 Code 297 phone
incident report does not reflect a lack of rehabilitation or a
disrespect for institutional policies and authority.

In conclusion, I offer this letter as a recommendation for the parole
of Inmate Shakur based on my observations and interactions with him.
My years of experience with the Bureau has made me quite astute to the
judgment of men and their character.  I sincerely believe if given the
opportunity, Mr. Shakur will not re-offend and will abide by the law
and be an asset to the overall environment and community.

                                              Respectfully submitted,

                                              Associate Warden S. Keilman


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                  EXHIBIT N




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                                                     Carlyle Holder ::\.finistries




                                                                                              March 18, 2020
 Re: Letter of Support - Dr. Mutulu Shakur

 To Whom it May Concern:

 As a re!ir~d ~arden and founder of C. I. Holder Ministries, a not for profit organization whose
 c?~e m1ss10n Is to provide support services and assistance to the formerly incarcerated    returning
 citizens and their families, I write this letter of support for Dr. Mutulu Shakur with th;
 und~rstanding t~at one ~ay question my motive for such support. However, to set the record
 straight, I am domg so with the full understanding that prior to my retirement Dr. Shakur made a
 very dumb and stupid mistake by illegally recording a short video message to his supporters. He
 was deeply remorseful and took full responsibility for his actions and personally apologized to
 me. Although at the time I was very disappointed, I knew it was a knee jerk action on his part
and not the model prisoner I had become to know. I am also a believer in forgiveness,
redemption, restoration and second chances which was the motivation for me to write my first
book, "Can Anything Good Come Out ofPrison, The Case for Prison Restructuring and
Reintegration". As such, my conscience would not let this one incident negate or negatively
impact all the positive things he did during my tenure as his warden to go unrecognized. He was
a mentor and facilitator of the many programs we implemented to engage and empower the
young men serving long sentences which created a safe environment for both staff and inmates
through our Person First Model of Restructuring, Reunification and Reintegration. With this
model we ensure and simultaneously train and retrain inmates through our many programs to
reduce risk which provided a safe humane environment for rehabilitation and restoration. Dr.
Shakur supported this model and was well respected by both staff and inmates alike the way he
conducted himself. As a result, there was very little violence normally associated with a high
security level facility such as ours and gave us the reputation as one of if not the safest
penitentiary in the system at the time.

In closing, today we are at the center of an intense national debate about criminaljustice and
prison reform and the need to reduce our prison population through such method as parole and
sentencing reform. I have been retired for over 12 years and I am assuming that Dr. Shakur has
taken the necessary steps through his commitment to change to prepare himself by maintaining a
positive prison record which supports his efforts for a second chance. The reality is that prison
leaves an indelible impact on the lives of those who serve time, and the survivors of crime.
Therefore, our resolve must be one of parallel commitment to all involved. I am a strong
supporter and believer in restorative justice that restores the victims and survivors of crime,
while also ensuring that offenders are rehabilitated so they too are restored and the risk of them
reoffending is reduced. I trust he will be afforded the opportunity of a second chance.




                         C.l. Holder Ministries, 604 N. Highway 27, Minneola, Florida 34715

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Ifl maybe of further assistance, please feel free to contact me.




Carlyle I. o de
Founder/President
ceo@thecmcg.com




                            C.l Holder Ministries. 604 N. Highway 27. Minneola. Florida 34715
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                  EXHIBIT O




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              JOHN MATTHEW FABIAN, PSY.D., J.D., ABPP
          BOARD CERTIFIED FORENSIC & CLINICAL PSYCHOLOGIST
              FORENSIC & CLINICAL NEUROPSYCHOLOGIST
 __________________________________________________________________________________________
    ▪5716 W US Hwy 290, Suite 110 Austin, TX 78735 ▪North Loop 1604 East, Suite 150 San Antonio, TX
         78232 ▪Telephone: 512.487.7216 ▪Fax 512-840-1980▪Email john@johnmatthewfabian.com



                    FORENSIC PSYCHOLOGICAL EVALUATION
                 FORENSIC NEUROPSYCHOLOGICAL EVALUATION
                        PRE-PAROLE RISK ASSESSMENT

                          United States of America v. Mutulu Shakur

                                              4/5/16


DEFENDANT:          Mutulu Shakur (Jeral Wayne Williams)
DATE OF BIRTH:      08/08/1950
AGE:                65 Years
ORIGINAL CHARGES:   Finding of Judgment RICO Conspiracy
                    RICO Substantive Bank Robbery
                    Armed Bank Robbery
                    Bank Robbery Killings
SENTENCE:           60 Years
DATE OF EVALUATION: 03/29/2016

LEGAL REFERRAL:

Mr. Peter Schey, attorney for the Center of Human Rights and Constitutional Law, contacted me to
examine his client, Mr. Mutulu Shakur, for a forensic psychological evaluation, a formal violence
risk assessment, and psychological evaluation pursuant to a parole hearing in April 2016.

STATEMENT OF NON-CONFIDENTIALITY/INFORMED CONSENT:

Mr. Shakur was informed about the nature and purpose of the evaluation and its limits of
confidentiality in front of his attorney. He was able to understand these issues and agreed to
proceed.

SOURCES OF INFORMATION:

   1.   Forensic and Clinical Interview
   2.   Discussion with his attorney, Mr. Schey
   3.   Level of Service Inventory, Revised (LSI-R)
   4.   Personality Assessment Inventory (PAI)
   5.   Inventory of Offender Risk, Needs, and Strengths (IORNS)
   6.   Beck Depression Inventory-II (BDI-II)
   7.   Static 99R
   8.   Hare Psychology Checklist-Revised (PCL-R)
   9.   U.S. Department of Justice records



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   10. Inmate Support Group Proposal
   11. Talking Papers 03/27/2016
   12. FOIA Document Excerpts
   13. Appeal of Interim Parole Hearing Decision, 03/29/2005, U.S. Department of Justice
   14. Various Appeal Records
   15. Judgment and Probation Commitment Order, Docket Number 0031-01
   16. United States District Court Pre-Sentence Report
   17. Federal Initial Pre-Hearing Assessment
   18. Family letters in support of parole of Mutulu Shakur

BACKGROUND FAMILY HISTORY:

Mr. Shakur was born in Baltimore, Maryland. His biological mother’s name was Dolores Parker
and his surrogate father’s name was Salddine. His parents were not married. He did not know
who is biological father was. He described Salddine as a merchant seaman. He said his mother
was blind. He said at birth he lived with his mother until about 4 years of age. His mother had
deteriorated eyesight over time. He said, “Me and my sister, Sharon, who was two years younger
(half-sibling with the same mother), lived with my mom.” He described his mother as being in
and out of the hospital and she was unable to “accompany us.” Mr. Shakur essentially said his
mother was unable or incapable of raising the children- she had difficulty “accompanying us.”
He stated that her eyesight and blindness had severe consequences as to her ability to raise the
children. He said, “She really could not be with us most of the time. She would have to leave us
with cousins and friends up to about age 6. I remember my uncle Johnny (grandmother’s
husband’s brother-in-law) took us to New York and then I lived with my maternal grandmother
named Ruth Lloyd. I lived with Ruth and she was really the anchor of the family and had a lot of
impact on me. My mom would then come around and visit as well. I always had a bed
somewhere to stay.”

Mr. Shakur reported that he was always loved and taken care of by family members, but he did
lack a consistent upbringing by his mother because of her medical condition. When I asked him
about moving around a lot during childhood, he did acknowledge this, and then stated that this was
the way it was and that he felt well taken care of. He then stated that his father figure, Salddine,
helped raise him, and there was another man, Herman, who was also a father figure in the home.
He reported “some older guys like Herman would see me and connected with me.” He stated he
had some father figure type of role models but never knew his biological father. He did not share
much information, thoughts, or feelings as to how his lack of biological father figure impacted his
early development.

Mr. Shakur reported growing up in Queens and Jamaica area of New York. He reported there was
some poverty in different areas and he was exposed to this. He also said he lived in the middle
class areas where there were middle class black families.

I asked him again about his relationship with his mother, and he stated, “We were close. She
wanted me to grow up independently.” He stated that his mother struggled with being able to
provide for her children because she was unable to work. He said at times he would go months
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without seeing his mother, but he usually saw her every few days and about twice per week. He
said he was close with her. He reported, “It was really a day-to-day routine that I had to learn
quick to be independent because my mother could not do everything for us a typical mother would
do. It was really my grandmother and my mother who raised us. My mom, at times, lived in
Baltimore and my grandmother lived in New York. Other times, both of them lived in New York
and my mother was nearby.” He described his grandmother as being “the reinforcement, really
what you’re doing day-to-day when you’re young.”

Mr. Shakur denied a history of any type of physical or sexual abuse. He said, “I really was an
independent guy and had to live much of my childhood on my own. In much of my childhood, I
lived with Ruth and then my grandfather, who was a step-grandfather named Churne. I then had
my own apartment in high school when I was about age 16. I was really independent. I
remember living with my grandmother and she also raised some independence in me.”

He described his mother as depressed and also blind. She eventually received SSDI for different
medical conditions. He described her as a very strong woman. He stated his mother was not
involved with a number of men and he did not have step-father figures from relationships that she
had. Some of the men who touched his life, such as Herman, were guys in the community who
knew the family and stepped in to help out. He stated he did search for his biological father for
years but never found him. He felt at peace with this.

Due to his independence, he stated that he lived in an apartment by himself at 16 years of age and
worked early in his life. He said, “I had a job and got an apartment. I was working at AAA in
maintenance, and I was self-sufficient early on. I also worked at A&P and learned how to take
care of myself.”

I asked Mr. Shakur about prior trauma. He stated, “I’ve seen a lot. Things were not as traumatic
when you have a mother that’s blind. I remember I was her seeing eye dog. People would look
at my mom funny. She would at times not be dressed up, she had difficulties with looking good,
she would stumble and use a cane, she would trip and fall, and she had to stand in the welfare
cheese line. Things were different in that cheese line with a blind mother.” He stated that
instead of feeling embarrassed or ashamed, he felt proud of his mother and realized her struggles
early on.

Mr. Shakur reported again having a good connection with his biological grandparents. He denied
a history of domestic violence with them. He again described Ruth as his anchor in life. He
reported no history of sexual abuse. There was no evidence of natural disaster such as hurricanes,
floods, tornadoes, or house fires.

Mr. Shakur also witnessing other traumatic experiences. There was violence within the streets.
He recalled one time seeing someone searched and hit in the head by the police. The police shot
this individual in the back. Around age 16 or 17, there was a school strike for better schools in the
Jamaica area. Police were called in; they came in and beat some of the children. He said, “I
remember running. It was really unnecessary, this police violence. There were drugs in and on
the streets. I have seen men killed over drugs. I’ve seen serious domestic violence that would
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turn someone’s stomach. There was a lot of gang violence in the community. I felt trapped as a
person in school, and I wanted to get a good academic education. Segregation just happened.
There were also a lot of Vietnam guys coming back home addicted, and they would get involved
with domestic violence, and I saw it all.”

Essentially, Mr. Shakur stated that he grew up in a very political time of Vietnam and segregation.
At times, he was living in more of an urban area of New York City where there was exposure to
street violence and domestic violence as well as drug addiction and gang activity. Other times he
was residing in more of a black middle-class neighborhood with less exposure to these issues.

Federal Presentence Report Background History

The prior federal pre-sentence report indicated that Mr. Shakur had a sister named Dolores Porter
who was born in Williamstown, North Carolina. There were questions as to his biological father
named Willie McCullough who was a native of North Carolina. Shakur never knew his father as
Mr. McCullough and neither resided nor maintained contact with the family. Mr. Shakur’s
mother married James Porter and they produced a child, Sharon. The mother reported this
relationship was problematic due to her husband’s alcoholism and they separated by 1953 when
Mr. Shakur would have been about 3 years of age. The mother suffered from glaucoma and lost
her eyesight in 1954 when Mr. Shakur was about 4 years of age. She relocated the family to
Jamaica, New York, with her parents who were Reverend and Mrs. Churne Lloyd. Ms. Porter
received financial support from her parents and also worked for the Industrial Home for the Blind.
She also worked as a nurse’s aide in the Baltimore Hospital.

The mother described Mr. Shakur as having been an extremely sensitive and tender-hearted child
in adolescence. As he developed, he became sociable, outgoing, and made friends. She related
that he was a good student while attending Sharman Junior High School and that he graduated
from Thomas Edison High School, which is a vocational school. He was respectful to adults and
attended church regularly where he was a member of the choir. There were no significant
problems in the family. The subject and his sister were very close. Later on, Mr. Shakur lived at
home while working at the Lincoln Detoxification Center while he was in his early 20s, at which
time he helped support his family. Ms. Shakur then went to Canada to study acupuncture and
subsequently established an independent residence in Manhattan, but he always maintained
contact with his family. Ms. Porter stated that she and several of her neighbors visited Mr. Shakur
at the clinic for acupuncture treatments. She found them painful, but several of her friends found
relief from his treatments after conventional medical procedures had not been helpful.

She described herself as a devout Christian and that her son, Mr. Shakur, converted to Islamic faith
and changed his name. She described him as never being family and believed he had great
feelings of humanity. Therefore, she had difficulty believing that he was involved in any offenses
in which he had been convicted.

Mr. Shakur’s sister, Sharon Howell, was born in 1952 and is two years younger than Mr. Shakur.
She reported that her father had remained with the family for about two years after she was born
and the family moved to Queens and lived with her grandparents when she and the defendant were
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children. Her grandparents bought a house in Queens, and her mother settled the family in a quiet
residential area in Queens when Mr. Shakur was about 11 years of age. She described the family
as being a close-knit family.

Afeni was also interviewed and stated she was a member of the Black Panther Party. She and Mr.
Shakur belongs to the Republic of New Africa. She and the defendant became friends and lived
together for about three years in the 1970s. At that time, Mr. Shakur was employed at the Lincoln
Detoxification Center. They were highly compatible. They shared a culturally rich life and
informed blacks against abuse and drugs while performing similar political work. She reported
that he had been involved with grass roots advisory councils and understood political movement.
He came from a real community which led to his involvement in the Republic of New Africa. She
stated that she had gravitated to the more violent Black Panther Party because she had less
experience with community-based organizations as Mr. Shakur did.

While they remained good friends with basic capability, she and the defendant should never have
become lovers. They had a child names Sakyiwa Shakur, born on 10/03/1975, who had always
lived with Afeni. After their separation, Mr. Shakur was very close with his daughter and was
then later a fugitive who provided financial support and was very generous to the point of
over-indulging her. Their separation was caused by his relationship with Moto Ndoni who was Mr.
Shakur’s coworker at the Lincoln Detoxification Center. Mr. Shakur and Ms. Ndoni produced a
son, Aize, in 1974. Although Mr. Shakur was under pressure from Ms. Ndoni to separate from
Afeni, the defendant did not do so. Mr. Shakur and Afeni lived together for a couple of years, but
she was unable to accept his relationship with Ms. Ndoni, which resulted in their separation in
1976.

Churne Lloyd is Mr. Shakur’s uncle. He advised in the pre-sentencing report that he was raised in
the same household as Mr. Shakur until he was about 12 years of age. He stated the family
gathered frequently. Mr. Lloyd recalled that there were no serious conflicts and no problems in
the family. The step-grandfather named Reverend Churne Lloyd was described as having been
accepting of Mr. Shakur’s independent concepts. Mr. Shakur was very close with the
grandmother. Mr. Lloyd noted that Mr. Shakur became involved in political activities as an
adolescent at about age 15 or 16 with a black student group in the high school. He volunteered to
work with anti-poverty programs and joined progressive democratic clubs. Eventually, while
working with the NAACP, Mr. Shakur became frustrated with the pace of change and transitioned
toward radicalism. He recalled the defendant was always outgoing and very concerned about
social issues. Despite the nature of the severity of the criminal charges, Lloyd did not believe that
Shakur was of a criminal nature.

ACADEMIC HISTORY:

Mr. Shakur reported attending public schools. He attended elementary school, including three of
them at PS45, PS160, and PS123. He said he moved around a lot, depending on where his mother
and grandmother lived. He attended 142nd Junior High. He described this as one of the worst
schools in the system. He commented, “We had 18 or 19 year olds and they were attending
school with us. There was teacher instability. Some teachers were good and others did not really
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want to be there. We learned a lot, but it was like gang activity and pregnancy and the way of the
world rather than book learning.”

He stated that he ended up in the right school eventually at Thomas Edison in Queens. He
graduated from high school there. He said this was a “good technical school.” He liked this
school quite a bit more so than his junior high school. He said he was getting more politically
active by the time he left high school. He realized the racial disparities and had seen a lot from a
young age. He had also seen his mother be on welfare, standing in a cheese line, and struggling
with blindness. They were very poor. He also witnessed a lot of gang violence and criminal
activity in the streets, often spearheaded by young black men. He always questioned the
disparities in crime, welfare, and opportunity. He wanted to make a change in the community.

Mr. Shakur reported his high school grades were good. He was truant for about one year. He
would attend school for about a half day and then leave school. He did pursue technical and
school work there. He denied being suspended or expelled. He reported being considered for
class president, but then ran for the treasury. He denied any history of grade failures. He denied
any type of special educations or behavioral placements.

Mr. Shakur was very interested in acupuncture and eventually pursued education in acupunctural
training. He learned massage and was interested in treating drug addiction with acupuncture.
He stated that he witnessed significant drug-related violence and addiction in the street, and he
perceived that acupuncture could be a mind-body treatment for addiction. He later on developed
research relevant to drug addiction and acupuncture and then linked acupuncture to detox
programming. He eventually was offered opportunity to train in acupuncture in Canada and also
developed a Lincoln Hospital and Detox Center between 1970 and 1979, where he ran and worked
the facility. He also worked at different hospitals in the acupuncture field.

MILITARY HISTORY:

Mr. Shakur has no military history.

EMPLOYMENT HISTORY:

Mr. Shakur reported working as a young male around 16 years of age. He worked at AAA in
maintenance. He also reported living in his own apartment around that age. He stated that he
worked as a teacher’s aide from 16 to 19 years of age. He worked at different public schools. He
then ran a program for HUD and was an administrator. He opened up a Job Corps in Queens. He
worked for the Commission for Racial Justice confronting racial issues. As noted, he pursued
acupuncture training in Canada and received his doctorate in acupuncture. He eventually found
the Lincoln Hospital and Detox Center. He was actively involved in that program, blending
acupuncture with detoxing and addiction.

When asked about his activism, he stated he again had a lot of social concerns. He said, “I was
really into the culture, and I wanted to do change. I had a lot of friends, and I was a favorite
around town. I was very concerned about issues, such as racial disparity, racism, and equal
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opportunity.”

He added that he wanted to contribute to the struggle and establish an independent nation at one
time. He said, “At that time, there were desperate times. I was really influenced by a lot of
people at that time and became part of the Black Panthers. I believed at that time I could make a
better tomorrow and had the right to do, think, and speak.”

The PSR indicated that Mr. Shakur was involved in establishing a drug certification program at
Lincoln Hospital in the Bronx. He adopted the concept of treating drug addicts with acupuncture,
particularly to reduce withdrawal symptoms. He was required to practice under a research
protocol through a licensed physician. The defendant’s sponsor was Richard Taft of Lincoln
Hospital. He advised that when legislation was introduced in 1975 in New York and
Massachusetts establishing safeguards and standards for non-doctors to be acupuncturists and
Lincoln Detoxification Program was in the forefront. He stated that the program was attacked for
political reasons by the New York City government and was shut down. He eventually bought a
building in 1979 through fundraising events and contributions and opened the Black Acupuncture
Advisory Association of North America (BAAANA). He said the clinic was not supported by an
unlawful underground operation, but it was funded through affordable fees paid by the clients,
tuition received from acupuncture students, and donations. He also received training at the
Quebec Association of Acupuncture in 1971 and the International Association of Acupuncture of
Montreal from 1972 to 1976. He was licensed as an acupuncturist by the State of California in
1977. He stated that BAAANA and the clinic was used as a nonprofit agency and the primary
function of the center was to help the community.

During the course of the current evaluation, Mr. Shakur has continued to state that he did not
commit any prior violent acts and did not much take accountability for the prior offenses that were
regarding his RICO offenses. He stated that he was an activist rather than a criminal. He stated
he never had any agreements or conspiracies to commit violent acts against anyone.

RELATIONSHIP HISTORY:

Mr. Shakur has been legally married once to Mekini. He reported having six children, but only
three of them are his biological children and the other three are not. He said he was also involved
with Afeni and she currently lives with California. He plans on living with Afeni Shakur. He
said he wanted to live with her and her daughter, Sekyiwa. He said they visited him in the BOP
occasionally.

Mr. Shalur had relationships with Afeni Shakur and they had a daughter, Sekyiwa, together.

MENTAL HEALTH HISTORY:

Mr. Shakur did not believe his mother used alcohol and drugs during her pregnancy with him. He
reported no evidence of birth complications.            Mr. Shakur reported no history of
neurodevelopmental conditions, such as ADHD or learning disability. He reported no significant
childhood medical issues. He denied a history of speech or language pathology. He reported no
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evidence of setting fires, burning property, destroying property, or hurting animals for example.
He reported no significant history of fighting behaviors. He reported as a youth he did not
experience any hearing, language, vision, or speech problems. He denied significant symptoms
consistent with oppositional defiant disorder or conduct disorder.

During the current evaluation, Mr. Shakur reported no inpatient psychiatric treatment history. He
said he may have seen a mental health professional before his instant offense, but he could not
recall why and with who. He denied a history of psychiatric symptoms such as bipolar disorder
and mania, depression, psychosis, delirium, PTSD, or anxiety. He reported no evidence of
suicidal or homicidal ideation, plan, or intent. He has no history of self-mutilation, by report.
He reported that after his son died (Tupac Shakur), “I was put in the hole and I was there for some
emotional episodes. I had some fleeting suicidal thoughts.” He reported his mood is usually
stable. He denied problems with anger or aggression. He reported no evidence of psychosis,
such as hallucinations or delusions. He reported seeking out mental health treatment through the
BOP consistently throughout his prison history. I do not have any mental health records
regarding this information, but he did state that he would seek out counseling and he denied every
seeking out psychotropic medications.

BOP records indicate that Mr. Shakur was involved with therapy. There was no Axis I or Axis II
diagnosis. He was involved with individual therapy with goals of assessing healthy mechanisms
for dealing with the processing of aging, reduced feelings of environmental stress, develop a sense
of wellbeing within the environment, clarify values and goals especially as they relate to family
and friends, rehearse positive communication skills and improve time management skills. He
expressed interest in developing insight and increase sense of connecting with others and improve
the level of wellbeing within his environment through peer group affiliation.

MEDICAL HISTORY:

Mr. Shakur is getting older now, and he has had some medical issues. He said he had a stroke in
the year 2013 or 2014. He said that he had difficulties with his right leg and right eye. He had
dysarthria with evidence of speech difficulties. He denied any neurocognitive deficits after the
stroke, such as problems with attention or memory. He said he had gangrene in one of his legs.
He said he has esophageal stomach infection and high blood pressure, and he was recently tested at
130/76. He has had high sugar levels and currently weighs 185 pounds and stands 5 feet 9 inches
tall. He has no evidence of concussions, traumatic brain injury, or seizures. He reported his
sleep is good. He sleeps about 8 to 10 hours per 24-hour period. He wakes up at about 5 a.m.
He stated his iron is low and he needs to rest more. He reported his appetite his good, and he
denied weight gain or weight loss.

Desert Valley Hospital records in Victorville, California, indicated that Mr. Shakur had a stroke,
cerebrovascular accident on 03/21/2013.




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SUBSTANCE USE HISTORY:

Mr. Shakur reported using marijuana and would smoke two or three puffs per day, “if it was good
marijuana.” He denied using marijuana all day long or smoking in large amounts or having
problems controlling his use. He believed rather that he could control his uses. He said that he
liked taking a couple of puffs here and there each day. He denied anyone ever telling him that the
marijuana affected his life functioning.

In 1991, the Federal Bureau of Prison (BOP) noted a violation of morphine positive at Lompoc
Bureau of Prisons, which he denied. He stated he never had taken any illegal drugs while serving
time in the BOP. He denied ever using illegal hard drugs, such as PCP, heroin, cocaine,
methamphetamine, etc., while in the community. He stated he did not like alcohol. He has used
alcohol in the past, but he denied ever using it excessively or developing tolerance, withdrawals,
blackouts, or having problems controlling his use. He denied a history of DUIs.

LEGAL HISTORY:

There was a U.S. District Court, Southern District of New York, Pre-Sentence Report dated
07/28/1988 developed and written for his instant offense. He was convicted on all counts
regarding RICO conspiracy, armed bank robbery, and bank robbery killings in 1988. This was a
conviction by jury trial in front of Honorable Charles S. Hight. His prior criminal history includes
the following information:

      11/07/1968, age 18, grand larceny, second degree, disposition unknown. He was charged
       as Jeral Wayne Williams. According to King County Clerk’s Office, the case was
       presented to the grand jury on 12/09/1968. The Supreme Court Clerk’s Office in King
       County advised they were unable to locate a disposition for this case.

      05/01/1970, age 19, possession of a dangerous drug, six degree, dismissed.

      02/11/1986, age 35, racketeering conspiracy, participating in racketeering enterprise, bank
       robbery two counts, armed bank robbery two counts, bank robbery murder two counts,
       conviction.

      Pending charge, 04/07/1986, age 35, armed robbery, carrying a weapon five counts,
       Superior Court Essex County, New Jersey. Detainer was filed on 04/07/1986. This was
       an allegation that on 12/19/1978 in Livingston Township, New Jersey, Mr. Shakur and
       Nathan Burns, Larry Mack, and Marilyn Buck forcibly robbed in excess of $200,000 from
       James O’Connor. The defendants were in possession of a 0.9 mm weapon when robbing
       O’Connor. The defendants forcibly robbed in excess of $200,000 from Francisco
       Jueguen, and they were in possession of a 0.9 mm automatic weapon while perpetrating the
       robbery. The alleged defendants were in possession of a 0.9 mm automatic weapon on
       12/19/1978, and this was a pending case.


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On 08/02/1988, Mr. Shakur was sentenced to U.S. District Court, Southern District of New York,
to an aggregate term of 60 years. The term was compromised of convictions for racketeering,
conspiracy, participating in racketeering enterprise, bank robbery, armed bank robbery, and bank
robbery involving a murder.

The pre-sentence report in 1988 indicated that Mr. Shakur had not made himself available to the
probation to be interviewed and it was not possible for them to provide an assessment as to any
level of the defendant’s conduct, despite the comments of the subject’s family, which had been
recorded and noted.

The pre-sentence report overview of the government’s version of the charges indicate that Mutulu
Shakur and Marilyn Buck were convicted related to a relationship in a criminal enterprise
organized in approximately late 1976 and continued through and beyond October 1981, including
robbery and murders at Nyack and Nanuet, New York. It was said that criminal enterprise was
initially formed by Mutulu Shakur and co-racketeer Cecil Ferguson as a means of committing
crime in support of black revolutionary movements in this country, as well as providing economic
support for certain enterprise-affiliated organizations, such as Shakur’s acupuncture clinic. The
enterprise group included primarily five black men including Mr. Shakur, Odinga, Weens, Smith,
Risen, and a cooperating witness who testified at trial for the government, as well as several white
women known as a secondary team.

During the period from 1976 to 1982 the enterprise planned and committed a series of crimes,
including a prison breakout, armored truck robberies, and bank robberies. The criminal spree
resulted in four deaths, including the deaths of two armored car guards and two police officers as
well as serious injuries to a number of others. It was said that crimes were carefully planned and
executed with precision by Mutulu Shakur and the other heavily armed black males, usually
carrying an M16 automatic rifle, shotgun, and 0.9 mm handguns. Those men were supported in
the commission of their crimes with Marilyn Buck and the other secondary team members who
assigned their jobs, planned escape routes, ran and drove getaway vehicles, and rented safe houses.
They were aware where there criminals stored weapons and planned crimes, returning after the
crimes and secreted fugitives.

This report indicated summaries of the various offenses, including an attempted robbery of an
armored truck parked outside the Mellon National Bank in Pittsburgh on 12/06/1976. That was a
foiled robbery attempt with Mr. Shakur apparently being present. He apparently fled from the
robbery site on a public bus and returned to NYC. The family then committed a series of crimes
including armed robberies in a meat packing plant in the Bronx, two banks in Mount Vernon, and
one back in Manhattan, and two armored trucks in New Jersey. Mr. Shakur participated in each
of one these robberies, with the exception of the Manhattan Bank. According to information
received from the known robbery victims the total amount taken was $300,000 in six robberies.

There was another offense which included an escape from a prison, in which Mr. Shakur and
others circled the prison in a van and provided backup security with weapons. Some of these
individuals entered the prison, along with two kidnapped prison employees, and drove out of the
prison grounds in a commandeered prison van to a nearby school. Therefore, this was a
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kidnapping type of offense. There were getaway cars in which they smuggled Chesimard through
to the Caribbean Islands.

There was another Inwood robbery on 04/22/1981, in which the enterprise men successfully stole
approximately $521,000 from a Purolato armored truck in Inwood, Long Island. Mr. Shakur and
others were the alleged perpetrators. They surveyed the area in advance and carefully formulated
a plan for both the robbery and the getaway. Apparently, Mr. Shakur drove a station wagon and
they approached an armored truck. They loaded the money in the station wagon. They were the
Danbury attempted robberies after the Inwood robbery. Mr. Shakur was charged with and
convicted of participating in all three attempts.

There was a Bronx robbery and murder on 06/02/1981 in which Mr. Shakur and others stole about
$292,000 from a Brinks truck in a shopping mall. During that robbery, Tyrone Risen shot and
killed Brinks guard William Maroney. Another Brinks guard was seriously wounded during the
gun battle surrounding the robbery. This robbery was the family’s third attempt to rob the
armored truck at the Boston Post Road location.

Records indicate that in approximately August 1980, the family began a series of attempts to rob a
Brinks truck in Nanuet, New York. This culminated in the 10/20/1981 robbery and murders of
Brinks guard Peter Pagen and police officers Edward O’Grady and Waverly Brown. It was Mr.
Shakur who first spotted the Brinks truck and who told his criminal colleagues that it contained a
sack so big that Santa Claus’ sled could not take it away. His original plan was that the money
from this job would be split among the individual participants with no money going to the overall
business of the family. More principled and political colleagues intervened, and the group
eventually decided the money would be used in usual ways, including part to the individual
participants and part for buying weapons, ammunition, and whatever else the enterprise needed to
continue to perform its criminal acts and part for whatever projects the group wished to support.

Mr. Shakur stated that he was not guilty of the crimes that comprised the instant offense and that
the guilty verdict was not justified by the evidence offered at trial. He said he was guilty in being
involved in a political movement that supported self-determination of black Americans and the
instant charges arose from the political warfare being inflicted on him by the U.S. government.
The subject insisted that he was not taking part in any offensive force as specified in the instant
indictment, although he does work against counterintelligence, which made him a target of the
government. He noted there was no physical evidence that connected with the instant offense and
he planned to appeal the verdict.

INSTITUTIONAL ADJUSTMENT:

The U.S. Department of Justice U.S. Parole Commission records indicate that information
contained in the BOP progress reported dated 07/14/2004 prepared by case manager D.
Jones-Dockens, revealed the subject had satisfactory institutional adjustment. He was working at
that time 32 hours per week on laundry detail. On 02/13/2003, he received a certificate of
completion of an elder inmate psychotherapy group. He maintained clear institutional conduct
for the past 36 months. He completed A&O program, a prerelease program prior to release. It
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should be noted that he was transferred to a number of different BOPs and he did have some
incident reports. He had one BOP incident report of contacting the public without permission in
which he was found to be violating the rules of institution. There was also a charge of phone
abuse, and he was found to have violated the rules of institution.

He completed an advanced spinning exercise class, an intermediate spinning class, and was a
founding member of the Coleman Penitentiary NAACP chapter. He was involved with group
psychotherapy courses and cultural diversity classes and a suicide prevention course. He had
been found to express remorse for any violence and regrets any loss of blood, whether the blood be
from any racial background.

There was a finding of being drug positive on 01/14/1991, and he consistently stated he did not use
drugs and this was a false reading. His request to have his own analysis as to DNA hair sample
test was denied. He was in the program extensively while in the BOP. He completed basic
education and further education in American history, earth science, business education, and
completed a wellness program in culture diversity.

An Original Jurisdiction Appeal summary indicated that the age of 57 he received the longest
sentence of all the offenders, which was 60 years, and he served 22 years at that time. There were
DHO actions for abusing phone privileges, possessing drug or drug items, refusing program
assignments, assault on a staff member, and unauthorized contact with the public. He received
good work reports, completed a changed psychotherapy group program, and participated in the
elder inmate psychotherapy program, organized cultural diversity activities, completed course in
victim impact, stress and anger management, suicide prevention, drug and alcohol abuse, culture
diversity, and a number of education programs.

There was another violation through the BOP as of 02/06/2013, which would have been a phone
abuse type of charge. On 02/06/2013, there was a monitored previously placed phone call by Mr.
Shakur. During this phone call, Mr. Shakur was talking about black liberation struggle,
development of strategies and tools to free political figures, giving aid and assistance to comrades
in exile, a congress of people in support of his petition for parole, Shakur was authoring a book
disguised as a historical fiction about their cause, honoring and paying homage to freedom
fighters, teaching young about low intensity warfare, counter intelligence, behavior modification,
genocide, and posttraumatic syndrome. He continued to receive support from the organization he
belongs to and his commitments and agenda from behind the walls for the past 15 years. During
this phone call, he solicited feedback and questions from the audience and answered questions
posed by the call recipient acting as a moderator. He requested to speak with Brother Glover
(Danny Glover) who was in the audience. Mr. Shakur was charged with the incident, and he said
he was not guilty of the charge. He was recommended that he lose telephone privileges and
email. It is my understanding that the BOP classified this phone call as use of telephone for
abuses other than criminal and engaging in or encouraging group demonstration. Essentially,
they labeled this event and his participating as inciting a rally.



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It is my understanding that this event was part of a black history month event in which Danny
Glover visited CSUN (California State University Northridge). This event was in part organized
by a professor there named Karin Stanford. She is a professor at CSUN. She had connected with
Mr. Shakur. On 02/05/2015, CSUN’s department of Panafrican studies, the black student union,
and the department of cinema and television arts in the black alumni association cosponsored an
event entitled, “Mass Incarceration of Political Prisoners: A Conversation with Danny Glover.”
Mr. Shakur did call in and was a participant in what Dr. Stanford described as a symposium. Mr.
Shakur called Dr. Stanford on a cell phone and broadcasted the call to the students in the room.
The phone call was about 15 minutes, and they were cut off toward the end. She stated nothing in
Mr. Shakur’s speech could be considered engaging in or encouraging group demonstration which
is the alleged infraction that officers at USP Victorville cited him for.

When I asked Mr. Shakur currently about his involvement in this issue, he had stated to me that he,
in fact, was in connection with Dr. Stanford. He stated that he had shared some of his background
history with her. They did discuss the nature of this symposium before he participated in it and
made the phone call. He stated his goal was to educate some of the audience about his
background history and also to continue to work toward eliminating racial disparity and to
promote human rights and human equality between races. He had no goal of inciting violence.

CURRENT PSYCHOLOGICAL TESTING RESULTS:

Mr. Shakur was administered the Personality Assessment Inventory (PAI) to assess for
psychopathology, personality, and emotional functioning. The results on the validity scales
indicate that he had a tendency to portray himself in a positive light by denying psychological and
emotional problems that many people would admit to. He was defensive on the protocol. The
protocol is being interpreted with caution due to his defensiveness. Despite his defensiveness,
there is evidence of distrust, hostility, and bitterness, potential physical signs of depression, and a
lack of social support. Clinically, Mr. Shakur reported no evidence of mental illness, such as
depression, psychosis, bipolar mania, PTSD, conversion or somatic disorders, or chronic anxiety.
He reported a stable positive self-image. He reported having some stress in his life but yet some
social support to help him deal with the stress. There was no evidence of suicidality or anger
problems by report. There was no evidence of any mental disorder on the protocol. Despite his
defensiveness, it is my opinion that his clinical scales would not have been elevated.

Mr. Shakur was administered the Beck Depression Inventory-II (BDI-II) to assess for current
symptoms of depression. He scored an overall 12 on the test, which would be consistent with
minimal depression and not enough evidence in my opinion to warrant a diagnosis. He reported
feeling guilty over many things he should have done. He expects and believes he is being
punished. He is more critical of himself than he used to be. He cries more than he used to. He
feels more restless or wound up than usual. He has less energy than he used to have. He sleeps
somewhat less than usual. He is more irritable than usual. He craves food all the time. He
denied symptoms related to sadness, pessimism, past failure, loss of pleasure and activities,
self-dislike, suicidal thoughts, loss of interest in activities, indecisiveness, worthlessness,
concentration difficulties, tiredness and fatigue, and loss of interest in sex.

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DSM 5 DIAGNOSTIC FORMULATION:

No Diagnosis

VIOLENCE RISK ASSESSMENT:

I considered the Hare Psychopathy Checklist-Revised (Hare PCL-R) as an assessment of one’s
criminal history and personality regarding psychopathic traits. This is a semi-structured
interview and review of his file and history with assessment of a number of psychopathic and
antisocial traits/tendencies. Such personality style includes a lack of consciousness and lack of
guilt, empty, egocentricity, pathological lying, repeated violation of social norms, varied and
diverse criminal lifestyle, etc. The purpose of the Hare PCL-R is to assess psychopathic
personality traits and the research on the Hare PCL-R correlates psychopathy with criminality and
violence. In essence, elevated psychopathic traits are correlated with general and violent
recidivism.

It is my opinion with a reasonable degree of psychological certainty that his score on the Hare
PCL-R is about 7, indicating very low and no significant antisocial and psychopathic personality
traits.

When reviewing the normative samples, a total score of 7 placed him in the very low psychopathic
group with a T-score of 31 and 3rd percentile, which would also indicate a very low and negligible
risk of recidivism of any kind.

Mr. Shakur was administered the Inventory of Offender Risk, Needs, and Strengths (IORNS),
which is a self-report inventory used to assess risk issues with offenders. The overall objective of
the IORNS would be to have a self-report risk management instrument assessing as many of the
variables related to criminal and violent behavior as possible and would reflect change in such
variables over time or treatment. This is a one-time analysis, however, with Mr. Shakur. The
test assesses both static and dynamic risk/need. Static risk factors are past behavior factors that
are static and unchangeable. Dynamic risk/need factors are changeable factors, such as antisocial
cognitions, values, and behaviors. The static factors would be prior offenses for example. Other
dynamic risk issues would be criminal lifestyle variables or self-regulation problems and
impulsivity for example. Factors such as self-esteem and intimacy problems have also been
related to consistent factors of recidivism for general violence and sexual offenses. Needs issues
include treatment and treatment compliance. This test allows for consideration of protective
strengths, as well, such as social supports.

The IORNS includes study samples with sample selection developed as a measure of offender
recidivism risk, treatment and management needs, protective strengths, and normative
comparisons to offender populations which are considered essential and of the highest relevance.
Five separate offender samples were obtained for normative purposes from the New Jersey
Correctional System, the Texas Department of Criminal Justice, and the Reception Unit at the
Washington Correction Center for Women. It should be noted that the instrument was not
looking specifically at federal offenders who have, at times, significantly different types of
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offenses. Therefore, the protocol will be considered with caution as, in my opinion, the
risk/protective/needs factors are very similar amongst state and federal offenders, but the
normative samples obviously focused on state offenders.

Mr. Shakur did not have any elevations on any of the scales. He was ultimately low in risk and
high in protective strengths. There was no evidence that he was answering the questions
inconsistently. There was some evidence that he was perceiving himself positively, free of
serious personality flaws, which is consistent with his PAI.

The Overall Risk Index reflects three domains related to risk including static risk, dynamic
risk/need, and protective strength factors. His overall score was below the 1st percentile and very
low.

His Static Risk Index assessing prior criminal offenses and issues related to recidivism was not
clinically significant in elevation. Under the Static Risk Index, the only area of elevation was for
irresponsibility regarding prior criminal behaviors. He was not elevated for pro-criminal
attitudes. There was no elevation for psychopathy or severe criminal personality. There was no
clinically significant elevation for intra/interpersonal problems, alcohol/drug problems, aggression
or negative social influences.

The Dynamic Need Index assessing criminal orientation and attitudes, esteem and interpersonal
function problems, substance, hostility and physical aggression, as well as being influenced
negative by friends or family was not clinically significant in elevation. He did report significant
environmental resources. He denied negative influences by friends or family, but rather support.
He did portray himself in a positive light.

When considering the overall findings on the IORNS, there was no significant evidence of
elevated risk issues that are static or dynamic in nature.

Mr. Shakur’s background history was also rated via the Level of Service Inventory-Revised
(LSI-R), which assesses recidivism as a way of systematically bringing together risk and needs
information, defender treatment planning, and for assigning levels of freedom in supervision.
The LSI-R has samples of many of the major and minor risk factors in order to provide a
comprehensive risk/needs assessment relevant to criminal history, companions, and
attitudes/orientation which are indicators of the major risk factors identified by theory and
research. It should also be noted that the full assessment of the LSI-R is challenged in this case
because Mr. Shakur has been incarcerated for about 30 years. Some of the factors regarding his
lifestyle once released are unknown at this time.

Overall, Mr. Shakur’s score on the LSI-R was 9. When considering the profile form for male
inmates, a score of 9 includes an 11.7% chance of recidivism when recidivism is designed as
re-incarceration with one year following release. He presents as a low-risk/needs group. His
cumulative frequency for prison inmates was 6.6%, meaning that 93-94% of the inmates would
have higher scores than him.

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I also considered other risk factors related to offending that the IORNS and LSI-R also consider.
As part of my evaluation, I considered items in a qualitative fashion on the Federal
Post-Conviction Risk Assessment. This is a scientifically based instrument developed by the
administrative office of the United States Courts. The purpose is to improve the effectiveness and
efficiency of post-conviction supervision. The tool is used to assess evidence-based practices as
the use of a risk and needs assessment tool to identify which persons to target for correctional
interventions, what characteristics and needs to address, and how to deliver supervision and
treatment in a way that optimizes positive outcomes.

I considered some of the factors on this instrument. There is no evidence that he had a community
supervision violation. His past criminal history included no evidence of juvenile offending. He
also did not have a very variable offending pattern. His institutional adjustment has been, for the
most part, positive. He did have violent offending within his current offense. He was usually
employed in the community. He usually had a good work outlook. There was no evidence of
alcohol or drug problems. Prior to his arrest and currently, he has good social support and a lack
of family problems. He will not be of single marital status and will live with his wife and
daughter. He has exhibited a motivation to change, especially regarding his prior more radical
militant attitudes about racial change and human rights versus the current more peaceful means to
demonstrate reconciliation between races. His arrest history is not significant. His age is
definitely a mitigating factor as to older age. He has maintained good educational attainment
prior to his arrest with a doctorate in acupuncture, as well as consistent educational attainment
within the BOP. There is no evidence of mental health problems, gambling addiction, or current
criminal associates by my understanding. He has not engaged in gang activity or weapons
concerns while in prison. He will have a good outlook as far as financial condition, and there is
no significant evidence of life skill deficiencies, mental impairment, or low cognitive functioning.

Finally, when considering risk of violence in general criminality, I want to consider two factors,
including the issue of age and social supports. One of the most significant risk factors and
protective factors relevant to recidivism of any kind includes older age. Age at release from
prison and older age in general has been significantly related to a diminishing and mitigating factor
in risk assessment and recidivism in general. Age in crime is especially related due to differences
biologically relevant to testosterone, levels of impulsivity and brain development, social and
lifestyle variables, intimacy in relationships, with all findings being consistent in that youthful
offenders are much higher risk of criminality than older adults. Most of the research has indicated
there is a significant drop off of criminality and violence at about 40 years of age.

Other factors related to age and violence include greater access to legitimate sources of material
goods and excitement, alcohol, sex, drugs; patterns of illegitimate opportunities with the
assumption of adults roles and opportunity is increased for crimes, negative peer associations and
lifestyles and reduced orientation to same-age and same-sex peers, and increased orientation to
persons of the opposite sex or persons who are older or more mature; cognitive and analytical
skills and brain development leading to a gradual decline in egocentrism and invisibility, poor
decision making, and risk taking; increased legal and social costs for deviant behavior; age-graded
norms, increase in maturity and responsivity; anticipation of assuming adult roles, coupled with

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reduced subjective acceptance of deviant roles and the threat those pose in entering adult status.
As individuals and offenders advance into middle and then older age, crime and violence diminish.

Importantly to this case, there is evidence of diminishing physical capabilities as one gets older,
and Mr. Shakur is about 64 years of age with a history of stroke and some medical problems.
Furthermore, Mr. Shakur has definite prosocial connections and relationships including his wife
figure and his daughter and sons. He plans on living with Afeni and their daughter, Sekyiwa. He
wants to teach a class in human rights at a local community college or university. He would also
like to continue with his acupuncture work. It is my understanding that from Afeni’s estate he
will also be given a certain amount of money (allowance) each month. He has reported
significant family support systems.

Importantly, there is also a significant risk factor that should be mentioned, which is the target of
violence and crime. Mr. Shakur’s offenses centered around some radical and even potentially
militant and violent movements by the family and his group who had conspired to fight racial
inequality and oppression through illegal and even violent means. Mr. Shakur’s offenses
included conspiracy, ultimate robbery, and bloodshed as a consequence of robbery. Importantly,
he has stated that these circumstances pertaining to Black Panther political movements, for
example, have been tempered and diminished over time.

Mr. Shakur has noted his attitudes and toleration for violence have also diminished over time.
The circumstances from the 1960s and 1970s have certainly changed, and the former tactics of
militant response have tempered to more peaceful demonstrations that support racial equality. It
is my understanding that Mr. Shakur has not had communications with anyone about racial unrest,
violence, conspiracy, etc. He is more an advocate of equal human rights through peaceful means.
He has not been involved with gang-related behaviors or the Black Guerilla family, for example.
Rather, he has been considered as a mentor and a peacekeeper within the prison system. He is
also reflecting upon his life and wants to be considered as a peaceful activist rather than as a
convicted felon. He wants to be a good example for the younger blacks in prison and is
promoting reconciliation rather than violence.

FORENSIC OPINION:

Mr. Peter Schey, Attorney for the Center for Human Rights and Constitutional Law, is
representing Mr. Shakur in his parole board hearing in April 2016. Mr. Schey had requested I
examine his client for a current forensic psychological evaluation aimed at informing the parole
board as to his client’s psychological status and as to a risk and violence risk assessment.

Mr. Shakur has been convicted of RICO conspiracy, federal armed bank robbery, and federal bank
robbery killings in a course of criminal conduct. He was convicted on 05/11/1988 and sentenced
to 60 years in federal prison.

Under Section 2.19, information considered in making a parole/re-parole determination, the
Commission can consider, under (a)(5) reports of physical, mental, or psychiatric examination of
the offender.   This forensic psychological evaluation addresses Mr. Shakur’s overall
                                                 17




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Defendant: MUTULU SHAKUR                                               18 of 19
_____________________________________________________________________________

psychological status and risk.

Mr. Shakur does not present with any evidence of mental illness. The federal BOP records
indicate no diagnosis as to mental illness or personality disorder. I have never seen him
diagnosed with antisocial personality disorder. The nature of his offending was an activist type of
offense, which is a unique type of criminal offending. Despite his racially based noble causes
about 40 years ago, there was blood that was shed. There was also indication that he was
engaging in criminal enterprises and conspiracies to better his financial lifestyle. Mr. Shakur has
continue to state that his criminal offenses were as a result of being an activist rather than a
criminal. Nonetheless, he has taken responsibility for some of the offending behaviors and has
exhibited remorse regarding the blood that was shed as a result of the criminal endeavors.

Mr. Shakur presents as an individual who has made many reforms and changes in his life and his
way of thinking and primarily his beliefs that have been modified from radical and militant
perceptions of oppression and needs for equality even if through violent means to a tempered and
peaceful reunification and reconciliation between races.

The factors indicating lower risk, in my opinion, include the following:

   1. No significant evidence of antisocial personality disorder
   2. Low psychopathic traits with a very low score of 7 on the Hare Psychopathy
       Checklist-Revised (PCL-R)
   3. Low recidivism scores on the Level of Service Inventory, Revised (LSI-R)
   4. Low recidivism scores on the Inventory of Offender Risk, Needs, and Strengths (IORNS)
   5. A lack of recent violence and criminality within the BOP and good prison adjustment
       overall
   6. Completion of various self-help programs, such as the BOP DAP program and consistent
       further education with college classes attended and achieved
   7. A lack of prior significant criminal history and violent history prior to this instant offense
   8. A lack of juvenile criminal history
   9. Definite social and family supports
   10. Definite positive financial situation upon leaving prison
   11. Older age as a mitigating risk factor
   12. Positive work outlet
   13. No significant alcohol and drug issues
   14. Motivation to change and a changed attitude from radical to peaceful
   15. No significant mental health problems
   16. A likely lack of criminal associates at his parole domicile
   17. No use of weapons while in prison
   18. Positive attitude toward intervention
   19. Intact and high level of intelligence as a form of resilience
   20. No significant life skill deficiency
   21. Community and cultural situational circumstances have changed regarding past violence
   22. There are significant risk management factors in place regarding his re-entry including
       federal probation supervision
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Defendant: MUTULU SHAKUR                                               19 of 19
_____________________________________________________________________________

Finally, it is my opinion with a reasonable degree of psychological certainty that Mr. Shakur poses
as a low risk of future general and violent criminality once released into the community.


                                             Respectfully submitted,

                                             John Matthew Fabian

                                                   _/s/ John Matthew Fabian
                                             _______________________________________
                                             e signature
                                             John Matthew Fabian, PSY.D., J.D., ABPP
                                             Board Certified Forensic & Clinical Psychologist
                                             Forensic & Clinical Neuropsychologist




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                  EXHIBIT P




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Judge Charles S. Haight, Jr.
United States District Judge
Southern District of New York
40 Foley Square
New York, NY 10007

April 12, 2020

Dear Judge Haight,

My name is Deondre Williams, I was a 5 time convicted felon. That was who I was before I met
Dr. Mutulu Shakur. I am not that person anymore. I am 32 years old, I grew up in California and
since being released, I reside in Las Vegas, NV. My mother was sentenced to life without
parole, when I was only 10 and soon after that I was placed in the foster care system. I grew up
with no father figure and so I quickly turned to street life. I moved to Las Vegas and was
committing crime after crime, I spent most of my twenties incarcerated.

I met Dr. Shakur in 2015, I was freshly into my own prison sentence. I was very inquisitive and
searching for something that just felt real and could give me a sense of purpose in this life.
Although I was walking my own path it wasn’t until one day Dr. Shakur and I were in the
infirmary when he asked me a few questions, and at the conclusion of the conversation he
asked for me to come to a class he was teaching which was titled, “Human Rights and
International Law.” During that class I learned so much in so little time, but I wanted more. I
knew instantly he and I connected. I watched as he captivated the hearts of all his students, and
it was interesting because we all came from many different walks of life, from the poor to the
rich, Black, Brown, Asian, Natives, and Whites! We all love and respect this man.

He personally awakened me to a different way of thinking. I was developing a classic thought
pattern he had watched so many people develop, but he was able to help me see that was not
the right way to go. That universal change happens within the mind. We have to change the way
we think in order to change the way we grow. I would watch during his birthday how everyone
would make him food, and he would light up everytime someone made him something sweet.
His face was like that of a seven year old in a candy house.

We started talking everyday, walking the yard and even working out together. The things I was
told he was incarcerated for had me confused. He carried himself like an old man who wanted
nothing more but just to go home and to live in peace. He would ask me personal questions
about my family and what my intentions were when I went home. I can remember one instance
where he looked me dead in the eye and said “family is love, and if you love your family you
wouldn’t come back.” I cried my last day there, I have never cried my whole time there until then
because I knew I was leaving someone who has changed my entire way of thinking.

I’ve been released and home with my loved ones for 1 year and 2 months now and I have not
committed any crime let alone thought of one. I am a full time dad to my two sons, and I have




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one on the way. I am in the IATSE local 720 union and I make $30-$36 per hour. I continue to
embrace everything he has ever taught me and as I look upon my family every night I remember
the words he spoke to me, but it has become painful to me because I miss him as well because
after it all he is considered family too. I am proud to be a positive member of my community
today. If it wasn’t for Dr. Shakur, I wouldn’t be the man I am for myself or my family.

Sincerely,




J1
~
 i
Deondre Williams
                                                                                               Case 1:82-cr-00312-CSH Document 195 Filed 04/16/20 Page 126 of 143




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                  EXHIBIT Q




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                                                                                                                                 SEQUENCE :   0014340 3
                               Su mmiy Reentry Plan - Progress Report
                                        De t. o f J u stice/ Federai Bureau of Prisons                                    e port Date :   11 - 16 - 2 01 9
                               P l an is f r i nmate, SHAKUR, l-lU'l'ULU         83205-012

                                      Faci ity:     LEX LEXI NGTON FMC                              Cu stody Leve l         MAX
                                        Na ne:      SHAKUR, MUTULU                                  Security Leve l         HIGH
                               Reg iste r     o.:   83 2 05-0 12                                     Proj. Rel Dale         12-15-2024
                                    Quart rs:       F01- 11 0L                                     Release Method           MAND REL
                                                    69                                   DNA Sta tus:       FLP015 ' 6 / 01- 18-201 'I
                               Date of B rth:       08-08-1950



Contact Information
Rel ease co ntact & address
Sekyiwa Shakur, AD ULT DAUGHTER
1A west Kappas Maruna Pie r, Sausal ito, C    94945
us
phone (home) : (415) 299-3408

Offense s an d Sentences lmpos
Charge                                                                                                       Terms n Effect
CT 1 - RICO CONSP - T18:1961 & 1962( ; CT 2 - RICO SUBSTANTIVE-T 18:1961, 1962(C) &                          60 YEA
2; CTS 3 & 6 - BANI( ROBBERY - T1B: 21 3(0) & 2; CTS 4 & 7 -ARMED BANI< ROBBERY -
T 18:21 13(D) & 2; CTS 5 & 8 - BANI< ROB ERY l(ILLINGS - T18:21 13(E) & 2

Da te Se ntence Computa ti on Begah : 08-02 -1988
Sen tencing Distri ct:  NEW YO~K. SOUTHERN DI STRI CT
Days FSGT / WSGT / DGCT                 Da s GCT or EGT / SGT           Time Served                         + Jail Cree il - lnOp Time
       128 /       0 ·/   0                              655 /   128    Years: 33 Months: 11 Days:          + 903     J     -0     lnOp

Detain ers
Detaining Agency                                            Rema rks
NODETI\INER

Pro g ram Pla ns·
 Inmate Shakur arrived to FMC Lexington r om FCC Victorville on December 17, 2019. He is participating and conlir es to be involved in numerous
 educational programs and this facility. He has maintained clear conduct since 2013. Inmate goals were established o aid in transition inlo society.



Cu rrent Work Assignmen ts
Facl        Ass ignment        Descripli n                                                  Start
LEX         PENO MEO           INMATES       ' A ITING JOB CLEARANCE                        02-03-2020
Wo rk Assi gnment Sum mary
 Shakur has bee n consist with work assign , enls through his incarceration. He is nol currently working due lo his mE dical treatment.


Current Education Information
Facl        Assignmen t        Descri pti n                                                Start
LEX         ESL HAS            ENGLISH P OFIC IENT                                         06-30- 199 1
LEX         GED HAS            COMPLET D GED OR HS DIPLOMA                                 09 -14-1994
Education Courses
SubFacl Action                                                                             Start                          Slop
LEX MS M       C                             RE TOP IC RPPl                                01-07-2020                     01-07-2020
VIP            C               HUMAN 1,1 HTS ACE CLASS                                     04-23-2019                     08-16-2019
VIP            C                              AY HISTORY                                   05-09-2019                     05-09-2019
V IP           C                              RITING                                       01-07-2019                     04- 15-2019
VIP            C                              TURE ACE CLASS                               02-21-2019                     03-25-2019
VIP            C                              RIT ING                                      07-30-2018                     12-04-2018
VIP            C               POETRY                                                      0U-02-2018                     12-04-201 8
VIP            C               ADVANCE       TUTOR TRAINING CLASS                          07-16-201 B                    08-07-20Hl

Son lry Data as of 02-03-2020                            Summary Ree ntry Plan - Progress Repo rt                                         Page 1 of 6

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                                                                                                                     SEQUENCE1 00143403
      ~\;: \                  Surr mary Reentry Plan - Progress Report
                                                                                                                 Report Date: 11-16-2019
                                     Dept. of Justice/ Federal Bur~au of Prisons
                              Plan   s for inmate1 SHAKUR, MUTULU 83205-012

ISubfacl Action               Dase ption                                                           Start               Stop                           I
All            C             PHYSI ,AL FITNESS ASSESSMENT                                          08-17-1998          08-18-1998
All            C             BLOOI .PRESSURE                                                       07-27-1998          08-04-1998
All            C             ANATC MY/KINESIOLOGY                                                  07-09-1998          07-16-1998
All            C             MEDIC 11.L SCREENING                                                  06-29-1998         07-02-1998
All            C             CORO -IARY RISK FACTORS                                               06-10-1998         06-22-1998
All            C             FITNE S                                                               05-31-1998         06-07-1998
All            C             CPRT~INING                                                            05-17-1998         05-24-1998
All            C             CULTL RAL DIVERSITY WED 6-8 PM                                        04-06-1998         05-13-1998
All            C             CULTL RAL DIVERSITY WED 6-8 PM                                        02-27-1998         03-25-1998
FLM                          BUSIN :SS EDUCATION
                                                                                          '        06-23-1995          10-03-1995
               C
FLM            C             EARTt SCIENCE                                                i        06-26-1995         08-01-1995
FLM            C             TWEN IETH CENTURY AMER HIST                                           03-21-1995          04-24-1995
LOM            C             WElm T SAFETY                                                         09-27-1989          10-27-1989
LOM            C             ADUL1 BASIC ED PM                                                     12-05-1988         01-09-1989

Education Information Sum11 ,ary                                 ··     ..            I                                             .·.
IInmate Shakur has continued lo prog am during his Incarceration. He has completed numerous self-help and /J dull ConUnulng Educalion class. He has
 taught numerous. classes while In the ~ederal Bureau of Prisons.            :
                                                                                                                                                      I
Discipline.Reports                                                                    !
!Hearing Date                Prohil ited Acts                                                                                                         I
03-13-2013                   297: P iONE ABUSl;-DISRUPT MONITORING
                                                                                      iI
05-31-2007                   327 : C )NTACTING PUBLIC WITHOUT AUTH                    I

                             408: C )NDUCTING A BUSINESS W/O AUTH
                             410A: JSING MAIL W/O AUTH
05-31-2007                   297: P iONE ABUSE-DISRUPT MONITORING I'
05-09-2001                   297 : P rtONE ABUSE-DISRUPT MONITORING
01-14-1991                   109: POSSESSING DRUGS OR DRUG ITEMS
Discipline Summary . •.                        ·   ! · ··                             I
                                                                                      I
                                                                                      I
                                                                                              •.


jInmate Shakur has maintained clear cpnduct since 2-6-2013.                           i
                                                                                                                                                      I
                                                                                      '
                                                   :i.
ARS Assignments: · • .                              i                        ,,                             ''
                                                                                                                 ·,

IFacl              Assignment           Reason!                                                Start                  Stop                            I
LEXMSM             A-DES                OTHER A!.JTH ABSENCE RETURN                            02-03-2020             CURRENT
LEXMSM             A-DES                OTHER AUTH ABSENCE RETURN                              01-27-2020             02-03-2020
LEXMSM             A-DES                OTHER AUTH ABSENCE RETURN                              01-20-2020             01-27-2020
LEXMSM             A-DES                OTHER AUTH ABSENCE RETURN                              01-15-2020             01-20-2020
LEXMSM             A-DES                OTHER AUTH ABSENCE RETURN                              01-13-2020             01-15-2020
LEXMSM             A-DES                OTHER AUTH ABSENCE RETURN                              01-06-2020             01-13-2020
LEXMSM             A-DES                OTHER AUTH ABSENCE RETURN                              12-30-2019             01-06-2020
LEXMSM             A-DES                TRANSFE;R RECEIVED                                     12-17-2019             12-30-2019
VIP                A-DES                OTHER AµTH ABSENCE RETURN                              10-16-2019             11-11-2019
VIP                A-DES                OTHER AUTH ABSENCE RETURN                              10-08-2019             10-16-2019
VIP                A-DES                OTHER AUTH ABSENCE RETURN                             08-30-2019              10-08-2019
VIP                A-DES                OTHER AUTH ABSENCE RETURN                             08-29-2019              08-30-2019
VIP                A-DES                OTHER AUTH ABSENCE RETURN                             08-23-2019              08-29-2019
VIP                A-DES                OTHER A!.JTH ABSENCE RETURN                           06-2().:.2019           08-23-2019
VIP                A-DES                OTHER Ai.JTH ABSENCE RETURN                           01-30-2018              06-20-2019
VIP                A-DES               OTHER AµTH ABSENCE RETURN                              03-29-2017              01-30-2018
VIP                A-DES               OTHER AUTH ABSENCE RETURN                              02-08-2017              03-29-2017
VIP                                                                               i
                   A-DES               OTHER AUTH ABSENCE RETURN                  I           11-18-2015              02-08-2017
                                                                                  I
VIP                A-DES               OTHER AUTH ABSENCE RETURN                              08-20-2015              11-18-2015
VIP                A-DES               OTHER AµTH ABSENCE RETURN                              07-02-2015              08-20-2015
VIP                A-DES               OTHER AUTH ABSENCE RETURN                              06-08-2015              07-02-2015
VIP                A-DES               OTHER AUTH ABSENCE RETURN                              04-27-2015              06-08-2015

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                                                                                                                      SEQUENCE: 00143403
                                Sur 1mary Reentry Plan - Progress Report
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                                      Dept. of Justice/ Federal Bureau of Prisons
                                Plan is for inmate : SH/\KUR, MUTULU 83205-012
                                                                                                                  Report Date: 11-16-2019


Fae!               Assignment              Reason                                             Start                 Stop
                                           OTHER AUTH ABSENCE RETURN                          03- 16-2015           04 -27-2015
VIP                A-DES
                                           OTHER AUTH ABSENCE RETURN                          07-1 5-20 14          02-28-2015
VIP                A-DES
                                           OTHER AUTH ABSENCE RETURN                          07-01-2014            07-15-2014
VIP                A-DES
                                           OTHER AUTH ABSENCE RETUR N                         05-22-2014            07 -01-2014
VIP                A-DES
                                           OTHER AUTH ABSENCE RETURN                          11-22-2013            05-22-2014
VIP                A-DES
                                           OTHER AUTH ABSENCE RETURN                          03-21-2013            11-22-2013
VIP                A-DES
                   A-DES                   TRANSFER RECEIVED                                  09-01-201 1           03-18-2013
VIP
                                           TRANSFER RECEIVED                                  XXX-XX-XXXX           08-26-2011
FLP CHG            A-DES
                                           TRANSFER RECE IVED                                 07-08-20 10           08-19-201 1
FLP STPD           A-DES
                                           TRANSFER RECEIVED                                  06-21-2007            07-08-2010
FLM                A-DES
                   A-DES                   TRANSFER RECEIVED                                  04-18-2007            04-19-2007
ATL
                   A-DES                   TRANSFER RECE IVED                                 03-17-2007            04-18-2007
POL
                   A-DES                    OTHER AUTH ABSENCE RETURN                         04-20-2006            03-15-2007
CLP
CLP                A-DES                    TRANSFER RECEIVED                                  01-31-2006           04-20-2006

ATL                A-DES                    TRANSFER RECEIVED                                  08-1 1-1997          01-31-2006

SPG MS             A-DES                    TRANSFER RECEIVED                                  07-01-1997           08-06-1997

ATL                A-DES                    TRANSFER RECEIVED                                  09-23-1996           07-01-1997

FLM                A-DES                    TRANSFER RECEIVED                                  02-1 4-1995          09-20-1 996

MAR                A-DES                    TRANSFER RECEIVED                                  03-24-1994           02-1 4-1 995

LEW                A-DES                    TRANSFER RECE IVED                                 08-02-1993           03-24-1994

null               A-DES                    MOVEMENT NOT TRACl(ED                              11-03- 1988          07-29-1993

Current Care Assignments
Assignment           Des, ription                                                              Start
CARE 1-MH                       CARE 1-MENTAL HEALTH                                           07-23-2010
CARE4                           MRC CARE REQUIRED                                              11-04-2019

Current Medical Duty Statu , Assignments
Assignment            Des• ription                                                             Start
LOS                             LENC TH OF STAY                                                01-09-2020
LOWER BUNI<                     LOWrc R BUNI< REQ UIRED                                        12-31-20 19
 MED HOLD                       MED CAL HOLD - DO NOT TRANSFER                                 01 -07-2020
 NO DUTY                        NO ~ UTY DUE TO MEDICAL COND                                   12-31-2019
 NO PAPER                       NO Pl'.\PER MEDICAL RECORD                                     12-18-2019
 REG DUTY                       NOM EDICAL RESTR--REGULAR DUTY                                 12-18-2019
 SOFT SHOES                     SOFl SHOES ONLY                                                12-31 -20 19
 YES F/S                        CLE..C REDFORFOODSERV~E                                        12-18-2019

Current PTP Assignments                                                         I
Assignment          Des, ription                                                               Start
NO ASSIGNMENTS

Current Drug Assignments                                                        I
Assignment       Descriplio;1                                                   I              Start
DRG E COMP               DRUG EDU 'ATION COMPLETED                              j             · 06-02-1995

Physical and Mental Health Summary
 He is currently a care level 4; medic al care requi red . He is undergoing treatment for Cancer at this time .


 He cornpleled lhe Drug Education p ograrn in 1995.


FRP Details
Most Recent Payment Plan
                                                                                I
.. NO FRP DETAILS••

Financial Responsibility Su nmary                                                       '
 No court imposed obligation.


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                               Summaty Reentry Plan - Progress Report                                                     SEQUENCE: 00143403
                                     Deft, of Justice/ Federal Bureau of Prisons                                    Report Date: 11-16-2019
                               Plan is f,r inmate: SHAKUR, MUTULU 832f5·012


Release Planning
 This information is being submitted for relo ation purposes. He was previously approved lo relocate from the South rn District ol New York lo the
 Northern District ol California. Since then his address is no longer available due td the Individual passing away. In September 2019, he provided a new
 address within Central District of California in Los Angeles, CA.


General Comments
 Inmate Shakur has been incarcerated for 4 years. He will release to his daughler'.s residence if granted Parole.




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                  EXHIBIT R




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                                                                  Case 1:82-cr-00312-CSH Document 195 Filed 04/16/20 Page 133 of 143


                                                                                                                                                      INMATE COPY

Department of Ju$tke                                                                                                     Fcdcr:al Buraau of Prisons        Department of Justice                                                                                        Firdor~I Bureau of Pris.on~

INMATE SKILLS DEVELOPMENT PLAN                                                     Current Program Review: 04-13-2015                                      INMATE SKILLS DEVELOPMENT PLAN                                                      PROGRAM REVIEW: 04-13-2015

                                                                                                                                                           Supervision:

                                                                                                                                                           USPO        Michael Fitzpatrick, Chief                               USPO           [POCJ
                                                                                                                     V ICTORVILLE USP                      Sentencing: New Yori,; Southern Probahon Office                      Relocation:    (District}
                                                   SHAKUR, MUTULU           Institution:
                                                                                                                     P .0 . BOX 5400                                   Daniel Patrick Moynihan United States Courthouse                        {Street Address/Suite/
                                                   83205-012
                                                                                                                     ADELANTO, CA 92301                                500 Pearl Street Room                                                   (City), (Stale/ {Zip/
                                                   HIGH/MAX
                                                                                                                     (760) 530-5000                                    New York, NY 10007-1312                                  Phone/Fax:     {Phone/ I (Fax)
                                                   02 -10-2016 I rwo THIRDS Telephone:
                                                                                                                                                           Phone/Fax: 2 12-llOS-0040 / 212-805-0047
                                     07 -0:1="20 15                        Driver's License/State:             I                                           Subject to 18 U.S.C. 4042(B) Notification:              Y            ONA Required:                               Y-01 -1 8-2011
                                     07"1 3-2015                           FBI Number:                         337630H
                                                                                                                                                           • Current conviction for a crime of violence (slate and              Treaty Transfer Case:                       N
                                     64 I 08-08- t 950 I M                 DCDC Number:
                                     y                                     INS Number:                                                                     federal)




                                                                                                                                                                                                       - ~~
                                     If yes, reconciled: Y                 POID Number;
                                                                           Other IDs:                                                                      Profile Comments:

Release Residence:                   Areni Shakur Davis, Mother of
                                     Children
                                     41 KAPPAS WEST PIER
                                                                           Release Em~oyer:

                                                                           Conloct
                                                                                                               /Nanie/
                                                                                                               {Address/
                                                                                                               {POCJ
                                                                                                                                                           -~TIONOATA                            -·             •..;;.                              '        ,t
                                                                                                                                                                Faclllty       Asslgnm•nt                                    Description                                 Start Date    Stop Date
                                     SAUSALITO, CA 94965                   Telephone:
Telephone:                           (832) 592-3312                                                                                                               VIP
                                                                                                                                                                           I   GED HAS
                                                                                                                                                                                            I                   COMPLETED GED OR HS DIPLOMA                             09-14-1994    CURRENT

Primary Emergency Contact:           Walani Tyehimba, Friend
                                     4316 Buckingham Circle
                                                                           Secondary Emergency
                                                                           Contact:
                                                                                                               Sekyina Shakur, Daughter
                                                                                                               885 Raye Road
                                                                                                                                                                  VIP
                                                                                                                                                                           l    ESL HAS
                                                                                                                                                                                            I
                                                                                                                                                                                                            ,
                                                                                                                                                                                                                         ENGLI SH PROFICIENT                            ll&-3D-199t   CURRENT

                                     Decalur, GA 30035                                                         SL Martin, GA 30068                         l   <;9Mf'I.E16> EDUc,t,llOtl COORSES                                                               :Yl
Telephone :                          (404) 288-6075                        Telephone:                          (818) 207-6355
                                                                                                                                                               Course Description                                                                                       Comple11on      Cours•
Mentor Information:                                                                                                                                                                                                                                                       Date           Hours

                                                                                                                                                               POLITICAL SCIENCE ACE CLASS                                                                              04-22-2014         10
Controllln!) Santenco lnfotmatlon·
          Offense(s)Nlolalor Offenses                        Sentence                   Sentencing Procedure                 Supel"lllSIOn Term                HOUSE OF HEALING ACE CLASS                                                                               04-22-2014         tO
                                                  60YEARS                      I   4205(A) REG ADULT-ORIG
                                                                                   TERM GRTR THAN 1YR
                                                                                                                       I NOT APPLICABLE                        BEGINNERS VOICENOCAL MUSIC                                                                               01-15-2014           6

                                                                                                                                                               AFRICAN HISTORY CLASS                                                                                    09-30-2013         10
   Controlling            Tlme ScrvedfJall             Days                   Days                                 Parole Status                               BREAKING BARRIERS                                                                                        09-30-2013         tO
 Sentence Began        Credit/Inoperative Time     GCT/EGTISGT          FSGTIWSGTfOGCT

                                                                                                                           12-15'2024                          ACE CREATIVE WRITING                                                                                     06-30-2013         10
                                                                                               Hearing Date:
                       29 YEARS 2 MONTHS                                                                                   STAIJJTORY
    08-02-1 !)flH                                  01655/3372                188 / 0 I 0       Hearing Type:                                                   BEGINNER CROCHET COURSE                                                                                  06-29-2013           6
                          1 DAYS/90310                                                                                     INTERIM HEARING
                                                                                               Lasl USPC Action:           10-02-20021'
                                                                                                                                                               AFRICAN HISTORY CLASS                                                                                    03--01-2013        to
Deta1ners.               N                                                                                                                                     AFRICAN HISTORY CLASS                                                                                    12-18-20 12        tO
Special Parole Term: NOT ENTERED
Pending Charges:     None known                                                                                                                                AFRICAN HISTORY CLASS                                                                                    09-14-2012         tO
Cim StattJs:         Y                                                     Cim Reconciled:        y
                                                                                                                                                               BEGINNER CROCHET COURSE                                                                                  09-22-2012         6
       Flnandal Responsiblllty               Imposed             Balance            Case NoJCourt of Jurisdlclion        AssgnlSchodule Payment
                                                                                                                                                               HUMAN RIGHTS. PART3                                                                                      05-25-2012        10
                                                                                                                            FINANC RESP-NO
                                                                                                                                                               MULTICULTURAL POETRY                                                                                     05-25-2012        10
                                                                                                                              OBLIGATION
                                                                                                                                                               BEGINNERS MUSIC THEORY CLASS                                                                             03-29-2012         9
Financial Plan                                   Comm Oep~ mos:            .....
Active :               N                         Commissary                                                                                                    HUMAN RIGHTS PART 2                                                                                      03-16-2012        10
Financial Plan Date : [DareJ                     Balance:                  ~
                                                                                                                                                               HUMAN RIGHTS                                                                                             12-02-2011        10
 Payments
                                                                                                                                                               BE GINNING CROCHET                                                                                       07•18-2C1 I       BO
Commensurate:                 Y
Missed :                      N                                                                                                                                BE GINNING BEADING                                                                                       07- 18-2011       80
Judicial Recommendations:             none I tJonc I None                                                                                                      INTERMEDIATE /\RT                                                                                        07-18-20 11       eo
Speci~I Conditions of                 None                                                                                                                     OB FILM CR ITIC                                                                                          0>-23-2011        10




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Name:SHAKUR,MUTULU                                            RegNo: 83205-012               Department of Justice                                                                                                          Federal Bureau of Prisons
                                                                                             INMATE SKILLS DEVELOPMENT PLAN                                                                PROGRAM REVIEW: 04-13-2015

BEGINNING WELLNESS                                      12-21-2010             80             WEIGHT SAFETY                                                                                                             XXX-XX-XXXX 1               35

DEL TAB BASIC GUITAR CLASS                              12-21-2010             80             ADULT BASIC ED PM                                                                                                         I   01-09-19891             60

BEGINNING ART                                           12-21-2010             80             KKili,11:ST SCORES                                            ~



HISTORY OF SCIENCE • PART 1                             10-28-2009             27             Test                                                       Sublest             Sc0<0         TutDN           TutF•cl            Fonn                State

ENGINEERING AN EMPIRE                                   10-13-2009             36             Inmate has no score history items in this a,ea
                                                                                                                                                   I                    I             I               I                 I                  I
WAR OF 1812 & LIFE OF HITLER                            10-01-2008             30
                                                                                              ~~TA                                                          ,!                                  ,_,., =.....:
TEN DAYS THAT CHANGED AMERICA                           04-29-2008              30
                                                                                                Fac:lllty        Assignment                                          o,scrtptlon                                            Start Oate         Stop Date
BIOG: EXPLORERS & EARLY AME RIC                         02-19-2008             42
                                                                                                  VIP
                                                                                                            I    UNT SA ORD   I                                  UNIT SA ORDERLY                                        I   03-16-20151 CURRENT
JAZZ-PART 2                                             11-13-2007              30                                                      ,
                                                                                              WOfJl<HIST~RY                                                                                         . - ·,::.i.
CULTURAL DIVERSITY (ACE)                                03-08-2007              20              Faclllty        Assignment        Work Aulg nment Dffer1pUon                                                                Start Date         S1op Oare

SPINNING                                                03- 16-2007             5                 VIP       I   UNT 6AORD     I   UNIT SA ORDERL y                                                                                         I
                                                                                                                                                                                                                        I10-07-201• 02-28-2015
SPIN                                                    11 -30-2006             12
                                                                                             ~HISTORY                                                                                               "':
INTERMEDEATE SPIN CLASS                                 07-30-200S              11
                                                                                              uoc,          Hurtng      Report Ho     Prohibited Aet I Oescrtptlon             S.anctlon
 ELL ORIENTATION ACE                                    02-03-200S              2              OHO           Date

 TYPING BEG/ADVANCE                                     03-12-2004             300            Inmate has no disciplinary hislory items in this area-:.


                                                                                                                                                                                       :. =,,, --.- "
 UNDERSTANDING OF WORLD ACTING                          10-10-2003              12
                                                                                             1,MOVEM_ENTDA!iii''                    ~-!?-           ~oil
 CULTURAL DIVERSITY WED 6-8 PM                          09-02-2003              84
                                                                                                Facfllty         Assignment                                          Oescr1ptlon                                            Start Date         Slop Date
 CULTURAL DIVERSITY WED 6-8 PM                           12-19-2000             45
                                                                                                            T                 I                                                                                         I 03-16-20151 CURRENT
                                                                                                                                            ...,
                                                                                                  VIP               A-DES                              DESIGNATED, AT ASSIGNED FACIL
 CARDIOVASCULAR ENDURANCE                                10-23-1998             2
                                                                                             ,JIOVEM:H!'ltl~lPRY                       ~
                                                                                                                                                                                                -
 NUTRITION                                               10-06- 1998            2
                                                                                                Faculty                                                    Asslgomenl                                                       Start Date         Stop Date
 FLEXIBILITY                                            09-21 - 1998            2
                                                                                                  VIP       I   DESIGNATED, AT ASSIGNED FACIL                                                                           I  07-15-2014      I   02-2s-2015


                                                                                                                                                                                           ~·
 EXERCISE PHYSIOLOGY                                    08-27-1998              2
                                                                                                                                                                                                    ,.
 PHYSICAL FITNESS ASSESSMENT                            08-18-1998              2             ~~ MAN.t,!;!:MEl(r ~~MEHTS                                ·J~                                         .,,-    a1,,
                                                                                                Facillty         Assignment                                          Descriptio n                                           Start Date         Stop Dato
 BLOOB PRESSURE                                         08-04-1998              2
                                                                                                  VIP             RPP PART                         RELEASE PREP PGM PARTICIPATES                                           09-17-2012 CURRENT
 ANATOMY/KINESIOLOGY                                    07-16-1998              2
                                                                                                  VIP            CMU REF D                                  CMU REFERRAL DENIED                                            10-12-2011          CURRENT
 MEDICAL SCREENING                                      07 -02-1998             2
                                                                                                  VIP                CFSR                              CERT FOOD SINCERITY REMOVAL                                         06-25-2007 CURRENT
 CORONARY RISK FACTORS                                  06-22-1998              2
                                                                                                  VIP            V94 CVB913                             V94 CURf' V!OL BEFORE 91394                                        02-08-1996 CURRENT
 FITNESS                                                06-07-1998              2

 CPR TRAINING                                           05-24-1998              2                                                                                                                             _,
                                                                                              MEDICAL DUTY STATUS ASSIGNMENTS
 CULTURAL DIVERSITY WED 6-8 PM                          05- 13- 1998            16
                                                                                               Faclflty          Assignment                                          Description                                            StartOate          Slop Date
 CULTURAL DIVERSITY WED 6-8 PM                          03 -25-1998             12
                                                                                                  VIP
                                                                                                            I       YES FIS
                                                                                                                              I                         CLEARED FOR FOOD SERVICE                                       I                   I
                                                                                                                                                                                                                           07-08-2010 CURRENT
 BUSINESS EDUCATION                                     10-0J-1995              42
                                                                                                  VIP
                                                                                                            I    REG DUTY
                                                                                                                              I                    NO MEDICAL RESTR-REGULAR DUTY                                       I 07-08-2010 CURRENTI
 EARTH SCIENCE                                          00-0 1-1995            25

 TWENTIETH CENTURY AMER HIST                            04 2,\. 1995            so

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                  EXHIBIT S




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March 20, 2018

To Whom It May Concern:

This is to let you know that Mutulu Shakur, Reg. No. 83205-012,
a federal inmate in the Federal Bureau of Prisons, has worked
for me as an adult continuing education tutor in the USP
Victorville, California, Education Department since May 2013.
He teaches a human rights class to other inmates.  He maintains
a good attitude and motivates other inmates to participate in
education programs.  If you have any questions for me, please
call (760) 530-5091.

Sincerely,




1Vla5/j-S~
Matthew J. Schuldt
Assistant Supervisor of Education
USP Victorville




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                   EXHIBIT T




                                                                     133
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                                                       December 28,   2017


To Whom It May Concern;

This letter is being written, at the request of Inmate SHAKUR, MUTULU
Reg #83205-012, to document his participation in the Suicide Watch
Inmate Companion program.  Inmate SHAKUR was trained as a Suicide
Watch Inmate Companion at USP Atlanta on 02/07/2005.   He was
successful in completing 8 hours of specialized training in suicide
prevention and working with individuals suffering from mental
illness.  His inmate companion duties included the following:


•   Attend all training and supervision sessions.
•   Maintain constant visual observation of the inmate on watch.
•   Write entries in the suicide watch log book at least every 15
    minutes.
•   Log in all other important information and changes related to the
    suicide watch during his suicide watch shift.
•   Notify staff of all emergencies and important developments during
    the suicide watch.  If there is no staff in the area, the
    companion will immediately call control center using the phone in
    the suicide watch area.
•   Maintain clear and accurate communication with staff during
    periodic staff checks.
•   Demonstrqte effective listening and appropriate verbal
    communication, with the inmate on watch.  The companions will not
    use profane, disrespectful or offensive language towards the
    inmate on suicide watch under any circumstances.
•   Maintain confidentiality of any information received about the
    inmate on suicide watch by not sharing any information regarding
    the inmate on watch with any other inmates.




~~~~t~ P:rR
Federal Bureau of Prisons
                               Psychologist

FCC Victorville
PO Box 5400
Adelanto, CA 92301




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                  EXHIBIT U




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                              ACKNOWLEDGMENT


State of California County of San Bernardino


                                               before me, Jacob~ Wilson Notary Public




                                                                                , who
prove o me on e as1s o sa 1s ac cry ev1 ence o e e person w ose name 1s
subscribed to the within instrument and acknowledged to me that he executed the same
in his authorized capacity, and that by his signature on the instrument the person, or the
entity upon behalf of which the person acted, executed the instrument.

I certify under PENALTY OF PERJURY under the laws of the State of California that
the foregoing paragraph is true and correct.


WITNESS my hand and official seal.



Signature   ~tku$]J, it ~                        (Seal)




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